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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

         In re:                                                     Chapter 11

         UBIOME, INC.,1                                             Case No. 19-11938 (LSS)

                                             Debtor.

                       DEBTOR’S MOTION FOR ENTRY OF INTERIM AND FINAL
                 ORDERS (I) AUTHORIZING THE DEBTOR TO OBTAIN POSTPETITION
             SECURED FINANCING, (II) AUTHORIZING THE USE OF CASH COLLATERAL,
              (III) GRANTING LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE
               STATUS, (IV) GRANTING ADEQUATE PROTECTION, (V) MODIFYING THE
                     AUTOMATIC STAY, AND (VI) SCHEDULING A FINAL HEARING

                            uBiome, Inc., the debtor and debtor in possession in the above-captioned chapter

         11 case (the “Debtor”), hereby moves the Court (this “Motion”) for the entry of an interim order

         (the “Interim Order”), substantially in the form attached hereto as Exhibit A, and a final order

         (the “Final Order”), pursuant to sections 105, 361, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3),

         364(d)(1), 364(e), and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the

         “Bankruptcy Code”), Rules 2002, 4001, 6004 and 9014 of the Federal Rules of Bankruptcy

         Procedure (the “Bankruptcy Rules”) and Rule 4001-2 of the Local Rules of Bankruptcy Practice

         and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

         Rules”):

                            (i)     Authorizing the Debtor to obtain senior secured, super priority, debtor in

         possession financing in the aggregate principal amount of up to $13.83 million (the “DIP

         Financing”) pursuant to the terms and conditions of the DIP Financing Documents (as defined

         below), including the Interim Order and the Final Order (the facility for such DIP Financing, the

         “DIP Facility”);


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             The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019). The Debtor’s
             headquarters is located at 360 Langton Street, Suite 301, San Francisco, CA 94103.
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                          (ii)     Authorizing the Debtor to execute, deliver, and enter into the (a) Senior

         Secured, Super Priority Debtor in Possession Term Loan and Security Agreement (the “DIP

         Credit Agreement”), substantially in the form attached as Exhibit A to the Interim Order,

         between the Debtor, as borrower, and Silicon Valley Bank (“SVB”), as lender (the “DIP

         Lender”), funded in part through participations (collectively, the “Participations”) 2 with

         participant parties (the “Participants”,         together with the DIP Lender, the “DIP Financing

         Parties”), which Participations the Debtor will acknowledge and agree to (as to terms applicable

         to the Debtor and subject to the terms of the Interim Order and the Final Order, as applicable)

         and (b) all other agreements, documents, or instruments delivered or executed in connection with

         the DIP Credit Agreement, as hereafter amended, supplemented or otherwise modified from time

         to time, including the Budget (as defined in the Interim Order) (collectively, together with the

         DIP Credit Agreement, the Participations, the Interim Order, and the Final Order, the “DIP

         Financing Documents”);

                          (iii)    Granting to the DIP Lender an allowed superpriority administrative

         expense claim in this Chapter 11 Case (as defined below) and any Successor Case (as defined in

         the Interim Order) on account of the DIP Financing and all obligations of the Debtor owing

         under, or secured by, the DIP Financing Documents (collectively, and including all “Obligations”

         of the Debtor as defined and described in the DIP Credit Agreement, the “DIP Obligations”)

         subject to the priorities set forth in the Interim Order and the DIP Financing Documents;

                          (iv)     Granting to the DIP Lender automatically perfected security interests in

         and liens on all of the DIP Collateral (as defined in the Interim Order), including all property


         2
          Attached as Exhibit E to the DIP Credit Agreement is the Form of Participation Agreement (the “Participation
         Agreement”), entered into by and among the DIP Lender, on the one hand, and 8VC Fund I, L.P. and Entrepreneurs
         Fund I, L.P., on the other, and acknowledged and consented to by the Debtor. The Participation Agreement governs,
         among other things, the relationship between the DIP Lender and the Participants.
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         constituting “cash collateral” as defined in section 363(a) of the Bankruptcy Code (“Cash

         Collateral”) subject to the priorities set forth in the Interim Order;

                          (v)     Authorizing the Debtor to use the proceeds of the DIP Financing in

         accordance with the DIP Financing Documents;

                          (vi)    Authorizing the continued use of Cash Collateral effective as of the

         Petition Date;

                          (vii)   Granting adequate protection to the Prepetition Lender (as defined below);

                          (viii) Vacating and modifying the automatic stay imposed by section 362 of the

         Bankruptcy Code solely to the extent necessary to implement and effectuate the terms of the DIP

         Financing Documents (including the Interim Order);

                          (ix)    Scheduling a final hearing (the “Final Hearing”) to consider entry of the

         Final Order granting the relief requested in this Motion on a final basis and approving the form

         of notice with respect to the Final Hearing;

                          (x)     Waiving, to the extent applicable, any stay of the immediate effectiveness

         of the Interim Order imposed by the Bankruptcy Code, the Bankruptcy Rules or the Local Rules,

         such that the Interim Order shall be immediately effective upon its entry on the docket of the

         United States Bankruptcy Court for the District of Delaware (the “Court”); and

                          (xi)    Granting related relief.

                          In support of this Motion, the Debtor incorporates the statements contained in the

         Declaration of Curtis G. Solsvig III in Support of the Debtor’s Chapter 11 Petition and Requests

         for First Day Relief (the “First Day Declaration”), filed contemporaneously herewith and further

         respectfully state as follows:




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                                               PRELIMINARY STATEMENT3

                             1.      The Debtor filed this Chapter 11 Case to provide an innovative business

         with a fresh start under new management, and to preserve approximately 100 jobs through a

         Court-supervised sale process that is intended to maximize the value of the Debtor’s assets for

         the benefit of all stakeholders. Through this Chapter 11 Case, and under the close supervision

         and direction of the new board of directors and acting management, the Debtor intends to

         undertake a sale process to sell a streamlined, refocused, and healthy business to a bidder that

         will result in the maximum return possible to the Debtor’s stakeholders.

                             2.      The DIP Facility is structured into two tranches. In the first tranche, SVB

         will provide $1 million of new money on a super-senior secured basis, with a roll-up of 100% of

         the Prepetition Facility (upon entry of the Final Order) in the amount of approximately $5.83

         million, and the Participants will provide $4 million on a senior secured basis (which will be

         junior to 50% of the Prepetition Facility and pari passu with the remaining 50% of the

         Prepetition Facility).4 In the event that the Debtor receives a letter of intent for the sale of its

         assets in form and substance acceptable to the DIP Financing Parties, and which otherwise meets

         the conditions specified in the DIP Financing Documents, including, for the avoidance of doubt,

         the Participations, within 45 days of the Petition Date, the DIP Financing Parties may agree to

         fund a second tranche, which will consist of up to $500,000 in new money borrowings from SVB

         on a super-senior secured basis, and up to $2.5 million from the Participants on a senior secured

         basis, the latter of which will also be junior to 50% of the Prepetition Facility and pari passu

         with the remaining 50% of the Prepetition Facility. The Debtor believes that the DIP Facility


         3
             Capitalized terms not defined in the Preliminary Statement shall have the meanings given below.
         4
           The relative priorities of the Participants’ $4 million in new money and the Prepetition Facility will apply
         regardless of whether the Court grants the roll-up as to the Prepetition Facility.
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         will provide the necessary flexibility to allow the Debtor to run a successful sale process,

         preserve approximately 100 jobs, and to engage in meaningful discussions with its stakeholders.

                         3.     Prior to filing this Chapter 11 Case, the Debtor and its advisors,

         collectively, engaged with approximately 32 potential lenders, and after good faith and arm’s

         length negotiations with the DIP Financing Parties, successfully negotiated the terms and

         conditions of the DIP Facility to allow the Debtor to continue normal business operations while

         in chapter 11, including by paying its employees and satisfying other working capital and

         operational requirements. Satisfaction of these key obligations is necessary to preserve and

         maintain the value of the Debtor’s estate while the Debtor pursues a sale of substantially all of its

         assets. Accordingly, the Debtor has an immediate need to obtain postpetition or “DIP” financing

         and to use its limited remaining Cash Collateral and, therefore, submits that this Motion should

         be approved.

                                          JURISDICTION AND VENUE

                         4.     The Court has jurisdiction over this matter pursuant to 28 U.S.C.

         §§ 1334(b) and 157, and the Amended Standing Order of Reference from the United States

         District Court for the District of Delaware dated as of February 29, 2012. This is a core

         proceeding pursuant to 28 U.S.C. § 157(b), and pursuant to Local Rule 9013-1(f), the Debtor

         consents to the entry of a final order by the Court in connection with this Motion to the extent

         that it is later determined that the Court, absent consent of the parties, cannot enter final orders or

         judgments in connection herewith consistent with Article III of the United States Constitution.

         Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory and

         legal predicates for the relief requested herein are sections 105, 361, 362, 363, 364(c)(l),

         364(c)(2), 364(c)(3), 364(d), 364(e), and 507 of title 11 of the Bankruptcy Code, Bankruptcy

         Rules 2002, 4001, 6004, and 9014, and Local Rule 4001-2.
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                                                     BACKGROUND

         I.      General

                         5.       On the date hereof (the “Petition Date”), the Debtor commenced a

         voluntary case under chapter 11 of the Bankruptcy Code. Pursuant to sections 1107(a) and 1108

         of the Bankruptcy Code, the Debtor is continuing to manage its financial affairs as debtor in

         possession.    No trustee, examiner, or official committee of unsecured creditors has been

         appointed in this chapter 11 case (this “Chapter 11 Case”).

                         6.       Additional information regarding the Debtor’s history and business

         operations, capital structure and primary secured indebtedness, and the events leading up to the

         commencement of this Chapter 11 Case can be found in the First Day Declaration.

         II.     Prepetition Secured Indebtedness

                         7.       The Debtor, as borrower, and SVB (in such prepetition capacity, the

         “Prepetition Lender”), as lender, are parties to a Loan and Security Agreement, dated as of

         February 24, 2017 (as amended, modified, supplemented, or restated from time to time, the

         “Prepetition Facility”). In total, $10.5 million was advanced between February 2017 and August,

         2018, and the loans began to amortize in July 2018. As of the Petition Date, approximately,

         $5.83 million remains outstanding under the Prepetition Facility. The Prepetition Facility’s

         obligations are secured by first priority liens on substantially all of the Debtor’s assets, including,

         but not limited to, all goods, accounts, equipment, inventory, proceeds of intellectual property,

         contract rights, leases, general intangibles, commercial tort claims, cash, deposit accounts and

         letters of credit, all as set forth in the Prepetition Facility.

                         8.       The Debtor does not have any additional secured indebtedness.




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         III.    Unsecured Obligations

                        9.      As of the Petition Date, the Debtor estimates that (other than the

         Contingent Liabilities, as defined and discussed below) its unsecured trade and other operational

         debt is approximately $3.5 million, mainly comprised of legal fees and claims held by vendors

         that were used for the Debtor’s clinical operations.

                        10.     In addition, there are a number of contingent liabilities (collectively, the

         “Contingent Liabilities”), including:

                                •   Inadvertent billings to Tricare, Medicare and Medicaid for certain tests,
                                    which may total approximately $4 million;

                                •   Potential obligations arising to private pay insurers for which the
                                    Debtor has received over $10 million of refund requests related to the
                                    Debtor’s prior clinical practice; and

                                •   Potential fines for civil and criminal penalties resulting from the
                                    investigations (discussed below). The amounts of these fines are
                                    currently unknown.

         IV.    The Debtor’s Liquidity Needs and Efforts to Obtain DIP Financing

                        11.     The Debtor is in need of an immediate capital infusion, as it currently only

         has approximately $230,000 cash on hand as of the Petition Date. As described in more detail in

         the First Day Declaration, certain business practices formulated and implemented by the

         Debtor’s original founders resulted in certain aspects of the Debtor’s business being discontinued,

         investigations by certain federal and state investigatory bodies, loss of revenue, and significant

         potential contingent liabilities. In the last few months, however, the Debtor has: (1) taken

         aggressive corrective action at the board and management levels; (2) implemented various

         corporate governance controls; (3) relaunched certain of its business operations; and

         (4) committed to its cooperation with the applicable governmental investigations in order to shed



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         as much of the disruption created by these former business practices and to initiate an orderly

         path to maximizing the Debtor’s go-forward value.

                            12.     The new board and management team have been working diligently to

         explore financial and operational alternatives. This has included, among other things, hiring

         professionals, including Goldin Associates, LLC (“Goldin”) to provide management services,5

         Young Conaway Stargatt and Taylor, LLP as counsel and GLC Advisors & Co., LLC and GLCA

         Securities, LLC (collectively, “GLC”) as the Debtor’s investment banker. In the two months

         leading up to the Petition Date, GLC has been diligently marketing the Debtor’s assets to

         potential interested parties in an effort to secure an investor to finance the Debtor’s restructuring

         or sale efforts, either as an investor outside of chapter 11 or to provide a debtor-in-possession

         financing facility. With the cooperation of the Debtor’s management team, GLC prepared and

         distributed comprehensive financing and marketing materials, identified potential financing

         parties, and participated in management meetings with such parties.

                            13.     The Debtor worked with its advisors to assess potential DIP financing

         sources. In connection with these efforts, beginning in July 2019, the Debtor, in consultation

         with its advisors, contacted approximately 32 potential third-party DIP financing sources with

         financing experience that were not prepetition lenders or investors to the Debtor (the “Potential

         Third-Party DIP Lenders”). Of the Potential Third Party DIP Lenders, the Debtor executed non-

         disclosure agreements with 5 financial institutions.               Each of these 5 potential lenders was

         provided with diligence information and access to a data room to facilitate more detailed

         diligence. Despite indications of interest from various third parties, the Debtor was unable to


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             As described further in the First Day Declaration, among other management services, Goldin is providing the
             Debtor with (i) Curtis G. Solsvig III, to serve as Acting Chief Executive Officer, (ii) Robin Chiu, to serve as
             Acting Chief Financial Officer, and (iii) Karthik Bhavaraju, to serve as Acting Chief Operations Officer.
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         find any lender that was willing to provide financing on a junior basis to the existing secured

         facility or to refinance in full the existing secured debt, other than the DIP Financing Parties.

                        14.     At this time, the Debtor lacks sufficient funds to operate its business and

         continue paying its debts as they come due and, in consultation with its professionals, the Debtor

         evaluated the cash requirements for its business and this Chapter 11 Case. As a result of these

         efforts, the Debtor has determined, upon the approval of its special committee of independent

         board members (the “Special Committee”), that it is necessary and essential that it enter into the

         DIP Facility with the DIP Lender, subject to the Participation rights of the Participants.

                        15.     Goldin worked with the Debtor’s management and other professionals to

         develop and analyze the Debtor’s 13-week cash flow forecasts, which take into account

         anticipated cash receipts and disbursements during the projected period and consider a number of

         factors, including the effect of the chapter 11 filing on the operations of the business, fees, and

         interest expenses associated with the DIP Facility, professional fees, and required operational

         payments. Absent approval of the DIP Facility, the Debtor will not have the liquidity to continue

         to operate and satisfy the administrative costs of this Chapter 11 Case and, accordingly, access

         thereto is necessary to avoid immediate and irreparable harm to the Debtor’s estate.

                        16.     As set forth in the First Day Declaration, in connection with the DIP

         Facility, the Debtor, in consultation with its restructuring advisors, prepared a budget, a summary

         of which is attached to the Interim Order as Exhibit B (the “Budget”), which reflects the

         Debtor’s reasonable business judgment as to the additional liquidity required over the specified

         period to keep the Debtor’s business operational during this Chapter 11 Case, and to allow for

         sufficient time to complete the proposed sale process.




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                         17.     The DIP Facility reflects an agreement reached among the Debtor, SVB

         and the Participants that will provide the Debtor with up to $13.83 million in postpetition

         financing if certain conditions are met. Specifically, as previewed above, (1) SVB will provide

         $1 million in new money financing on a super senior secured basis, with a roll-up of 100% of the

         outstanding amounts of the Prepetition Facility (subject to entry of a final order) in the amount of

         approximately $5.83 million; and (2) the Participants will provide $4 million in new money

         financing on a senior priority basis (which will be junior to 50% of the Prepetition Facility and

         pari passu with the remaining 50% of the Prepetition Facility). In addition, if the Debtor

         receives a letter of intent for the sale of its assets within 45 days of the Petition Date in form and

         substance acceptable to the DIP Financing Parties, and which otherwise meets the conditions

         specified in the DIP Financing Documents, including, for the avoidance of doubt, the

         Participations, SVB may provide up to $500,000 of new money borrowings on super senior

         secured priority basis, and the Participants may provide up to $2.5 million on a senior secured

         basis, the latter of which will be junior to 50% of the Prepetition Facility and pari passu with the

         remaining 50% of the Prepetition Facility.

                         18.     In sum, the Debtor, in consultation with its advisor and upon the

         recommendation of the Special Committee, has concluded that the DIP Facility, subject to the

         Participants’ Participation rights, is the best financing available under the circumstances and

         therefore is in the best interests of the Debtor, its creditors, and other parties in interest.

                                                RELIEF REQUESTED

                 19.     For the reasons set forth herein, the Debtor seeks authority to enter into the DIP

         Financing Documents pursuant to the terms set forth in this Motion, the DIP Credit Agreement,

         the Interim Order and the Final Order.


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                                     MATERIAL TERMS OF THE DIP FACILITY

                            20.      Bankruptcy Rule 4001(c)(1)(B) requires that a motion for authority to

         obtain credit list or summarize, and set out the location within the relevant documents, all

         material provisions of the proposed credit agreement and form of order, including interest rate,

         maturity, events of default, liens, borrowing limits and borrowing conditions. Fed. R. Bankr. P.

         4001(c)(1)(B). The principal terms of the DIP Facility are as follows:6

         Required Disclosures                                     Summary of Material Terms
       Borrowers                         The Borrower under the DIP Facility is uBiome, Inc.
       Bankruptcy Rule
       4001(c)(1)(B)
       Guarantors                        N/A.
       Bankruptcy Rule
       4001(c)(1)(B)
       Administrative and                N/A
       Collateral Agents
       Bankruptcy Rule
       4001(c)(1)(B)
       DIP Lender                        Silicon Valley Bank, as DIP Lender, and 8VC Fund I, L.P. and 8VC
       Bankruptcy Rule                   Entrepreneurs Fund I, L.P. as Participants.
       4001(c)(1)(B)

       Commitment                        The DIP Financing Parties will provide a senior secured, superpriority
       Bankruptcy Rule                   debtor in possession term loan and security agreement in the aggregate
       4001(c)(1)(B)                     principal amount of up to $13.83 million, comprised of: (i) up to $7.33
       Local Rule 4001-2(a)(ii)          million from the DIP Lender (including rolled up amounts), and (ii) up
                                         to $6.5 million from the Participants.
                                         In order to secure the DIP Obligations, effectively immediately upon
       Liens and Priorities
                                         entry of the Interim Order, pursuant to sections 361, 362, 364(c)(2),
       Bankruptcy Rule
                                         364(c)(3), and 364(d)(1) of the Bankruptcy Code, the DIP Lender will
       4001(c)(1)(B)(i)
                                         be granted continuing, valid, binding, enforceable, non-avoidable, and
       Local Rule 4001-
                                         automatically and properly perfected postpetition security interests in
       2(a)(i)(D) and (G), 4001-
                                         and liens on (collectively, the “DIP Liens”) all prepetition and
       2(a)(ii)
                                         postpetition tangible and intangible property and assets, whether real or
                                         personal of the Debtor, including, without limitation, all assets and
                                         property pledged under the DIP Financing Documents, and all cash, any

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             This summary is qualified, in its entirety, by the provisions of the DIP Credit Agreement and the Interim Order.
             Unless otherwise defined within this Motion, capitalized terms used within this summary only shall have the
             meanings ascribed to them in the DIP Credit Agreement or the Interim Order, as applicable.
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                          investment of such cash, inventory, accounts receivable, including
                          intercompany accounts (and all rights associated therewith), other rights
                          to payment whether arising before or after the Petition Date, contracts,
                          contract rights, chattel paper, goods, investment property, inventory,
                          deposit accounts, and all amounts on deposit therein from time to time,
                          equity interests, securities accounts, securities entitlements, securities,
                          Shares (as defined in the DIP Credit Agreement), commercial tort
                          claims and claims that may constitute commercial tort claims (known
                          and unknown), books, records, plants, equipment, general intangibles,
                          documents, instruments, interests in leases and leaseholds, interests in
                          real property, fixtures, payment intangibles, tax or other refunds,
                          insurance proceeds, letters of credit, letter of credit rights, supporting
                          obligations, machinery and equipment, patents, copyrights, trademarks,
                          tradenames, other intellectual property, all licenses therefor, and all
                          proceeds, rents, profits, products, and substitutions, if any, of any of the
                          foregoing (the “DIP Collateral”); provided that DIP Collateral shall not
                          include any Bankruptcy Recoveries (as defined herein), but, subject to
                          entry of the Final Order, the DIP Collateral shall include the proceeds of
                          any Bankruptcy Recoveries. Notwithstanding the foregoing, DIP
                          Collateral shall not include any contracts, license or non-residential real
                          property lease under which the granting of the DIP Liens thereon would
                          constitute a breach or termination thereof other than to the extent such
                          breach or termination would be rendered ineffective pursuant to
                          applicable law (including applicable state law or the Bankruptcy Code)
                          but shall, in any event, include the proceeds of such contracts and
                          licenses. DIP Collateral shall include the economic value of the
                          proceeds of any sale or other disposition of, and any other proceeds or
                          products of DIP Collateral. Interim Order ¶ 2(d).

                          The DIP Obligations will have superpriority administrative expense
                          status. Pursuant to section 364(c)(2) of the Bankruptcy Code, and
                          subject to paragraph 2(i)(A) of the Interim Order, the DIP Liens shall be
                          first priority perfected security interests, liens and mortgages on, all DIP
                          Collateral (subject only to the Carve Out) not subject to valid, perfected,
                          enforceable, and non-avoidable security interests, liens or mortgages in
                          existence on the Petition Date (it being agreed and understood that the
                          Final Order shall grant, to secure the DIP Obligations, a perfected
                          security interest pursuant to this clause in any recoveries of Debtor, by
                          settlement or otherwise, in respect of claims and causes of action to
                          which Debtor may be entitled to assert by reason of any avoidance or
                          other power vested in or on behalf of a debtor or the estate of a debtor
                          under chapter 5 of the Bankruptcy Code (“Bankruptcy Recoveries”).
                          Pursuant to section 364(c)(3) of the Bankruptcy Code, subject to
                          paragraph 2(i)(A) of the Interim Order, the DIP Liens shall be junior
                          security interests, liens and mortgages on all DIP Collateral (including
                          all Prepetition Collateral subject to the Prepetition Liens on the Petition
                          Date) that was subject to a Prior Permitted Lien in existence on the
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                                  Petition Date. Other than as set forth in the Interim Order or in the DIP
                                  Financing Documents (including in paragraph 2(i)(A) of the Interim
                                  Order), the DIP Liens shall not be made subject to or pari passu with
                                  any lien or security interest heretofore or hereinafter granted in this
                                  Chapter 11 Case or any Successor Case, and shall be valid and
                                  enforceable against any trustee appointed in this Chapter 11 Case or any
                                  Successor Case, upon the conversion of this Chapter 11 Case to a case
                                  under Chapter 7 of the Bankruptcy Code (or in any other Successor
                                  Case), and/or upon the dismissal of the Chapter 11 Case or any
                                  Successor Case. The DIP Liens shall not be subject to section 510, 549
                                  or 550 of the Bankruptcy Code. No lien or interest avoided and
                                  preserved for the benefit of the estate pursuant to section 551 of the
                                  Bankruptcy Code shall be pari passu with or senior to the DIP Liens.
                                  Interim Order ¶ 2(e).

       Term                       The earliest of (i) the Original Maturity Date, unless extended in
       Bankruptcy Rule            accordance with Sections 2.1.2 and 3.2 of the DIP Credit Agreement, in
       4001(c)(1)(B)              which case the Maturity Date shall be the Extended Maturity Date, if
       Local Rule 4001-2(a)(ii)   Borrower’s option to extend the Original Maturity Date is properly
                                  exercised pursuant to Section 2.1.2 of the DIP Credit Agreement, (ii) the
                                  effective date of a plan of reorganization for Debtor, (iii) the date of the
                                  consummation of a Permitted Sale, and (iv) such earlier date on which
                                  the Obligations are accelerated following the occurrence of an Event of
                                  Default. DIP Credit Agreement § 13.1.


                                  The proceeds of the DIP Advances shall be used solely (i) to pay
       Use of DIP Facility
                                  interest, fees and expenses associated with the DIP Credit Agreement,
       Bankruptcy Rule
                                  (ii) for Debtor’s working capital and general corporate purposes in
       4001(c)(1)(B)
                                  accordance with the Budget (subject to the Variance), (iii) to pay costs
                                  and expenses associated with the Bankruptcy Case to the extent
                                  consistent with the Budget (subject to the Variance, and including
                                  professional costs incurred (including, costs incurred in respect of Case
                                  Professionals) and paid in accordance with the Budget), and (iv) with
                                  respect to the Final Roll-Up Amount, the payment of all remaining
                                  obligations outstanding at the time of the entry of the Final Order under
                                  the Prepetition SVB Facility. In no event shall the proceeds of any DIP
                                  Advance be used to bring any claim or suit against Bank or Participants
                                  or to challenge the liens or claims of Bank or Participants; provided,
                                  however, notwithstanding anything to the contrary herein, an aggregate
                                  of $25,000 of the DIP Advances or any Carve-Out may be used by the
                                  Committee to investigate (i) the amount, extent, priority, validity,
                                  perfection or enforcement of the indebtedness of Borrower owing to
                                  Bank or any Participant; and (ii) liens or security interests in the
                                  collateral securing such indebtedness, including challenges to the
                                  perfection, priority or validity of the liens granted in favor of Bank or
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                                  any Participant with respect thereto. Interim Order ¶2(g), 9; DIP Credit
                                  Agreement § 2.1.1(f).

       Entities with Interests    The DIP Lender. Interim Order, Preamble (iv).
       in Cash Collateral
       Bankruptcy Rule
       4001(b)(1)(B)(i)


       Use of Cash Collateral     Subject to the terms and conditions of the Interim Order, the DIP
       Bankruptcy Rule            Facility, and the DIP Financing Documents and in accordance with the
       4001(b)(1)(B)(ii) and      Budget (subject to such variances as permitted in the DIP Credit
       (iii) Local Rule 4001-     Agreement), the Debtor is authorized to use Cash Collateral until the
       2(a)(ii)                   Termination Date (as defined in the DIP Credit Agreement). Interim
                                  Order ¶ 2(a).

       Interim Financing          The Debtor is requesting that amounts under the DIP Facility be
       Bankruptcy Rule            authorized and available upon entry of the Interim Order. Interim Order
       4001(c)(1)(B)              ¶¶ 1, 3.
       Local Rule 4001-2(a)(ii)

       Interest Rates             10.5% DIP Credit Agreement § 2.2(a).
       Bankruptcy Rule            Immediately upon the occurrence and during the continuance of an
       4001(c)(1)(B)              Event of Default, all outstanding Obligations shall bear interest at a rate
       Local Rule 4001-2(a)(ii)   per annum which is two (2) percentage points (5.0%) above the rate per
                                  annum that is otherwise applicable thereto on and after to the Maturity
                                  Date (the “Default Rate”). Fees and expenses which are required to be
                                  paid by Borrower pursuant to the Loan Documents (including, without
                                  limitation, Bank Expenses) but are not paid when due shall bear interest
                                  until paid at a rate per annum equal to the highest rate applicable to the
                                  Obligations. Payment or acceptance of the increased interest rate
                                  provided in this Section 2.2(b) is not a permitted alternative to timely
                                  payment and shall not constitute a waiver of any Event of Default or
                                  otherwise prejudice or limit any rights or remedies of Bank. DIP Credit
                                  Agreement § 2.2(b).


                                  Commitment Fee. Bank shall be entitled to receive a non-refundable
       Fees
                                  commitment fee of One Hundred Fifty Thousand Dollars ($150,000.00),
       Bankruptcy Rule
                                  which shall be deemed fully earned as of entry of the Interim Order and
       4001(c)(1)(B)
                                  shall be due upon the consummation of a sale of all or substantially all
                                  of Borrower’s assets.

                                  Expenses. All Bank Expenses (including reasonable attorneys’ fees and
                                  expenses, plus expenses for documentation and negotiation of this
                                  Agreement and the other Loan Documents) incurred through and after
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                                  the Closing Date by any of the DIP Financing Parties, when due (or, if
                                  no stated due date, upon demand by Bank or the Participants, as
                                  applicable).

                                  Fees Fully Earned. Unless otherwise provided in this Agreement or in a
                                  separate writing by Bank, Borrower shall not be entitled to any credit,
                                  rebate, or repayment of any fees earned by Bank pursuant to this
                                  Agreement notwithstanding any termination of this Agreement or the
                                  suspension or termination of Bank’s obligation to make loans and
                                  advances hereunder.
                                  DIP Credit Agreement § 2.3.

       Budget                     The use of borrowings under the DIP Facility and use of Cash Collateral
       Bankruptcy Rule            will be limited in accordance with the Budget, subject to certain
       4001(c)(1)(B)              variances allowed by the DIP Credit Agreement. Interim Order ¶ 8; DIP
       Local Rule 4001-2(a)(ii)   Credit Agreement § 7.6.


       Milestones                 As a condition to the DIP Facility and the use of Cash Collateral, the
       Bankruptcy Rule            Debtor must comply with certain milestones attached as a schedule to
       4001(c)(1)(B)(vi)          the Interim Order. DIP Credit Agreement § 6.7.


       Carve-Out                  Liens and claims granted by the Interim Order are all subordinate to the
                                  following (collectively, the “Carve Out”)
                                  Except as otherwise provided in the Interim Order, the DIP Liens are
                                  subordinate only to the payment of the following Carve Out: (i) any
                                  unpaid fees required to be paid pursuant to Section 1930 of title 28 of
                                  the United States Code section 1930(a)(6) (the “U.S. Trustee Fees”),
                                  together with any interest thereon pursuant to applicable law and any
                                  fees payable to the Clerk of the Court; (ii) the fees actually earned by
                                  the Debtor’s directors on account of the period prior to the delivery of a
                                  Carve Out Notice; (iii) until the issuance of a Carve-Out Notice (as
                                  defined in the Financing Order) to the extent provided for in the Budget
                                  and allowed at any time, all unpaid fees and expenses allowed by the
                                  Court of professionals or professional firms retained pursuant to section
                                  327 or 1103, or appointed pursuant to section 363, of the Bankruptcy
                                  Code (the “Case Professionals”) less the amount of any prepetition
                                  retainers received by such Case Professionals and not previously
                                  returned or applied to fees and expenses; and (iv) following the delivery
                                  of a Carve-Out Notice, to the extent provided for in the Budget allowed
                                  at any time, the payment of the fees and expenses of Professional
                                  Persons in an aggregate amount not to exceed $150,000 less the amount
                                  of any prepetition retainers received by such Cash Professionals and not
                                  previously returned or applied to fees and expenses (the “Residual

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                                 Carve Out”). The Carve-Out excludes any fees and expenses incurred
                                 in connection with (a) any action or inaction that is in violation of, or a
                                 default under, any of the DIP Financing Documents or the Final Order,
                                 or (b) the assertion of or joinder in any claim, counterclaim, action,
                                 proceeding, application, motion, objection, defenses or other contested
                                 matter, the purpose of which is to seek any order, judgment,
                                 determination or similar relief (x) invalidating, setting aside, avoiding,
                                 or subordinating, in whole or in part, (i) the DIP Obligations, including,
                                 for the avoidance of doubt, pursuant to the Participations, and/or the
                                 Prepetition Loan Obligations, (ii) the DIP Liens and/or the Prepetition
                                 Liens granted by the Debtor under the DIP Financing Documents and
                                 the Prepetition Loan Documents, or (iii) any of the DIP Financing
                                 Parties’ rights under the DIP Financing Documents, including, for the
                                 avoidance of doubt, the Participations, and/or the Prepetition Lender’s
                                 rights under the Prepetition Loan Documents, or (y) preventing,
                                 hindering, or delaying, whether directly or indirectly, the DIP Lender’s
                                 and/or the Prepetition Lender’s assertion or enforcement of the DIP
                                 Liens or Prepetition Liens or realization upon any DIP Collateral or
                                 Prepetition Collateral.

                                 The Residual Carve Out shall be reduced on a dollar-for-dollar basis by
                                 any payments of fees or expenses of the Case Professionals made after
                                 delivery of the Carve Out Notice in respect of fees and expenses
                                 incurred after delivery of the Carve Out Notice. For purposes of the
                                 foregoing, “Carve Out Notice” shall mean a written notice delivered by
                                 the DIP Lender to the Debtor and its counsel, the U.S. Trustee and lead
                                 counsel to any Committee, which notice may be delivered at any time
                                 by the DIP Lender following the occurrence and continuance of any
                                 Termination Event and, in any case, shall specify that it is a “Carve Out
                                 Notice.” Following delivery of a Carve Out Notice, upon the funding of
                                 the Carve Out as of the date of the Carve Out Notice, the DIP Financing
                                 Parties shall not have any further liability whatsoever for the Carve Out
                                 or any subordination in respect thereof.

                                 Interim Order ¶ 17-18.

       Waiver of Rights          Subject to entry of a Final Order, the DIP Lender and the Prepetition
       Bankruptcy Rule           Lender shall each be entitled to a waiver of the provisions of section
       4001(c)(1)(B)(viii) and   506(c) of the Bankruptcy Code and a waiver of any “equities of the
       (x) Local Rule 4001-      case” exception under section 552(b) of the Bankruptcy Code. Interim
       2(a)(i)(B) and (C)        Order ¶¶ 24, 27.

       Stipulations to           As set forth in the Interim Order, the Debtor has acknowledged and
       Prepetition Liens and     agreed as set forth therein, to the validity, perfection, priority, amount
       Claims                    and enforceability of the Prepetition Facility. Interim Order ¶ E.
       Bankruptcy Rule
       4001(c)(1)(B)(iii)
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       Local Rule 4001-
       2(a)(i)(B)
                              In addition to all the existing security interests and liens previously
       Adequate Protection
                              granted to the Prepetition Lender, as adequate protection for, and to
       Bankruptcy Rule
                              secure the payment of an amount equal to the diminution of the value of
       4001(b)(1)(B)(iv),
                              the Prepetition Collateral, due to the Debtor’s sale, use, or lease of such
       4001(c)(1)(B)(ii)
                              Prepetition Collateral, and as an inducement for the Prepetition Lender
                              to permit the Debtor’s use of the Cash Collateral as provided for in the
                              Interim Order, the Prepetition Lender is hereby granted the following
                              adequate protection (the “Adequate Protection Obligations”), pursuant
                              to sections 361, 363(e), 364(d)(l), and 507 of the Bankruptcy Code:

                              (a) Continuing, valid, binding, enforceable, and perfected postpetition
                              security interests in and liens on the DIP Collateral (the “Adequate
                              Protection Liens”). The Adequate Protection Liens shall be subject to
                              the payment of the Carve Out as set forth in the Interim Order and shall
                              otherwise be junior to the DIP Liens. Subject to and effective upon
                              entry of the Final Order, the Adequate Protection Liens shall be senior
                              to all security interests in, liens on, or claims against any of the DIP
                              Collateral other than the DIP Liens. Except as provided in the Interim
                              Order or in the DIP Credit Agreement, the Adequate Protection Liens
                              shall not be made subject to or pari passu with any lien or security
                              interest heretofore or hereinafter in the Chapter 11 Case or any
                              Successor Case, and shall be valid and enforceable against any trustee
                              appointed in the Chapter 11 Case or any Successor Case, or upon the
                              dismissal of any of the Chapter 11 Case or any Successor Case. The
                              Adequate Protection Liens shall not be subject to sections 510, 549, or
                              550 of the Bankruptcy Code. No lien or interest avoided and preserved
                              for the benefit of the estate pursuant to section 551 of the Bankruptcy
                              Code shall be pari passu with or senior to the Prepetition Liens or the
                              Adequate Protection Liens.

                              (b) An allowed superpriority administrative expense claim in the
                              Chapter 11 Case and any Successor Case (the “Prepetition Superpriority
                              Claim”). The Prepetition Superpriority Claim shall be subject to the
                              Carve Out as set forth in the Interim Order and shall otherwise be junior
                              only to the DIP Superpriority Claims. The Prepetition Superpriority
                              Claim shall have priority over all other administrative expense claims
                              and unsecured claims against the Debtor or its estate, now existing or
                              hereafter arising, of any kind or nature whatsoever, including
                              administrative expenses of the kinds specified in or ordered pursuant to
                              sections 105, 326, 328, 330, 331, 503(a), 503(b), 507(a), 506(c) (subject
                              to entry of the Final Order), 507(b), 546(c), 546(d), 726, 1113, and 1114
                              of the Bankruptcy Code.

                              (c) Until the roll-up contemplated herein has occurred, the Debtor seeks

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                                  authority and direction to pay interest on $5,230,000 of the Prepetition
                                  Loan Obligations at a rate per annum equal to six percent (6%), which
                                  interest shall be payable monthly in cash and otherwise in accordance
                                  with the terms of the Prepetition Loan Documents.

                                  (d) Payment in cash (and as to fees and expenses, without the need for
                                  the filing of a formal fee application) (the “Prepetition Adequate
                                  Protection Payments”) of reasonable and documented legal fees and out-
                                  of-pocket expenses incurred in connection with the DIP Financing,
                                  whether arising before or after the Petition Date. The Prepetition Lender
                                  (and each of its professionals) shall not be required to comply with U.S.
                                  Trustee fee guidelines or file applications or motions with, or to obtain
                                  approval of, the Court for the payment of any of their out-of-pocket
                                  costs, fees, expenses, disbursements, and other charges.

                                  Interim Order ¶ 7.
                                  The occurrence of any of the following events, unless waived by the
       Events of Default
                                  DIP Financing Parties in accordance with the terms of the DIP
       Bankruptcy Rule
                                  Financing Documents, constitutes an event of default: (a) the failure of
       4001(c)(1)(B)
                                  the Debtor to perform, in any respect, any of the terms, provisions,
       Local Rule 4001-2(a)(ii)
                                  conditions, covenants, or obligations under the Interim Order, including
                                  the failure to comply with the Case Milestones, or (b) the occurrence of
                                  an “Event of Default” under section 8 of the DIP Credit Agreement.
                                  Interim Order ¶ 13; DIP Credit Agreement § 8.

                                  The automatic stay imposed under section 362(a) of the Bankruptcy
       Waiver / Modification
                                  Code is hereby vacated and modified to permit the Debtor to grant the
       of Automatic Stay
                                  liens and security interests to the DIP Lender and the Prepetition Lender
       Bankruptcy Rule
                                  contemplated by the Interim Order and the DIP Financing Documents.
       4001(c)(1)(B)(iv)
                                  Interim Order ¶ 12; DIP Credit Agreement § 8.10.


       Waiver / Modification      The Interim Order shall be sufficient and conclusive evidence of the
       of Applicability of        validity, perfection, and priority of the DIP Liens without the necessity
       Nonbankruptcy Law          of filing or recording any financing statement, deed of trust, mortgage,
       Relating to Perfection     or other instrument or document which may otherwise be required under
       or Enforceability of       the law of any jurisdiction or the taking of any other action (including,
       Liens                      for the avoidance of doubt, entering into any deposit account control
       Bankruptcy Rule            agreement) to validate or perfect the DIP Liens or to entitle the DIP
       4001(c)(1)(B)(vii)         Liens to the priorities granted in the Interim Order. Notwithstanding the
                                  foregoing, the DIP Lender may, in its sole discretion, file such financing
                                  statements, mortgages, notices of liens and other similar documents, and
                                  are hereby granted relief from the automatic stay of section 362 of the
                                  Bankruptcy Code in order to do so, and all such financing statements,
                                  mortgages, notices and other documents shall be deemed to have been
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                                  filed or recorded at the time and on the date of the commencement of
                                  the Chapter 11 Case. The Debtor shall execute and deliver to the DIP
                                  Lender all such financing statements, mortgages, notices and other
                                  documents as the DIP Lender may reasonably request to evidence,
                                  confirm, validate or perfect, or to insure the contemplated priority of,
                                  the DIP Liens granted pursuant to the Interim Order. The DIP Lender, in
                                  its sole discretion, may file a photocopy of the Interim Order as a
                                  financing statement with any recording officer designated to file or
                                  record financing statements or with any registry of deeds or similar
                                  office in any jurisdiction in which the Debtor has real or personal
                                  property, and in such event, the recording officer shall be authorized to
                                  file or record such copy of the Interim Order. Interim Order ¶ 6.


       Roll-Up                    Upon entry of the Final Order, without any further action by the Debtor
       Bankruptcy Rule            or any other party, 100% of the outstanding Prepetition Loan
       4001(c)(1)(B)(ii)          Obligations owing to the Prepetition Lender shall constitute DIP
       Local Rule 4001-           Obligations under and as further described in the DIP Financing
       2(a)(i)(E)                 Documents (the “DIP Roll-Up Loans”). Interim Order ¶¶ F(iii), 4

       Indemnification            The Debtor shall indemnify and hold harmless the DIP Financing
       Bankruptcy Rule            Parties and their successors, assigns, affiliates, parents, subsidiaries,
       4001(c)(1)(B)(ix)          partners, controlling persons, representatives, agents, attorneys,
                                  advisors, financial advisors, consultants, professionals, officers,
                                  directors, members, managers, shareholders and employees, past,
                                  present and future, and their respective heirs, predecessors, successors
                                  and assigns, in accordance with the DIP Financing Documents, which
                                  indemnification is hereby authorized and approved. Interim Order ¶ 29.


       Conditions to              The closing of the DIP Facility and extensions of credit thereunder are
       Borrowing                  subject to satisfaction of usual and customary conditions precedent,
       Bankruptcy Rule            including entry of the Interim Order. DIP Credit Agreement § 3.
       4001(c)(1)(B)
       Local Rule 4001-2(a)(ii)
                                  Subject to entry of the Final Order, the DIP Facility will be secured by
       Liens on Avoidance
                                  first priority liens in the proceeds of any avoidance actions of the Debtor
       Actions
                                  brought under Chapter 5 of the Bankruptcy Code or applicable state law
       Bankruptcy Rule
                                  equivalents. DIP Credit Agreement § 4.2.
       4001(c)(1)(B)(xi)
       Local Rule 4001-
       2(a)(i)(D)




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                              REQUIREMENTS UNDER LOCAL RULE 4001-2

                        21.    Local Rule 4001-2 requires that certain provisions contained in the DIP

         Credit Agreement be highlighted and that the Debtor provides justification for the inclusion of

         such highlighted provisions.      The Debtor hereby identifies and discusses the following

         provisions of the DIP Credit Agreement and the Interim Order.

                        22.    Waiver    of   Section   506(c)    of   the   Bankruptcy    Code:      Local

         Rule 4001-2(a)(i)(C) requires disclosure of provisions that constitute a waiver, without notice, of

         whatever rights the estate may have under section 506(c) of the Bankruptcy Code. The Interim

         Order provides that the waiver of any rights under section 506(c) of the Bankruptcy Code is

         subject to entry of the Final Order. Because this waiver only will be effective upon entry of the

         Final Order and to the extent such order so provides, the Debtor respectfully submits that parties

         in interest will have an opportunity to be heard and, as such, the waiver will not be “without

         notice,” but the Debtor discloses the provision out of an abundance of caution.

                        23.    Carve-Out: Local Rule 4001-2(a)(i)(F) requires disclosure of disparate

         treatment between the professionals retained by the Debtor and the professionals retained by the

         unsecured creditors’ committee, if any, with respect to a professional fee carve out. See Del.

         Bankr. L.R. 4001-2(a)(i)(F). Budgeted professional fees comprise the primary component of the

         Carve-Out. The Budget provides different amounts for Committee professionals and Debtor

         professionals. The Debtor submits the proposed amounts are common in cases of similar size

         before the Court, accurately accounts for the increased administrative tasks required of Debtor

         professionals, and are reasonable and appropriate under the circumstances.

                        24.    Waiver of Section 552(b)(1): Pursuant to Local Rule 4001-2(a)(i)(H), a

         movant must identify any provisions that seek to affect the Court’s power to consider the equities

         of the case under 11 U.S.C. § 552(b)(1). The Interim Order provides in light of the agreement to
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         subordinate its liens and superpriority claims to the Carve Out in the case of the DIP Lender and

         the Prepetition Lender’s, the DIP Lender and the Prepetition Lenders are entitled to all of the

         rights and benefits of section 552(b) of the Bankruptcy Code and the “equities of the case”

         exception shall not apply with respect to proceeds, product, offspring or profits of any of the DIP

         Collateral. See Interim Order at ¶ 27. The Debtor believes that such relief is often provided, and

         appropriate, upon entry of the Final Order.

                        25.    Nonconsensual Priming: Pursuant to Local Rule 4001-2(a)(i)(G), a

         movant must identify any provisions that seek to prime any secured lien without the consent of

         that lienor. The Debtor does not anticipate that the Interim Order or the Final Order provide for

         any nonconsensual priming.

                        26.    Roll-Up Provisions: Pursuant to Local Rule 4001-2(a)(i)(E)), a movant

         must identify any roll-up provisions. Upon entry of the Final Order and closing of the DIP

         Facility, the total outstanding amount of the Prepetition Facility shall be replaced and refinanced

         by the DIP Obligations.

                        27.    The DIP Lender would not have agreed to provide the DIP Facility and

         consented to the use of Cash Collateral without the inclusion of the aforementioned provisions,

         each of which was heavily negotiated among the various parties. Moreover, as discussed below,

         these provisions are justified under the circumstances. Finally, the Debtor determined in its

         sound business judgment, upon approval by the Special Committee, that agreeing to such

         provisions was appropriate under the circumstances of this Chapter 11 Case to afford the Debtor

         immediate and much needed liquidity to fund, on the most competitive terms available, its

         ongoing operations and the sale process in this Chapter 11 Case.




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                REQUEST FOR APPROVAL OF THE DIP FACILITY AND RELATED ACTIONS

         I.       Sections 364(c) and (d) of the Bankruptcy Code

                        28.     As described above, it is essential to the success of this Chapter 11 Case

         that the Debtor immediately obtains access to sufficient postpetition financing and use of cash

         collateral. The preservation of estate assets and the Debtor’s ability to maximize value for

         stakeholders depends heavily upon the expeditious approval of the relief requested herein.

                        29.     Section 364 of the Bankruptcy Code “provides bankruptcy courts with the

         power to authorize postpetition financing for a Chapter 11 debtor-in-possession.” In re Defender

         Drug Stores, Inc., 126 B.R. 76, 81 (Bankr. D. Ariz. 1991). “Having recognized the natural

         reluctance of lenders to extend credit to a company in bankruptcy, Congress designed [section]

         364 to provide ‘incentives to the creditor to extend postpetition credit.’” Id. Section 364(c)

         allows a debtor to grant postpetition credit, among other things, administrative claim status and a

         senior lien on unencumbered property of the estate. Section 364(d) allows a debtor to secure

         postpetition credit with senior liens on encumbered property of the estate. As discussed below,

         the Debtor satisfies the requirements for relief under both section 364(c) and (d) of the

         Bankruptcy Code in relation to the DIP Facility. Furthermore, the Debtor’s decision to enter into

         the proposed DIP Facility is an exercise of its sound judgment. See, e.g., In re Trans World

         Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving postpetition financing

         because it “reflect[ed] sound and prudent business judgment”); In re L.A. Dodgers LLC, 457 B.R.

         308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer to the business judgment of a

         debtor in the selection of the lender.”). For these reasons, the Debtor submits that the Court

         should grant the Debtor’s request to enter into the DIP Facility, subject to the Participants’ rights

         in connection therewith, pursuant to section 364(c) and (d) of the Bankruptcy Code.


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         II.    Approval Under Section 364(c) of the Bankruptcy Code

                        30.     Section 364(c) of the Bankruptcy Code authorizes a debtor to obtain

         postpetition financing on a superpriority or senior secured (non-priming) basis, or both, where

         the Court finds, after notice and a hearing, that the debtor is “unable to obtain unsecured credit

         allowable under section 503(b)(1)” of the Bankruptcy Code. 11 U.S.C. § 364(c).

                        31.     Courts have articulated a three-part test to determine whether a debtor is

         entitled to financing under section 364(c) of the Bankruptcy Code. Specifically, courts look to

         whether:

                        (i)     the debtor is unable to obtain unsecured credit under
                                section 364(b), i.e., by allowing a lender only an
                                administrative claim;

                        (ii)    the credit transaction is necessary to preserve the assets of
                                the estate; and

                        (iii)   the terms of the transaction are fair, reasonable, and
                                adequate, given the circumstances of the debtor-borrower
                                and the proposed lender.

         See, e.g., In re Aqua Assocs., 123 B.R. 192, 195-96 (Bankr. E.D. Pa. 1991) (applying the above

         factors and holding that “[o]btaining credit should be permitted not only because it is not

         available elsewhere, which could suggest the unsoundness of the basis for the use of the funds

         generated by credit, but also because the credit acquired is of significant benefit to the debtor’s

         estate and that the terms of the proposed loan are within the bounds of reason, irrespective of the

         inability of the debtor to obtain comparable credit elsewhere”).

                        A.      The Debtor Was Unable to Obtain Necessary
                                Postpetition Financing from Third-Party Sources

                        32.     A debtor need only demonstrate “by a good faith effort that credit was not

         available” to the debtor on an unsecured or administrative expense basis. Bray v. Shenandoah

         Fed. Savs. & Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986) (“The
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         statute imposes no duty to seek credit from every possible lender before concluding that such

         credit is unavailable.”); accord In re Ames Dep’t Stores, Inc., 115 B.R. 34, 37 (Bankr. S.D.N.Y.

         1990) (debtor must show that it has made reasonable efforts to seek other sources of financing

         under section 364(a) and (b) of the Bankruptcy Code); In re Crouse Group, Inc., 71 B.R. 544,

         549 (Bankr. E.D. Pa. 1987) (secured credit under section 364(c)(2) of the Bankruptcy Code is

         authorized, after notice and hearing, upon showing that unsecured credit cannot be obtained).

         “The statute imposes no duty to seek credit from every possible lender before concluding that

         such credit is unavailable.” Snowshoe, 789 F.2d at 1088; see also Pearl-Phil GMT (Far East)

         Ltd. v. Caldor Corp., 266 B.R. 575, 584 (S.D.N.Y. 2001) (superpriority administrative expenses

         authorized where debtor could not obtain credit as an administrative expense). This is true

         especially when time is of the essence. In re Reading Tube Indus., 72 B.R. 329, 332 (Bankr. E.D.

         Pa. 1987). When few lenders are likely able and willing to extend the necessary credit, let alone

         on advantageous terms, “it would be unrealistic and unnecessary to require [the debtor] to

         conduct such an exhaustive search for financing.” In re Sky Valley, Inc., 100 B.R. 107, 113

         (Bankr. N.D. Ga. 1988), aff’d sub nom., Anchor Savs. Bank FSB v. Sky Valley, Inc., 99 B.R. 117,

         120 n.4 (N.D. Ga. 1989); see also Ames Dep’t Stores, 115 B.R. at 40 (approving financing

         facility and holding that the debtor made reasonable efforts to satisfy the standards of section

         364(c) where it approached four lending institutions, was rejected by two, and selected the most

         favorable of the two offers it received); see also In re Stanley Hotel, Inc., 15 B.R. 660, 663 (D.

         Colo. 1981) (bankruptcy court’s finding that two national banks refused to grant unsecured loans

         was sufficient to support conclusion that section 364 requirement was met).

                        33.    As described above, the Debtor engaged in a robust process to secure

         debtor-in-possession financing. The Debtor, with the assistance of its advisors, contacted 32


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         parties and explored various alternative sources of capital and financing, including the DIP

         Facility. The Debtor’s efforts to seek the necessary postpetition financing within the Debtor’s’

         existing investors and the Prepetition Lender, as well as from other third-party sophisticated

         lenders, was reasonable and sufficient and satisfy the statutory requirements of section 364(c) of

         the Bankruptcy Code. See, e.g., In re 495 Cent. Park Ave. Corp., 136 B.R. 626, 630-31 (Bankr.

         S.D.N.Y. 1992) (a debtor seeking financing under section 364(c) of the Bankruptcy Code made

         an acceptable attempt to obtain less onerous financing by speaking to several lenders that denied

         the loan request); In re Ames Dep't Stores, 115 B.R. at 40 (same). The DIP Facility avoids the

         uncertainty and costs associated with a potential priming fight.

                        B.     The DIP Facility is Necessary to Administer, Maximize and
                               Preserve the Assets of the Debtor’s Estate

                        34.    It is essential that the Debtor obtain the proposed financing to continue the

         orderly operation of its business to preserve its going-concern value pending completion of the

         chapter 11 process. Absent the financing provided by the DIP Facility, the Debtor will not have

         the ability to pursue a going concern sale process, thus limiting the Debtor’s ability to maximize

         the value of its business. Accordingly, the circumstances of this Chapter 11 Case necessitate

         postpetition financing under section 364(c) of the Bankruptcy Code. See Burtch v. Ganz (In re

         Mushroom Transp. Co., Inc.), 382 F.3d 325, 339 (3d Cir. 2004) (observing that a debtor in

         possession has a fiduciary duty to “protect and maximize” the value of its estate).

                        C.     The Terms of the DIP Facility are
                               Fair, Reasonable and Appropriate Under the Circumstances

                        35.    The terms and conditions of the DIP Facility must be judged by a

         bankruptcy court taking into account the debtor’s financial circumstances and alternatives.

         In re W. Pac. Airlines, Inc., 223 B.R. 567, 572 (Bankr. D. Colo. 1997) (although terms of

         financing facility fees were “onerous, costly, and tough,” facility was approved because it fairly
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         reflected the debtor’s “situation and the market in which the debtor is forced to participate as a

         result of its financial circumstances and the deadlines it faces”); In re Lyondell Chem. Co., No.

         09-10023 (REG) (Bankr. S.D.N.Y. Feb. 27, 2009) (“[B]y reason of present market conditions, as

         disappointing as the [DIP] pricing terms are, I find the provisions [of a DIP that included a roll-

         up of prepetition secured debt] reasonable here and now.”)..

                        36.     Judged from that perspective, the terms of the DIP Facility, subject to the

         Participations, are fair and reasonable under the circumstances. The DIP Facility, together with

         the commitment to fund from the Participants, provides sufficient liquidity to the Debtor in its

         overall chapter 11 efforts because it provides the Debtor the time, a breathing spell, and the

         resources necessary to conduct an orderly sale of the Debtor’s business, all with the overarching

         goal of maximizing the value of the Debtor’s estate for the benefit of the Debtor’s creditors and

         other stakeholders. Additionally, as set forth in the First Day Declaration, the Budget will cover

         all anticipated administrative claims. No other party approached by the Debtor and its advisors

         was willing to make a postpetition loan that was superior to the terms offered by the DIP

         Financing Parties. After having engaged in arm’s-length negotiations with the DIP Financing

         Parties through their respective counsel and other advisors, the Debtor believes that the DIP

         Facility is the best solution for the Debtor’s immediate liquidity needs and its chapter 11 strategy.

                        37.     In addition, the DIP Facility does not directly or indirectly deprive the

         Debtor’s estate or other parties in interest of possible rights and powers by restricting the

         services for which chapter 11 professionals may be paid.            See In re Tenney Vill. Co.,

         104 B.R. 562, 568-69 (Bankr. D.N.H. 1989) (denying approval of a financing facility that,

         among other things, did not provide a carve-out for professional fees). Instead, the proposed DIP

         Facility and the proposed Interim Order provide generally that the security interests and


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         superpriority administrative expense claims granted to the DIP Financing Parties are subject to

         the Carve-Out, which provides for (a) all unpaid fees of the Clerk of the Court and the Office of

         the United States Trustee, (b) the fees payable to the directors of the Debtor, and (c) fees and

         expenses for any professional retained or appointed pursuant to sections 327, 328, 363 or 1103 of

         the Bankruptcy Code of the Debtor and any statutory committee of unsecured creditors, subject

         to the cap in the Carve Out. In Ames Department Stores, the bankruptcy court found that such

         “carve-outs” are not only reasonable but are necessary to ensure that official committees and

         debtors’ estates are adequately assisted by counsel and other professionals. In re Ames Dep’t

         Stores, 115 B.R. at 40.

                         38.      Likewise, the fees and charges required by the DIP Lender under the DIP

         Facility are well within the range of reasonableness under the circumstances.

                         39.      Finally, there is nothing in the DIP Facility to prevent the Debtor from

         considering alternative sources of financing prior to entry of the Final Order. Should a superior

         alternative materialize, the Debtor, subject to repayment of all Obligations owing under the DIP

         Facility, may take it.

                         40.      For these reasons, in the Debtor’s business judgment, the Debtor submits

         that the terms of the DIP Facility are fair and reasonable in light of the circumstances of this case.

                         D.       The Roll-up Provisions are Appropriate

                         41.      The provisions providing for replacement and refinancing (or “roll-up”) of

         the Prepetition Facility (the “Roll-Up Provisions”) into the DIP Obligations are necessary

         components of the DIP Facility. After extensive, arm’s-length negotiations, the Debtor agreed to

         the Roll-Up Provisions as consideration for, and solely on account of, the agreement of the

         Prepetition Lender to fund amounts, and provide certain other consideration to the Debtor, under

         the DIP Facility. Moreover, the approval of the “roll-up” of all outstanding obligations under the
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         Prepetition Facility into DIP Obligations is a condition of the DIP Facility which provides

         numerous benefits to the estate, including enabling the Debtor to obtain financing that it urgently

         needs to administer this Chapter 11 Case and fund operations. Finally, because the Roll-Up

         Provisions are subject to the reservation of rights in paragraph 23 of the Interim Order, they will

         not prejudice the right of any party in interest as set forth therein. Accordingly, the Debtor has

         satisfied the requirements to obtain postpetition financing under the DIP Facility on a

         superpriority and senior secured basis.

                        42.    “Roll-ups” of prepetition obligations are a common feature in

         bankruptcies, and courts in this and other jurisdictions have approved them in multiple recent

         cases. In re Charming Charlie Holdings Inc., No. 17-12906 (Bankr. D. Del. Dec. 13, 2017)

         (approving in interim order the “roll-up” of all outstanding prepetition revolving obligations); In

         re American Apparel, Inc., No. 15-12055 (Bankr. D. Del. Oct. 6, 2015) (approving in interim

         order the repayment in full of all outstanding amounts under the prepetition revolving credit

         agreement); In re The Gymboree Corp., No. 17-32986 (Bankr. E.D. Va. Jun. 12, 2017)

         (approving in interim order the “roll-up” of all outstanding prepetition revolving obligations); In

         re rue21, Inc., No. 17-22045 (Bankr. W.D. Pa. May 18, 2017) (approving in interim order the

         “roll-up” of all outstanding prepetition revolving obligations); In re BCBG Max Azria Holdings,

         LLC, No. 17-10466 (Bankr. S.D.N.Y. Mar. 2, 2017) (approving in interim order the “roll-up of

         all outstanding prepetition revolving obligations); In re Aéropostale, Inc. No. 16-11275 (Bankr.

         S.D.N.Y. May 6, 2016) (approving in interim order the “roll-up” of all outstanding prepetition

         revolving obligations).




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                           E.    The DIP Facility is in the Best
                                 Interests of the Debtor’s Estate and Creditors

                           43.   The Debtor believes that the approval of the DIP Facility is in the best

         interests of the Debtor’s estate and its creditors. As stated above, without immediate access to

         the cash collateral and the funds available under the DIP Facility, the Debtor would imminently

         face a liquidity shortage and it would be forced to initiate Chapter 7 proceedings and liquidate all

         of its assets.

         III.    Approval Under Section 364(d) of the Bankruptcy Code

                           44.   The statutory requirement for obtaining postpetition credit under

         section 364(d)(1) of the Bankruptcy Code is a finding, made after notice and hearing, that the

         debtor in possession is “unable to obtain such credit otherwise.” See Shaw Indus., Inc. v. First

         Nat'l Bank of PA (In re Shaw Indus., Inc.), 300 B.R. 861, 863, 865 (Bankr. W.D. Pa. 2003)

         (where debtor made efforts by “contact[ing] numerous lenders” and was unable to obtain credit

         without a priming lien, it had met its burden under section 364(d)); In re 495 Cent. Park, 136

         B.R. at 630-31 (holding that debtor must make an effort to obtain credit without the requirement

         of a priming lien but is not required to seek credit from every possible lender); In re Dunes

         Casino Hotel, 69 B.R. 784, 796 (Bankr. D.N.J. 1986) (holding that the debtor had made required

         efforts under section 364(d)(1) of the Bankruptcy Code based on evidence that the debtor had

         attempted unsuccessfully to borrow funds on an unsecured basis or secured by junior liens, but

         that at least three such lenders were willing to advance funds secured by a superpriority lien).

                           45.   As fully described above, the Debtor conducted a robust solicitation

         process and no other postpetition credit was available on better terms. Through the DIP Facility,

         the DIP Financing Parties will receive, pursuant to section 364(d)(1) of the Bankruptcy Code,

         superpriority administrative expense claims in this Chapter 11 Case and any Successor Case, as

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         well as automatically perfected security interests in and liens on all of the DIP Collateral,

         including all Cash Collateral.

                        46.     Thus, the requirements of section 364(d)(1)(B) of the Bankruptcy Code

         have been fulfilled, to the extent applicable, and the proposed DIP Facility should be approved.

         IV.    Application of the Business Judgment Standard

                        A.      Entry into the DIP Credit Agreement
                                is an Exercise of the Debtor’s Sound Business Judgment

                        47.     As described above, in the First Day Declaration, after appropriate

         diligence and analysis, the Debtor has concluded that the DIP Facility is the best and only option

         available under the circumstances. Bankruptcy courts routinely defer to a debtor’s business

         judgment on most business decisions, including the decision to borrow money, unless such

         decision is arbitrary and capricious. See In re YL West 87th Holdings I LLC, 423 B.R. 421, 441

         (Bankr. S.D.N.Y. 2010) (stating that “[c]ourts have generally deferred to a debtor’s business

         judgment in granting section 364 financing”); Trans World Airlines, Inc. v. Travellers Int'l AG

         (In re Trans World Airlines, Inc.), 163 B.R. 964, 974 (Bankr. D. Del. 1994) (noting that the

         interim loan, receivables facility and asset-based facility were approved because they “reflect[ed]

         sound and prudent business judgment on the part of TWA . . . [were] reasonable under the

         circumstances and in the best interest of TWA and its creditors”); cf. In re Filene’s

         Basement, LLC, 2014 WL 1713416, at *12 (Bankr. D. Del. Apr. 29, 2014) (stating

         “[t]ransactions under § 363 must be based upon the sound business judgment of the debtor or

         trustee.”). In fact, “[m]ore exacting scrutiny would slow the administration of the debtor’s estate

         and increase its cost, interfere with the Bankruptcy Code’s provision for private control of

         administration of the estate, and threaten the court’s ability to control a case impartially.”

         Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985).

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                         48.     The Debtor has exercised sound business judgment in determining that the

         DIP Facility is appropriate, and has satisfied the legal prerequisites to incur debt under the DIP

         Facility. In light of the Debtor’s overall circumstances and the fact that the Debtor could not

         obtain postpetition financing from another lending source, much less on terms superior to the

         DIP Facility, given the Participation commitments, the Debtor’s decision to enter into the DIP

         Facility is a sound exercise of the Debtor’s business judgment. Accordingly, the Debtor submits

         that the Court should grant the Debtor authority to enter into the DIP Facility and obtain funds

         from the DIP Financing Parties on the basis described above, pursuant to sections 364(c) and

         364(d) of the Bankruptcy Code.

                    CASH COLLATERAL, PRIMING, AND ADEQUATE PROTECTION

                         49.     Section 363(c)(2) of the Bankruptcy Code governs a debtor’s use of a

         secured creditor’s cash collateral. Specifically, that provision provides, in pertinent part, that:

                         The trustee may not use, sell, or lease cash collateral . . . unless—

                                 (A)     each entity that has an interest in such cash
                                         collateral consents; or

                                 (B)     the court, after notice and a hearing, authorizes such
                                         use, sale, or lease in accordance with the provisions
                                         of this section [363].

         11 U.S.C. § 363(c)(2). Further, section 363(e) provides that “on request of an entity that has an

         interest in property . . . proposed to be used, sold or leased, by the trustee, the court, with or

         without a hearing, shall prohibit or condition such use, sale, or lease as is necessary to provide

         adequate protection of such interest.” 11 U.S.C. § 363(e).

                         50.     The Debtor has satisfied the requirements of sections 363(c)(2) and 363(e),

         and should be authorized to use the Cash Collateral on the terms set forth in the Interim Order

         and the DIP Credit Agreement. As discussed above, the requisite Prepetition Lender consented

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         to the use of the Cash Collateral as provided in the DIP Financing Documents and the Interim

         Order.

                        51.     Moreover, the Debtor has an urgent need to use its remaining Cash

         Collateral along with the proceeds of the DIP Facility, to honor obligations critical to its ongoing

         operations, including to employees, vendors, and the sale process. Therefore, the Debtor submits

         that it should be authorized to use the Cash Collateral on the terms set forth in the Interim Order.

                        52.     In addition, section 364(d) of the Bankruptcy Code provides that a debtor

         may obtain credit secured by a senior or equal lien on property of the estate already subject to a

         lien, after notice and a hearing, where the debtor is “unable to obtain such credit otherwise” and

         “there is adequate protection of the interest of the holder of the lien on the property of the estate

         on which such senior or equal lien is proposed to be granted.” 11 U.S.C. § 364(d)(1). Consent

         by the secured creditors to priming obviates the need to show adequate protection. See Anchor

         Savs. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 122 (N.D. Ga. 1989) (“[B]y tacitly consenting

         to the superpriority lien, those [undersecured] creditors relieved the debtor of having to

         demonstrate that they were adequately protected.”).          Accordingly, the Debtor may incur

         “priming” liens under the DIP Facility if either (a) the Prepetition Lender has consented, or (b)

         the Prepetition Lender’s interests in collateral are adequately protected. Here, the Prepetition

         Lender has consented to the DIP Facility.

                        53.     However, in the event and to the extent that the Debtor has obligations to

         any party that remain outstanding that are subject to valid, perfected and non-avoidable

         prepetition liens on the Debtor’s property, any secured party would be adequately protected.

         They will receive protection against any diminution in the value of such interest caused by the




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         imposition of the automatic stay by having continuing, valid, binding, enforceable, and perfected

         postpetition security interests in and liens on the DIP Collateral.

                        54.     The principal purpose of adequate protection is to safeguard the interests

         of the secured creditor in the collateral against diminution in the value of that interest

         postpetition. See In re 495 Cent. Park, 136 B.R. at 631 (stating that the goal of adequate

         protection is to safeguard the secured creditor from diminution in value of its interest during the

         chapter 11); In re Mosello, 195 B.R. 277, 288 (Bankr. S.D.N.Y. 1996) (same).

                        55.     The means by which adequate protection can be provided are addressed in

         section 361 of the Bankruptcy Code, which sets forth three non-exclusive forms of adequate

         protection:

                           i.   lump sum cash payments to the extent the use of property results in a
                                diminution in value of an entity’s interest in property;

                          ii.   provision of additional or replacement liens to the extent the use of
                                property results in a diminution in value of an entity’s interest in property;
                                and

                         iii.   such other relief as will result in an entity realizing the indubitable
                                equivalent of its interest in property.

         11 U.S.C. § 361. As the foregoing is neither exclusive nor exhaustive, there is a great deal of

         flexibility in terms of what may constitute adequate protection. MBank Dallas, N.A. v. O'Connor

         (In re O'Connor), 808 F.2d 1393, 1396-97 (10th Cir. 1987). Ultimately, adequate protection is

         determined on a case-by-case basis in light of the particular facts and circumstances presented.

         Id. (stating that “the courts have considered ‘adequate protection’ a concept which is to be

         decided flexibly on the proverbial ‘case-by-case’ basis.”) (citations omitted); In re 495 Cent.

         Park, 136 B.R. at 631 (stating that, “although section 361 presents some specific illustrations of

         adequate protection, the statute is not exclusive” and “suggests a broad and flexible definition”);

         Pagano v. Cooper (In re Cooper), 22 B.R. 718, 720 n.3 (Bankr. E.D. Pa. 1982) (“While adequate
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         protection is not defined in the Bankruptcy Code, the legislative history of § 361 reflects the

         intent of Congress to give the courts the flexibility to fashion the relief in light of the facts of

         each case and general equitable principles.” (citing H.R. Rep. No. 95-595, 95th Cong., 1st Sess.

         339 (1977)); see also 3 COLLIER         ON   BANKRUPTCY ¶ 363.05 (Alan N. Resnick & Henry J.

         Sommer eds., 16th ed.) (stating that, although section 361 provides examples of adequate

         protection, “[t]hese examples are not intended to be limiting, and the circumstances of the case

         will dictate the necessary relief to be given”).

                        56.     In this Chapter 11 Case, the Debtor will provide the Prepetition Lender

         with Adequate Protection Liens which will be subject to the Carve Out and otherwise be junior

         only to the DIP Liens. The Adequate Protection Liens will be senior to all other security

         interests in, liens on, or claims against any of the DIP Collateral. The Debtor submits that, under

         the circumstances, the foregoing would suffice as adequate protection and the Prepetition Lender

         clearly is more than adequately protected under the circumstances with regard to the Debtor’s

         proposed use of cash collateral.

                        57.     If funds are not made available to pay essential items on an emergency

         basis, the value of the Debtor’s assets will be eroded to the detriment of all parties in interest.

         On the other hand, use of limited cash collateral in accordance with the Budget, combined with

         the funds available under the DIP Facility, will allow the Debtor to administer, preserve and even

         enhance the value of the DIP Collateral. Accordingly, there is no harm done to the Prepetition

         Lender’s interests by the Debtor’s proposed use of cash collateral and the institution of the DIP

         Lender’s priming liens in connection therewith, and the Debtor believes that, combined with the

         adequate protection being provided under the Interim Order, the Prepetition Lender requires no

         other or further adequate protection.


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                      REQUEST FOR MODIFICATION OF THE AUTOMATIC STAY

                          58.   The Debtor seeks a modification of the automatic stay imposed by

         operation of section 362 of the Bankruptcy Code to the extent contemplated by the provisions of

         the DIP Credit Agreement as described above.

                          59.   Such stay modification provisions are customary features of postpetition

         financing facilities and, in the Debtor’s business judgment, are reasonable under the

         circumstances.     Accordingly, the Debtor respectfully requests that the Court modify the

         automatic stay to the extent contemplated by the DIP Facility and the proposed Interim Order.

                                                   GOOD FAITH

                          60.   The terms and conditions of the DIP Facility and the use of cash collateral

         are fair and reasonable and were negotiated by the parties in good faith and at arms’ length and

         with the approval of the Special Committee. Therefore, the DIP Financing Parties should be

         accorded the benefits of section 364(e) of the Bankruptcy Code to the extent any or all of the

         provisions of the DIP Facility, or any interim or final order of the Court pertaining thereto, are

         hereafter modified, vacated, stayed or terminated by subsequent order of this or any other court.

                          REQUEST FOR HEARING AND AUTHORITY TO
                      MAKE INTERIM BORROWINGS UNDER THE DIP FACILITY

                          61.   Pursuant to Bankruptcy Rule 4001(b), the Debtor requests that the Court

         conduct an interim hearing and authorize the Debtor’s use of the DIP Facility and cash collateral

         in order to (a) maintain and finance the operations of the Debtor, and (b) avoid immediate and

         irreparable harm and prejudice to the Debtor’s estate and all parties in interest.

                          62.   Bankruptcy Rule 4001(c) provides that a final hearing on a motion to

         obtain credit pursuant to section 364 of the Bankruptcy Code may not be commenced earlier than

         fourteen (14) days after the service of such motion. Fed. R. Bankr. P. 4001(c). Upon request,

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         however, the Court is empowered to conduct a preliminary expedited hearing on the motion and

         authorize the obtaining of credit to the extent necessary to avoid immediate and irreparable harm

         to a debtor’s estate. In examining requests for interim relief under this rule, courts apply the

         same business judgment standard applicable to other business decisions. See, e.g., In re Simasko,

         47 B.R. 444, 449 (Bankr. D. Colo. 1985); see also In re Ames Dep't Stores, 115 B.R. at 38. After

         the fourteen (14)-day period, the request for financing is not limited to those amounts necessary

         to prevent disruption of the debtor’s business, and the debtor is entitled to borrow those amounts

         that it believes prudent in the operation of its business. See, e.g., In re Simasko, 47 B.R. at 449;

         In re Ames Dep't Stores, 115 B.R. at 36.

                        63.     Pursuant to Bankruptcy Rule 4001(c), the Debtor respectfully requests that

         the Court conduct a preliminary hearing on the Motion and authorize the Debtor, from the entry

         of the Interim Order until the Final Hearing, to obtain access to interim borrowing under the

         terms contained in the DIP Facility, and to utilize cash collateral.

                                        SCHEDULING FINAL HEARING

                        64.     The Debtor respectfully requests that the Court schedule the Final Hearing

         for a date no later than thirty (30) days from the Petition Date, and set a deadline to object to

         entry of the Final Order as set forth in the proposed Interim Order.

                                                      NOTICE

                        65.     Notice of this Motion has been provided to: (i) the Office of the United

         States Trustee for the District of Delaware; (ii) the Office of the United States Attorney for the

         District of Delaware; (iii) the Internal Revenue Service; (iv) the Debtor’s thirty (30) largest

         unsecured creditors; (v) the Securities and Exchange Commission; (vi) counsel to the DIP

         Lender; (vii) counsel to the Participants; (viii) all parties that have filed a financing statement

         asserting a lien in any of the Debtor’s assets; (ix) the Prepetition Lender; (x) the Cash
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         Management Banks; and (xi) all parties that have filed a notice of appearance and request for

         service of papers pursuant to Bankruptcy Rule 2002. Notice of this Motion and any order

         entered hereon will be served in accordance with Local Rule 9013-1(m). In light of the nature of

         the relief requested herein, the Debtor submits that no other or further notice is necessary.

                                                  CONCLUSION

                        WHEREFORE, the Debtor respectfully requests that the Court (a) enter an

         Interim Order substantially in the form attached hereto as Exhibit A; (b) set a date for a hearing

         to consider entry of the Final Order, and (c) any other relief that the Court deems just and proper.



         Dated: Wilmington, Delaware           YOUNG CONAWAY STARGATT & TAYLOR, LLP
                September 4, 2019
                                               /s/ Andrew L. Magaziner
                                               Michael R. Nestor (No. 3526)
                                               Joseph M. Barry (No. 4221)
                                               Andrew L. Magaziner (No. 5426)
                                               Joseph M. Mulvihill (No. 6061)
                                               Jordan E. Sazant (No. 6515)
                                               Rodney Square, 1000 North King Street
                                               Wilmington, Delaware 19801
                                               Telephone: (302) 571-6600
                                               Facsimile: (302) 571-1253

                                               Proposed Counsel to the Debtor and Debtor in Possession




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                                      EXHIBIT A

                                      Interim Order




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

In re:                                                                        Chapter 11

UBIOME, INC.,1                                                                Case No. 19-11938 (LSS)

                                    Debtor.


        INTERIM ORDER (I) AUTHORIZING THE DEBTOR TO OBTAIN
  POSTPETITION SECURED FINANCING, (II) AUTHORIZING THE USE OF CASH
 COLLATERAL, (III) GRANTING LIENS AND SUPERPRIORITY ADMINISTRATIVE
 EXPENSE STATUS, (IV) GRANTING ADEQUATE PROTECTION, (V) MODIFYING
      THE AUTOMATIC STAY, AND (VI) SCHEDULING A FINAL HEARING

            Upon the motion (the “DIP Motion”) dated September 4, 2019 of uBiome, Inc., as debtor

 and debtor in possession (the “Debtor”) in the above-referenced chapter 11 case (the “Chapter 11

 Case”), pursuant to sections 105, 361, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), 364(e), 364(d)(1),

 and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”),

 Rules 2002, 4001, 6004 and 9014 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”) and the corresponding local rules of this District (the “Local Rules”), for

 entry of an interim order (this “Interim Order”):

                      (i)       Authorizing the Debtor to obtain senior secured, super priority, debtor in

 possession financing in the aggregate principal amount of up to $13,830,000.00 (the “DIP

 Financing”) pursuant to the terms and conditions of the DIP Financing Documents (as defined

 below), including this Interim Order and the Final Order (as defined below);

                      (ii)      Authorizing the Debtor to execute, deliver, and enter into the (a) Senior

 Secured, Super Priority Debtor in Possession Term Loan and Security Agreement (the “DIP

 Credit Agreement”), substantially in the form attached as Exhibit A hereto, between the Debtor,


 1
     The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019). The Debtor’s headquarters is
     located at 360 Langton Street, Suite 301, San Francisco, CA 94103.
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as borrower, and Silicon Valley Bank, as lender (the “DIP Lender”), funded in part through

participations (collectively, the “Participations”) with participant parties (the “Participants”,2

together with the DIP Lender, the “DIP Financing Parties”), which Participations the Debtor will

acknowledge and agree to (as to terms applicable to the Debtor) and (b) all other agreements,

documents, or instruments delivered or executed in connection with the DIP Credit Agreement, as

hereafter amended, supplemented or otherwise modified from time to time, including the Budget

(as defined herein) (collectively, together with the DIP Credit Agreement, the Participations, this

Interim Order, and the Final Order, the “DIP Financing Documents”);

                    (iii)     Granting to the DIP Lender an allowed superpriority administrative

expense claim in the Chapter 11 Case and any Successor Case (as defined below) on account of the

DIP Financing and all obligations of the Debtor owing under, or secured by, the DIP Financing

Documents (collectively, and including all “Obligations” of the Debtor as defined and described in

the DIP Credit Agreement, the “DIP Obligations”) subject to the priorities set forth herein;

                    (iv)      Granting to the DIP Lender automatically perfected security interests in and

liens on all of the DIP Collateral (as defined below), including all property constituting “cash

collateral” as defined in section 363(a) of the Bankruptcy Code (“Cash Collateral”) subject to the

priorities set forth herein;

                    (v)       Authorizing the Debtor to use the proceeds of the DIP Financing in

accordance with the DIP Financing Documents;

                    (vi)      Authorizing the continued use of Cash Collateral (as defined below) by the

Debtor effective as of the Petition Date;

                    (vii)     Granting adequate protection to the Prepetition Lender (as defined below);


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    The “Participants” consist of 8VC Fund I, L.P. and 8VC Entrepreneurs Fund I, L.P., and may include additional participant
    parties.


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               (viii)   Vacating and modifying the automatic stay imposed by section 362 of the

Bankruptcy Code solely to the extent necessary to implement and effectuate the terms of the DIP

Financing Documents (including this Interim Order);

               (ix)     Scheduling a final hearing (the “Final Hearing”) to consider entry of an

order (the “Final Order”) granting the relief requested in the DIP Motion on a final basis and

approving the form of notice with respect to the Final Hearing;

               (x)      Waiving, to the extent applicable, any stay of the immediate effectiveness

of this Interim Order imposed by the Bankruptcy Code, the Bankruptcy Rules or the Local Rules,

such that this Interim Order shall be immediately effective upon its entry on the docket of the

United States Bankruptcy Court for the District of Delaware (the “Court”); and

               (xi)     Granting related relief.

       The Court having considered the DIP Motion, the Declaration of Curtis G. Solsvig III in

Support of Debtor’s Chapter 11 Petitions and Requests for First Day Relief (the “First Day

Declaration”), the exhibits attached thereto, the DIP Credit Agreement, and the evidence

submitted or adduced and the arguments of counsel made at the hearing on this Interim Order (the

“Interim Hearing”); and notice of the DIP Motion and the Interim Hearing having been given in

accordance with Bankruptcy Rules 2002, 4001(b), (c) and (d), and 9014; and the Interim Hearing

having been held and concluded; and it appearing that granting the relief requested in the DIP

Motion on an interim basis is necessary to avoid immediate and irreparable harm to the Debtor

pending the Final Hearing, and is otherwise fair and reasonable and in the best interests of the

Debtor, its estate and its creditors, and is essential for the preservation of the value of the Debtor’s

assets; and all objections, if any, to the entry of this Interim Order having been withdrawn,




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resolved or overruled by the Court; and after due deliberation and consideration, and good and

sufficient cause appearing therefor:

          IT IS FOUND AND DETERMINED that3:

          A.        Disposition. The DIP Motion is granted on an interim basis in accordance with the

terms of this Interim Order. Any objections, reservations of rights, and/or other statements with

respect to the DIP Motion with respect to the entry of this Interim Order that have not been

withdrawn, waived, or settled are hereby denied and overruled on the merits.

          B.        Commencement of Chapter 11 Case. On September 4, 2019 (the “Petition

Date”), the Debtor filed a voluntary petition under chapter 11 of the Bankruptcy Code with this

Court. The Debtor is continuing to operate its business as a debtor and debtor in possession under

sections 1107 and 1108 of the Bankruptcy Code. No statutory committee of unsecured creditors

(the “Committee”) or chapter 11 trustee has been appointed in the Chapter 11 Case.

          C.        Jurisdiction and Venue. This Court has jurisdiction over these proceedings,

pursuant to 28 U.S.C. §§ 157(b) and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, and over the persons and property

affected hereby. Venue for the Chapter 11 Case and proceedings on the DIP Motion is proper in

this district pursuant to 28 U.S.C. §§ 1408 and 1409. Consideration of the DIP Motion constitutes

a core proceeding under 28 U.S.C. § 157(b)(2). This Court may enter a final order consistent with

Article III of the United States Constitution.

          D.        Notice. Notice of the Interim Hearing and the DIP Motion has been provided by the

Debtor to (i) the Office of the United States Trustee for the District of Delaware (the “U.S.


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  The findings and conclusions set forth herein constitute the court’s findings of fact and conclusions of law pursuant to Bankruptcy
Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent that any of the following findings
of fact constitute conclusions of law, they are adopted as such. To the extent any of the following conclusions of law constitute
findings of fact, they are adopted as such.


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Trustee”), (ii) the United States Securities and Exchange Commission, (iii) the Office of the

United States Attorney for the District of Delaware, (iv) the Internal Revenue Service, (v) the

Delaware Secretary of State, (vi) the Debtor’s thirty (30) largest unsecured creditors (excluding

insiders), (vii) counsel to the DIP Lender, (viii) counsel to the Participants, (ix) all other known

holders of prepetition liens, encumbrances or security interests against the Debtor’s property, (x)

any party that has requested notice pursuant to Bankruptcy Rule 2002; and (xi) any other party

required to be provided notice under Local Rule 9013-l(m). Under the circumstances, such notice

of the Interim Hearing and the DIP Motion constitutes adequate and sufficient notice and complies

with section 102(1) of the Bankruptcy Code, Bankruptcy Rules 2002 and 4001(b), (c), and (d), and

the Local Rules.

       E.      Debtor’s Stipulations. After consultation with its attorneys and professional

advisors, and without prejudice to the rights of parties-in-interest as set forth in paragraph 23

herein, the Debtor, on its behalf and on behalf of its estate, admits, stipulates, acknowledges, and

agrees as follows:

               (i)     Prepetition Term Loan. As of the Petition Date, pursuant to that certain

Loan and Security Agreement dated as of February 24, 2017 between the Debtor and Silicon

Valley Bank (the “Prepetition Lender”) (as amended, supplemented, or otherwise modified, the

“Prepetition Loan Agreement” and, together with all other agreements, documents and

instruments executed and/or delivered in connection therewith, as all of the same have been

amended, supplemented, or otherwise modified at any time prior to the Petition Date, the

“Prepetition Loan Documents”), the Debtor was indebted and liable, without defense,

counterclaim, or offset of any kind, to the Prepetition Lender in the aggregate principal amount of

not less than $5,830,000 (the “Prepetition Facility”). All obligations of the Debtor arising under




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the Prepetition Loan Agreement or any other Prepetition Loan Documents, including under the

Prepetition Facility, shall hereinafter be referred to collectively as the “Prepetition Loan

Obligations”.

                (ii)    Prepetition Liens.    As set forth more fully in the Prepetition Loan

Agreement and the DIP Motion, prior to the Petition Date, to secure the Prepetition Loan

Obligations, the Debtor granted to the Prepetition Lender first priority liens (the “Prepetition

Liens”) on substantially all of the Debtor’s assets, including, but not limited to, all goods,

accounts, equipment, inventory, proceeds of intellectual property, contract rights, leases, general

intangibles, commercial tort claims, cash, deposit accounts and letters of credit (collectively, the

“Prepetition Collateral”).

                (iii)   The Debtor acknowledges that as of the Petition Date, the Prepetition Liens

on the Prepetition Collateral were valid, binding, enforceable, non-avoidable, and properly

perfected and were granted to, or for the benefit of, the Prepetition Lender for fair consideration

and reasonably equivalent value, (b) the Prepetition Liens were senior in priority over any and all

other liens on the Prepetition Collateral, subject only to certain liens senior by operation of law

(including any that are perfected subsequent to the Petition Date as permitted by section 546(b) of

the Bankruptcy Code) or otherwise permitted by the Prepetition Loan Agreement (solely to the

extent any such permitted liens were valid, properly perfected, non-avoidable, and senior in

priority to the Prepetition Liens as of the Petition Date, the “Permitted Prior Liens”), (c) the

Prepetition Loan Obligations constitute legal, valid, binding, and non-avoidable obligations of the

Debtor enforceable in accordance with the terms of the Prepetition Loan Agreement, (d) no

offsets, recoupments, challenges, objections, defenses, claims, or counterclaims of any kind or

nature to any of the Prepetition Liens or Prepetition Loan Obligations exist, and no portion of the




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Prepetition Liens or Prepetition Loan Obligations is subject to any challenge or defense including

avoidance, disallowance, disgorgement, recharacterization, or subordination (equitable or

otherwise) pursuant to the Bankruptcy Code or applicable non-bankruptcy law, (e) the Debtor and

its estate has no claims, objections, challenges, causes of action, and/or choses in action, including

avoidance claims under Chapter 5 of the Bankruptcy Code or applicable state law equivalents or

actions for recovery or disgorgement, against any the Prepetition Lender or any of its affiliates,

agents, attorneys, advisors, professionals, officers, directors, and employees arising out of, based

upon or related to the Prepetition Facility, (f) the Debtor has waived, discharged, and released any

right to challenge any of the Prepetition Loan Obligations, the priority of the Debtor’s obligations

thereunder, and the validity, extent, and priority of the liens securing the Prepetition Loan

Obligations, and (g) the Prepetition Loan Obligations constitute allowed, secured claims within

the meaning of sections 502 and 506 of the Bankruptcy Code.

               (iv)    Release. Subject to entry of the Final Order, the Debtor hereby stipulates

and agrees that it forever, unconditionally and irrevocably releases, discharges and acquits the

Prepetition Lender and the DIP Financing Parties and each of their respective successors, assigns,

affiliates, subsidiaries, parents, officers, shareholders, directors, employees, attorneys, and agents,

past, present, and future, and their respective heirs, predecessors, successors, and assigns

(collectively, the “Releasees”) of and from any and all claims, controversies, disputes, liabilities,

obligations, demands, damages, expenses (including, without limitation, reasonable attorneys’

fees), debts, liens, actions, and causes of action of any and every kind whatsoever, whether arising

in law or otherwise, and whether or not known or matured, arising out of or relating to, as

applicable, the DIP Financing, the DIP Financing Documents, the Prepetition Facility, and the

Prepetition Loan Documents, and/or the transactions contemplated hereunder or thereunder




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including, without limitation, (x) any so-called “lender liability” or equitable subordination claims

or defenses, (y) any and all claims and causes of action arising under the Bankruptcy Code, and (z)

any and all claims and causes of action with respect to the validity, priority, perfection or

avoidability of the liens or claims of the DIP Lender and the Prepetition Lender; provided that the

forgoing shall not release any claims against a Releasee that a court of competent jurisdiction

determines results from the bad faith, gross negligence, or willful misconduct of such Releasee.

The Debtor further waives and releases any defense, right of counterclaim, right of set-off, or

deduction to the payment of the Prepetition Loan Obligations and the DIP Obligations, which the

Debtor now has or may claim to have, directly or indirectly against the Releasees, arising out of,

connected with or relating to any and all acts, omissions, or events occurring prior to the Court

entering this Interim Order.

               (v)     No Control. Neither the DIP Financing Parties nor the Prepetition Lender

controls the Debtor or its properties or operations, has authority to determine the manner in which

any of the Debtor’s operations are conducted or is a control person or insider of the Debtor or any

of its affiliates by virtue of any of the actions taken with respect to, in connection with, related to,

or arising from this Interim Order, the DIP Financing, the DIP Financing Documents, the

Prepetition Facility, and/or the Prepetition Loan Documents.

       F.      Findings Regarding the DIP Financing.

               (i)     Cash Collateral. Any and all of the Debtor’s cash including cash and other

amounts on deposit or maintained in any account or accounts by the Debtor, whether subject to

control agreements or otherwise, and any amount generated by the collection of accounts

receivable or other disposition of the Prepetition Collateral, and the proceeds of any of the

foregoing, whether existing on the Petition Date or thereafter, constitute the cash collateral (within




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the meaning of section 363(a) of the Bankruptcy Code) of the Prepetition Lender (the “Cash

Collateral”).

                (ii)    Need for DIP Financing and to Use Cash Collateral. An immediate need

exists for the Debtor to obtain funds from the Interim DIP Loan (as defined herein) and to use Cash

Collateral in order to continue operations, fund payroll and operating expenses, and to administer

and preserve the value of its estate pending the Final Hearing. The ability of the Debtor to finance

its operations through the incurrence of the Interim DIP Loan and use of Cash Collateral is vital to

the preservation and maintenance of the going concern value of the Debtor’s estate, to maximize

the value of the Debtor’s assets for the benefit of its creditors, and to avoid immediate and

irreparable harm to the Debtor, its estate and its creditors.

                (iii)   Roll-Up of Prepetition Loan Obligations.            The replacement and

refinancing (or “roll-up”) of the Prepetition Loan Obligations as set forth in the DIP Financing

Documents is compensation for, in consideration for, and solely on account of, the agreement of

the DIP Lender (who is the Prepetition Lender) to commit to and fund the DIP Financing, and

provide other consideration to the Debtor, under the DIP Financing Documents and not as

payments under, adequate protection for, or otherwise on account of, any Prepetition Loan

Obligations. The Prepetition Lender would not otherwise consent to the use of its Cash Collateral,

and the DIP Lender would not be willing to provide the DIP Financing or extend credit to the

Debtor thereunder without the roll-up of the Prepetition Loan Obligations into the DIP Obligations

as set forth in the DIP Financing Documents. Moreover, the replacement and refinancing of the

Prepetition Facility into DIP Obligations will enable the Debtor to obtain urgently needed

financing to administer this Chapter 11 Case and fund its operations. Because the DIP Roll-Up

Loans (defined below) are subject to the reservation of rights in paragraph 23 below, they will not




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prejudice the right of any other party in interest. All security agreements in respect of the

Prepetition Loan Obligations that are refinanced shall continue in full force and effect.

               (iv)    No Credit Available on More Favorable Terms. The Debtor has

demonstrated that it has been unable to obtain (a) adequate unsecured credit allowable either (1)

under Bankruptcy Code sections 364(b) or 503(b)(1), or (2) under Bankruptcy Code section

364(c)(1), (b) adequate credit for money borrowed secured by (1) a senior lien on unencumbered

assets of its estate under Bankruptcy Code section 364(c)(2), or (2) a junior lien on encumbered

assets of its estate under Bankruptcy Code section 364(c)(3), or (c) secured credit under section

364(d)(1) of the Bankruptcy Code on more favorable terms and conditions than those provided in

the DIP Credit Agreement and this Interim Order. The Debtor has likewise demonstrated that the

only known source of secured credit available to the Debtor on commercial terms is the DIP

Financing, and it is unable to obtain credit for borrowed money without granting to the DIP Lender

the DIP Protections (as defined below).

       G.      Best Financing Presently Available. The DIP Lender will as of the Petition Date

provide the Debtor with financing solely on the terms and conditions set forth in this Interim Order

(and, subject to entry by the Court, the Final Order) and the applicable DIP Financing Documents.

After considering all of its alternatives, the Debtor has concluded, in an exercise of its sound

business judgment, that the financing to be provided by the DIP Lender pursuant to the terms of

this Interim Order (and, subject to entry by the Court, the Final Order) and the DIP Financing

Documents, represents the best financing presently available.

       H.      Good Cause for Immediate Entry. Good cause has been shown for immediate

entry of this Interim Order pursuant to Bankruptcy Rules 4001(b)(2) and (c)(2) and Local Rule

4001-2. In particular, the authorization granted herein for the Debtor to enter into the DIP




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Financing, to continue using Cash Collateral and to obtain interim financing is necessary to avoid

immediate and irreparable harm to the Debtor and its estate. Entry of this Interim Order is in the

best interest of the Debtor, its estate, and creditors. The terms of the DIP Financing are fair and

reasonable under the circumstances, reflect the Debtor’s exercise of prudent business judgment

consistent with its fiduciary duties, and are supported by reasonably equivalent value and fair

consideration.

       I.        Arm’s Length Negotiation; Good Faith. The Debtor, the DIP Financing Parties,

and the Prepetition Lender have negotiated the terms and conditions of the DIP Financing and this

Interim Order in good faith and at arm’s length, and any credit extended and loans made to the

Debtor pursuant to this Interim Order shall be, and hereby are, deemed to have been extended,

issued or made, as the case may be, in “good faith” within the meaning of section 364(e) of the

Bankruptcy Code. The DIP Financing Parties have acted in good faith and therefore are entitled to

the good faith protections under section 364(e) of the Bankruptcy Code. The DIP Lender’s claims,

superpriority claims, security interests, liens, and other protections granted pursuant to this Interim

Order (and, subject to entry by the Court, the Final Order) and the applicable DIP Financing

Documents will not be affected by any subsequent reversal, modification, vacatur, or amendment

of this Interim Order, the Final Order, or any other order, as provided in section 364(e) of the

Bankruptcy Code.

       J.        Adequate Protection. The Prepetition Lender has acted in good faith regarding

the DIP Financing and the Debtor’s continued use of the Prepetition Collateral (including the Cash

Collateral) to fund the administration of the Debtor’s estate and continued operation of its

business, in accordance with the terms hereof. The Prepetition Lender has consented to the

Debtor’s use of the Prepetition Collateral, including the Cash Collateral, in accordance with the




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terms hereof. The Prepetition Lender is entitled to adequate protection provided in this Interim

Order as and to the extent set forth herein pursuant to Bankruptcy Code sections 361, 363 and 364.

Based on the DIP Motion, the First Day Declaration and the record presented to the Court at the

Interim Hearing, as of the Petition Date the terms of the proposed adequate protection

arrangements and of the use of the Prepetition Collateral are fair and reasonable, reflect the

Debtor’s prudent exercise of business judgment and constitute reasonably equivalent value and

fair consideration for the use of Cash Collateral; provided, that nothing in this Interim Order or the

other DIP Financing Documents shall prejudice, limit, or otherwise impair the rights of the

Prepetition Lender to seek Court approval of new, different, or additional adequate protection.

       NOW, THEREFORE, based upon the foregoing findings, and upon consideration of the

DIP Motion and the record made before this Court with respect to the DIP Motion, including the

First Day Declaration and the record created during the Interim Hearing, and with the consent of

the Debtor and the DIP Financing Parties to the form and entry of this Interim Order, and good and

sufficient cause appearing therefor,

       IT IS HEREBY ORDERED AND DECREED:

       1.        Motion Granted. The DIP Motion is granted in accordance with the terms and

conditions set forth in this Interim Order and the DIP Credit Agreement. Any objections to the DIP

Motion with respect to entry of this Interim Order to the extent not withdrawn, waived or

otherwise resolved, and all reservations of rights included therein, are hereby denied and overruled

on the merits.

       2.        DIP Financing Documents.

                 (a)           Approval of Entry Into DIP Financing Documents. The DIP

Financing, including the Participations, is hereby approved. The Debtor is authorized and

empowered to execute and deliver the DIP Financing Documents and to incur and to perform the


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DIP Obligations in accordance with, and subject to, the terms of this Interim Order and the DIP

Financing Documents, and to execute and deliver all instruments and documents which may be

required or necessary for the performance by the Debtor under the DIP Financing Documents and

the creation and perfection of the DIP Liens described in and provided for by this Interim Order

and the DIP Financing Documents. The Debtor is hereby authorized to use Cash Collateral in

accordance with the terms of the DIP Financing Documents. The Debtor is hereby authorized to

do and perform all acts, pay the principal, interest, fees, expenses, indemnities and other amounts

described in the DIP Credit Agreement and all other DIP Financing Documents as such become

due.

               (b)             Interim Authorization to Borrow/and or Guarantee. To enable it

to continue to preserve the value of its estate during the period prior to entry of the Final Order (the

“Interim Period”) and subject to the terms and conditions of this Interim Order, upon the

execution of the DIP Credit Agreement and the other DIP Financing Documents, the Debtor is

hereby authorized to borrow up to a total committed amount of $3,500,000.00 under the DIP

Financing Documents (the “Interim DIP Loan”).

               (c)             Conditions Precedent. The DIP Financing Parties shall have no

obligation to make any loan or advance under the DIP Financing Documents during the Interim

Period unless the conditions precedent to making such loan under the DIP Financing Documents

have been satisfied in full or waived by the DIP Financing Parties in their sole discretion.

               (d)             DIP Liens. In order to secure the DIP Obligations, effectively

immediately upon entry of this Interim Order, pursuant to sections 361, 362, 364(c)(2), 364(c)(3),

and 364(d)(1) of the Bankruptcy Code, the DIP Lender is hereby granted continuing, valid,

binding, enforceable, non-avoidable, and automatically and properly perfected postpetition




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security interests in and liens on (collectively, the “DIP Liens”) all prepetition and postpetition

tangible and intangible property and assets, whether real or personal of the Debtor, including,

without limitation, all assets and property pledged under the DIP Financing Documents, and all

cash, any investment of such cash, inventory, accounts receivable, including intercompany

accounts (and all rights associated therewith), other rights to payment whether arising before or

after the Petition Date, contracts, contract rights, chattel paper, goods, investment property,

inventory, deposit accounts, and all amounts on deposit therein from time to time, equity interests,

securities accounts, securities entitlements, securities, Shares (as defined in the DIP Credit

Agreement), commercial tort claims and claims that may constitute commercial tort claims

(known and unknown), books, records, plants, equipment, general intangibles, documents,

instruments, interests in leases and leaseholds, interests in real property, fixtures, payment

intangibles, tax or other refunds, insurance proceeds, letters of credit, letter of credit rights,

supporting obligations, machinery and equipment, patents, copyrights, trademarks, tradenames,

other intellectual property, all licenses therefor, and all proceeds, rents, profits, products, and

substitutions, if any, of any of the foregoing (the “DIP Collateral”); provided that DIP Collateral

shall not include any Bankruptcy Recoveries (as defined herein), but, subject to entry of the Final

Order, the DIP Collateral shall include the proceeds of any Bankruptcy Recoveries.

Notwithstanding the foregoing, DIP Collateral shall not include any contract, license or

non-residential real property lease under which the granting of the DIP Liens thereon would

constitute a breach or termination thereof other than to the extent such breach or termination would

be rendered ineffective pursuant to applicable law (including applicable state law or the

Bankruptcy Code) but shall, in any event, include the proceeds of such contracts and licenses.




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“DIP Collateral” shall include the economic value of the proceeds of any sale or other disposition

of, and any other proceeds or products of DIP Collateral.

               (e)             DIP Lien Priority. Pursuant to section 364(c)(2) of the Bankruptcy

Code, subject to paragraph 2(i)(A) of this Interim Order, the DIP Liens shall be first priority

perfected security interests, liens and mortgages on, all DIP Collateral (subject only to the Carve

Out) not subject to valid, perfected, enforceable, and non-avoidable security interests, liens or

mortgages in existence on the Petition Date (it being agreed and understood that the Final Order

shall grant, to secure the DIP Obligations, a perfected security interest pursuant to this clause in

any recoveries of Debtor, by settlement or otherwise, in respect of claims and causes of action to

which Debtor may be entitled to assert by reason of any avoidance or other power vested in or on

behalf of a debtor or the estate of a debtor under chapter 5 of the Bankruptcy Code (“Bankruptcy

Recoveries”)). Pursuant to section 364(c)(3) of the Bankruptcy Code, subject to paragraph 2(i)(A)

of this Interim Order, the DIP Liens shall be junior security interests, liens and mortgages on all

DIP Collateral (including all Prepetition Collateral subject to the Prepetition Liens on the Petition

Date) that was subject to a Prior Permitted Lien in existence on the Petition Date. Other than as set

forth herein or in the DIP Financing Documents (including in paragraph 2(i)(A) of this Interim

Order), the DIP Liens shall not be made subject to or pari passu with any lien or security interest

heretofore or hereinafter granted in the Chapter 11 Case or any Successor Case, and shall be valid

and enforceable against any trustee appointed in the Chapter 11 Case or any Successor Case, upon

the conversion of the Chapter 11 Case to a case under Chapter 7 of the Bankruptcy Code (or in any

other Successor Case), and/or upon the dismissal of the Chapter 11 Case or any Successor Case.

The DIP Liens shall not be subject to section 510, 549 or 550 of the Bankruptcy Code. No lien or




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interest avoided and preserved for the benefit of the estate pursuant to section 551 of the

Bankruptcy Code shall be pari passu with or senior to the DIP Liens.

               (f)             Enforceable Obligations. The DIP Financing Documents shall

constitute and evidence the valid and binding obligations of the Debtor, which obligations shall be

enforceable against the Debtor, its estate and any successor thereto and its creditors or

representatives thereof, in accordance with their terms.

               (g)             Use of Proceeds of DIP Collateral. From and after the Petition

Date, the Debtor shall use the proceeds of the extensions of credit under the DIP Financing as set

forth in the DIP Credit Agreement, this Interim Order and the Budget (subject to any variances

thereto permitted by this Interim Order).

               (h)             Superpriority Administrative Claim Status. Upon entry of this

Interim Order, the DIP Lender is hereby granted, pursuant to section 364(c)(1) of the Bankruptcy

Code, an allowed superpriority administrative expense claim in the Chapter 11 Case and any

Successor Case (collectively, the “DIP Superpriority Claims” and, together with the DIP Liens,

the “DIP Protections”) for all DIP Obligations: (i) subject only to the Carve Out, having priority

over any and all administrative expense claims and unsecured claims against the Debtor or its

estate in the Chapter 11 Case and any Successor Case, at any time existing or arising, of any kind

or nature whatsoever, including administrative expenses of the kinds specified in or ordered

pursuant to Bankruptcy Code sections 105, 326, 328, 330, 331, 364, 503(a), 503(b), 507(a),

507(b), 546(c), 546(d), 726, 1113 and 1114, and any other provision of the Bankruptcy Code, as

provided under section 364(c)(1) of the Bankruptcy Code and (ii) which shall at all times be senior

to the rights of the Debtor and its estate, and any successor trustee or other estate representative to

the extent permitted by law.




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               (i)            Certain Rights Relating to the Participations. Notwithstanding

anything to the contrary contained in this Interim Order or the DIP Financing Documents, (A) the

terms of this Interim Order relating to the relative priorities of the Prepetition Liens and the DIP

Liens with respect to the DIP Collateral shall be subject to, and governed by, the terms of the

Participations; and (B) the terms of this Interim Order relating to the payment priority of the

Prepetition Lender and the DIP Financing Parties shall be subject to, and governed by, the terms of

the Participations (provided, for the avoidance of doubt, that any repayment of the DIP Financing

or other proceeds of DIP Collateral shall be applied first to satisfy 50% of the Prepetition Loan

Obligations (or, if the roll-up contemplated herein has occurred, 50% of the DIP Roll-Up Loans)

before any other DIP Obligations are satisfied from any such repayment or proceeds).

       3.      Authorization to Use Proceeds of DIP Financing. Pursuant to the terms and

conditions of this Interim Order, the DIP Credit Agreement and the other DIP Financing

Documents, and in accordance with the Budget and the variances thereto set forth in the DIP Credit

Agreement, the Debtor is authorized to use the advances under the DIP Credit Agreement during

the period commencing immediately after the entry of the Interim Order and terminating in

accordance with Section 13 of this Interim Order. The Debtor and the DIP Financing Parties may

agree in writing to modify the Budget in their discretion at any time that the DIP Financing

remains outstanding.

       4.      DIP Roll-Up Loans. Upon entry of the Final Order, without any further action by

the Debtor or any other party, all of the outstanding Prepetition Loan Obligations owing to the

Prepetition Lender shall constitute DIP Obligations under and as further described in the DIP

Financing Documents (the “DIP Roll-Up Loans”).




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       5.      Authorization to Use Cash Collateral. Pursuant to the terms and conditions of

this Interim Order, the DIP Credit Agreement and the other DIP Financing Documents, and in

accordance with the Budget and the variances thereto set forth in the DIP Credit Agreement, the

Debtor is authorized to use the advances under the DIP Credit Agreement during the period

commencing immediately after the entry of the Interim Order; provided, however, that during the

Remedies Notice Period (as defined herein), the Debtor may use Cash Collateral solely to meet

payroll obligations (other than severance) and pay expenses that the DIP Financing Parties

approve as critical to keeping the Debtor’s business operating in accordance with the Budget, or as

otherwise agreed by the DIP Financing Parties in their sole discretion, and the Carve Out shall be

funded following delivery of the Carve Out Notice (as defined herein) as provided in paragraph 19

of this Interim Order. Nothing in this Interim Order shall authorize the disposition of any assets of

the Debtor or its estate outside the ordinary course of business, or the Debtor’s use of any Cash

Collateral or other proceeds resulting therefrom, except as permitted in this Interim Order, the DIP

Credit Agreement and the other DIP Financing Documents, and in accordance with the Budget.

       6.      Postpetition Lien Perfection. This Interim Order shall be sufficient and

conclusive evidence of the validity, perfection, and priority of the DIP Liens without the necessity

of filing or recording any financing statement, deed of trust, mortgage, or other instrument or

document which may otherwise be required under the law of any jurisdiction or the taking of any

other action (including, for the avoidance of doubt, entering into any deposit account control

agreement) to validate or perfect the DIP Liens or to entitle the DIP Liens to the priorities granted

herein. Notwithstanding the foregoing, the DIP Lender may, in its sole discretion, file such

financing statements, mortgages, notices of liens and other similar documents, and are hereby

granted relief from the automatic stay of section 362 of the Bankruptcy Code in order to do so, and




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all such financing statements, mortgages, notices and other documents shall be deemed to have

been filed or recorded at the time and on the date of the commencement of the Chapter 11 Case.

The Debtor shall execute and deliver to the DIP Lender all such financing statements, mortgages,

notices and other documents as the DIP Lender may reasonably request to evidence, confirm,

validate or perfect, or to insure the contemplated priority of, the DIP Liens granted pursuant

hereto. The DIP Lender, in its sole discretion, may file a photocopy of this Interim Order as a

financing statement with any recording officer designated to file or record financing statements or

with any registry of deeds or similar office in any jurisdiction in which the Debtor has real or

personal property, and in such event, the recording officer shall be authorized to file or record such

copy of this Interim Order.

       7.      Adequate Protection. In addition to all the existing security interests and liens

previously granted to the Prepetition Lender, as adequate protection for, and to secure the payment

of an amount equal to the diminution of the value of the Prepetition Collateral, due to the Debtor’s

sale, use, or lease of such Prepetition Collateral, and as an inducement for the Prepetition Lender to

permit the Debtor’s use of the Cash Collateral as provided for in this Interim Order, the Prepetition

Lender is hereby granted the following adequate protection (the “Adequate Protection

Obligations”), pursuant to sections 361, 363(e), 364(d)(l), and 507 of the Bankruptcy Code:

               (a)             continuing, valid, binding, enforceable, and perfected postpetition

security interests in and liens on the DIP Collateral (the “Adequate Protection Liens”). The

Adequate Protection Liens shall be subject to the payment of the Carve Out as set forth in this

Interim Order and shall otherwise be junior to the DIP Liens. Subject to and effective upon entry

of the Final Order, the Adequate Protection Liens shall be senior to all security interests in, liens

on, or claims against any of the DIP Collateral other than the DIP Liens. Except as provided herein




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or in the DIP Credit Agreement, the Adequate Protection Liens shall not be made subject to or pari

passu with any lien or security interest heretofore or hereinafter in the Chapter 11 Case or any

Successor Case, and shall be valid and enforceable against any trustee appointed in the Chapter 11

Case or any Successor Case, or upon the dismissal of any of the Chapter 11 Case or any Successor

Case. The Adequate Protection Liens shall not be subject to sections 510, 549, or 550 of the

Bankruptcy Code. No lien or interest avoided and preserved for the benefit of the estate pursuant

to section 551 of the Bankruptcy Code shall be pari passu with or senior to the Prepetition Liens or

the Adequate Protection Liens.

               (b)             an allowed superpriority administrative expense claim in the

Chapter 11 Case and any Successor Case (the “Prepetition Superpriority Claim”). The

Prepetition Superpriority Claim shall be subject to the Carve Out as set forth in this Interim Order

and shall otherwise be junior only to the DIP Superpriority Claims. The Prepetition Superpriority

Claim shall have priority over all other administrative expense claims and unsecured claims

against the Debtor or its estate, now existing or hereafter arising, of any kind or nature whatsoever,

including administrative expenses of the kinds specified in or ordered pursuant to sections 105,

326, 328, 330, 331, 503(a), 503(b), 507(a), 506(c) (subject to entry of the Final Order), 507(b),

546(c), 546(d), 726, 1113, and 1114 of the Bankruptcy Code.

               (c)             until the roll-up contemplated herein has occurred, the Debtor is

authorized and directed to pay interest on $5,230,000 of the Prepetition Loan Obligations at a rate

per annum equal to six percent (6%), which interest shall be payable monthly in cash and

otherwise in accordance with the terms of the Prepetition Loan Documents.

               (d)             payment in cash (and as to fees and expenses, without the need for

the filing of a formal fee application) of reasonable and documented legal fees and out-of-pocket




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expenses incurred in connection with the DIP Financing, whether arising before or after the

Petition Date. The Prepetition Lender (and each of its professionals) shall not be required to

comply with U.S. Trustee fee guideline or file applications or motions with, or obtain approval of,

the Court for the payment of any of their out-of-pocket costs, fees, expenses, disbursements and

other charges.

       8.        Budget.   The budget annexed hereto as Exhibit B (as it may be updated

periodically in accordance with this Interim Order and the DIP Financing Documents, the

“Budget”), hereby is approved. Beginning on the second (2nd) Business Day of the week

following the Petition Date, and then no later than the second (2nd) Business Day of each

subsequent calendar week, the Debtor shall deliver to the DIP Financing Parties an updated,

proposed Budget (each, a “Proposed Budget”) for the following 13-week period, which shall be

in form and substance satisfactory to DIP Financing Parties and certified as complete and accurate

by a Responsible Officer (as defined in the DIP Credit Agreement) to the Responsible Officer’s

reasonable belief. A Proposed Budget shall become the new Budget upon approval by the DIP

Financing Parties (which must be in writing, including via email). If the DIP Financing Parties

reject or fail to approve a Proposed Budget, the prior approved budget shall continue in place and

shall govern and the DIP Financing Parties and the Debtor shall negotiate in good faith regarding

the terms of the Proposed Budget. The Debtor shall not permit the percentage variance with

respect to projected disbursements in each then-current Budget to exceed (a) 10% on an individual

basis of actual disbursements for a specific line item and (b) 5% on an aggregate basis of total

actual disbursements, in each case, on a cumulative four-week rolling basis; provided, that for the

first two measuring periods following the Petition Date, the percentage variance with respect to

projected disbursements in each then-current Budget shall not exceed (a) 15% on an individual




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basis of actual disbursements for a specific line item and (b) 10% on an aggregate basis of total

actual disbursements (the “Budget Variances”; all references in this Interim Order and the DIP

Financing Documents to “Budget” shall mean the Budget as it is subject to the Budget Variances).

The Debtor shall also deliver with each updated Budget a variance report reflecting on a line item

and an aggregate basis, Debtor’s actual unrestricted cash receipts and cash disbursements

compared to the Budget for such immediately preceding week and for the period commencing on

the Petition Date through and including the end of the week immediately preceding the date of the

variance report; and such variance report shall be in form and substance satisfactory to the DIP

Financing Parties and certified as complete and accurate by a Responsible Officer to the

Responsible Officer’s reasonable belief. For the avoidance of doubt, for purposes of calculating

the Budget Variances, any unused amounts set forth in the Budget for any period of determination

may be carried forward and used during subsequent periods.

       9.      Reserved.

       10.     Cash Management. The Debtor shall maintain its cash management arrangements

in a manner consistent with that described in the motion seeking entry of interim and final orders

authorizing the Debtor to maintain its existing cash management system, which orders shall be in

form and substance acceptable to the DIP Financing Parties.

       11.     Validity of DIP Financing Documents. The DIP Financing Documents shall

constitute valid and binding obligations of the Debtor, enforceable against the Debtor in

accordance with the terms thereof. No obligation, payment, transfer or grant of security under the

DIP Financing Documents as approved under this Interim Order shall be stayed, restrained,

voided, voidable, or recoverable under the Bankruptcy Code or under any applicable

non-bankruptcy law, or subject to any defense, reduction, setoff, recoupment, or counterclaim.




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       12.     Automatic Effectiveness of Liens. The automatic stay imposed under section

362(a) of the Bankruptcy Code is hereby vacated and modified to permit the Debtor to grant the

liens and security interests to the DIP Lender and the Prepetition Lender contemplated by this

Interim Order and the DIP Financing Documents.

       13.     Protection of DIP Lender’s Rights. A “Termination Event” means: (i) the

Debtor shall violate the terms of this Interim Order; (ii) the occurrence of an Event of Default (as

defined in the DIP Credit Agreement), (iii) the Maturity Date (as defined in the DIP Credit

Agreement), (iv) this Interim Order ceasing to be in full force and effect for any reason, (v) Debtor

shall file, propose, or support confirmation of a chapter 11 plan that is not reasonably acceptable to

the DIP Lender or Prepetition Lender, and (vi) the Debtor shall file, propose, or support any sale

process for, or sell, a material portion of its assets without the prior written consent of the DIP

Financing Parties, unless the proposed sale, if consummated, would pay off in full, in cash,

simultaneous with the closing of such sale any obligations owed to the DIP Financing Parties and

Prepetition Lender (each a “Termination Event”).            Upon the occurrence and during the

continuance of a Termination Event, unless such Termination Event is waived by the DIP

Financing Parties, the DIP Financing Parties may declare (a) the commitment of the DIP Financing

Parties as to the DIP Financing to be terminated, whereupon such commitments and obligation

shall be terminated; (b) all DIP Obligations immediately due and owing, without presentment,

demand, protest or other notice of any kind, all of which are hereby expressly waived by the

Debtor, whereupon all DIP Obligations shall be immediately due and payable; and (c) subject to

the Carve Out, that the Debtor shall have no right to use any proceeds of any DIP Financing, other

than towards the satisfaction of the DIP Obligations. Five (5) business after the delivery by the

DIP Financing Parties to the Debtor or its counsel (via email or otherwise) of a written notice (the




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“Remedies Notice”) of the occurrence of a Termination Event (the “Remedies Notice Period”),

the DIP Financing Parties may exercise all rights and remedies provided in this Interim Order and

the DIP Financing Documents, as applicable, with respect to the DIP Collateral; provided,

however, that during the Remedies Notice Period, the Debtor may use Cash Collateral solely to

meet payroll obligations (other than severance) and pay expenses that the DIP Financing Parties

approve as critical to keeping the Debtor’s business operating in accordance with the Budget, or as

otherwise agreed by the DIP Financing Parties in their sole discretion. Within two business days

upon the delivery of the Remedies Notice, to the extent not previously provided, the Debtor shall

provide a line-by-line itemization of the Budget to the DIP Financing Parties. The Debtor shall not

consent to relief from the automatic stay by any person other than the DIP Lender to proceed

against any DIP Collateral having a fair market value in excess of $50,000 without the express

written consent of the DIP Financing Parties.

       14.     DIP Fees and Expenses. The Debtor is authorized and directed to pay all

reasonable and documented fees and expenses of the DIP Financing Parties in connection with the

DIP Financing, whether or not the transactions contemplated hereby are consummated, whether or

not incurred prepetition or postpetition. A copy of any invoice submitted by any DIP Financing

Party to the Debtor for the foregoing purpose shall also be delivered contemporaneously to the

U.S. Trustee and counsel to the Committee, if any (each, a “Fee Notice”). The DIP Financing

Parties (and each of their professionals) shall not be required to comply with U.S. Trustee fee

guideline or file applications or motions with, or obtain approval of, the Court for the payment of

any of their out-of-pocket costs, fees, expenses, disbursements and other charges. Subject to the

U.S. Trustee or a Committee, if any, filing a written objection with this Court to any such fees and

expenses within five (5) days after receipt of a Fee Notice, the Debtor shall immediately pay such




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invoice without further notice or request by the DIP Financing Parties. To the extent a timely filed

objection is filed by the U.S. Trustee or the Committee, if any, the Debtor shall (a) pay such

portion of the fees and expenses to which no objection is interposed and (b) pay any remaining fees

and expenses as ordered by the Court (or upon withdrawal or resolution of the objection).

Payments of any amounts set forth in this paragraph are not subject to recharacterization,

avoidance, subordination or disgorgement.

       15.     Modifications of DIP Financing Documents. The Debtor and the DIP Financing

Parties are hereby authorized to implement, in accordance with the terms of the DIP Financing

Documents, any modifications of the DIP Financing Documents (other than this Interim Order)

that are not materially adverse to the Debtor’s estate or creditors without further notice, motion, or

application to, order of or hearing before, this Court. Any material modification or amendment to

the DIP Financing Documents shall only be permitted pursuant to an order of this Court (which

may be sought within (3) Business Days), provided, however, that any forbearance from, or waiver

of, (a) a breach by the Debtor of a covenant, representation or any other agreement or (b) a

Termination Event shall not require an order of this Court.

       16.     Waiver of Requirement to File Proofs of Claim. The DIP Financing Parties and

the Prepetition Lender shall not be required to file proofs of claim in the Chapter 11 Case or any

Successor Case in order to maintain their respective claims for payment of the obligations under

their respective loan documents. The statements of claim in respect of the DIP Obligations and the

Prepetition Loan Obligations set forth in this Interim Order, together with the evidence

accompanying the DIP Motion and presented at the Interim Hearing are deemed sufficient to and

do constitute proofs of claim in respect of such obligations and such secured status.




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       17.     Carve Out. Except as otherwise provided herein, the DIP Liens are subordinate

only to the payment of the following (the “Carve Out”): (i) any unpaid fees required to be paid

pursuant to Section 1930 of title 28 of the United States Code section 1930(a)(6) (the “U.S.

Trustee Fees”), together with any interest thereon pursuant to applicable law and any fees payable

to the Clerk of the Court; (ii) the fees actually earned by the Debtor’s directors on account of the

period prior to the delivery of a Carve Out Notice; (iii) until the issuance of a Carve Out Notice to

the extent provided for in the Budget and allowed at any time, all unpaid fees and expenses

allowed by the Court of professionals or professional firms retained pursuant to Section 327 or

1103, or appointed pursuant to section 363, of the Bankruptcy Code (the “Case Professionals”)

less the amount of any prepetition retainers received by such Case Professionals and not

previously returned or applied to fees and expenses; and (iv) following the delivery of a Carve Out

Notice, to the extent provided for in the Budget allowed at any time, the payment of the fees and

expenses of Professional Persons in an aggregate amount not to exceed $150,000 less the amount

of any prepetition retainers received by such Cash Professionals and not previously returned or

applied to fees and expenses (the “Residual Carve Out”). The Carve-Out excludes any fees and

expenses incurred in connection with (a) any action or inaction that is in violation of, or a default

under, any of the DIP Financing Documents or the Final Order, or (b) the assertion of or joinder in

any claim, counterclaim, action, proceeding, application, motion, objection, defenses or other

contested matter, the purpose of which is to seek any order, judgment, determination or similar

relief (x) invalidating, setting aside, avoiding, or subordinating, in whole or in part, (i) the DIP

Obligations, including, for the avoidance of doubt, pursuant to the Participations, and/or the

Prepetition Loan Obligations, (ii) the DIP Liens and/or the Prepetition Liens granted by the Debtor

under the DIP Financing Documents and the Prepetition Loan Documents, or (iii) any of the DIP




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Financing Parties’ rights under the DIP Financing Documents, including, for the avoidance of

doubt, the Participations, and/or the Prepetition Lender’s rights under the Prepetition Loan

Documents, or (y) preventing, hindering, or delaying, whether directly or indirectly, the DIP

Lender’s and/or the Prepetition Lender’s assertion or enforcement of the DIP Liens or Prepetition

Liens or realization upon any DIP Collateral or Prepetition Collateral.

       18.     The Residual Carve Out shall be reduced on a dollar-for-dollar basis by any

payments of fees or expenses of the Case Professionals made after delivery of the Carve Out

Notice in respect of fees and expenses incurred after delivery of the Carve Out Notice. For

purposes of the foregoing, “Carve Out Notice” shall mean a written notice delivered by the DIP

Lender to the Debtor and its counsel, the U.S. Trustee and lead counsel to any Committee, which

notice may be delivered at any time by the DIP Lender following the occurrence and continuance

of any Termination Event and, in any case, shall specify that it is a “Carve Out Notice.” Following

delivery of a Carve Out Notice, upon the funding of the Carve Out as of the date of the Carve Out

Notice, the DIP Financing Parties shall not have any further liability whatsoever for the Carve Out

or any subordination in respect thereof.

       19.     Carve Out Reserve. Until the Maturity Date, the Debtor shall deposit cash on a

weekly basis into an account designated by the Debtor at the DIP Lender for such purpose (the

“Carve Out Account”) in an amount equal to the “Carve Out” line item shown in the Budget for

that week. Proceeds deposited into the Carve Out Account shall be held in trust and used solely for

purposes of the Carve Out in accordance with this Interim Order and the Final Order. The funds on

deposit in the Carve Out Account shall be used to fund Carve Out expenses before any other funds

of the Debtor may be used for such purpose. Any excess cash held in the Carve Out Account that is

not used to fund Carve Out expenses in accordance with this Interim Order and Final Order, as




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applicable, shall be remitted to the DIP Lender and distributed in accordance with the priorities set

forth in the DIP Financing Documents (including, for the avoidance of doubt, the Participations).

The DIP Lender and the Prepetition Lender shall each have a security interest in any residual

interest in the Carve Out Account. The delivery of the Carve Out Notice shall (i) require the Debtor

to utilize all available cash held by the Debtor to fund any deficit in the Carve Out Reserve in an

amount equal to the difference between the Carve Out Reserve balance and the amount anticipated

to be needed to fully fund the Carve Out (the “Carve Out Reserve Deficit”), and (ii) only to the

extent such cash on hand is insufficient for the foregoing purpose, be deemed a draw request and

notice of borrowing by the Debtor for DIP Loans (as defined in the DIP Financing Documents)

under the available commitments under the DIP Financing, in an amount equal to the Carve Out

Reserve Deficit (any such amounts actually advanced shall constitute DIP Loans), which amounts

will be funded by the DIP Lender within two business days.

       20.     A “Termination Event” shall occur if the Debtor investigates, asserts, or prosecutes

(a) any claims or causes of action against any of the DIP Financing Parties arising under or related

to the DIP Financing Documents, including, for the avoidance of doubt, the Participations, the

Prepetition Loan Obligations, or any other financing provided to the Debtor by the Prepetition

Lender, or the liens or security interests securing the obligations under any of the foregoing or to

pursue a Challenge (as defined in this Interim Order); or (b) any Challenge or raise any defenses to

the Prepetition Loan Obligations or the DIP Obligations. No portion of the DIP Financing, the DIP

Collateral (including the Prepetition Collateral and the Cash Collateral), the Carve Out, or any

disbursements set forth in the Budget, shall be used for the payment of professional fees,

disbursements, costs, or expenses incurred by any party in interest in connection with the

foregoing (a) and (b) of this paragraph; provided that not more than $25,000 in the aggregate of




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proceeds of any Cash Collateral or any proceeds of the DIP Financing or the DIP Collateral may be

used to pay any allowed fees of the Committee, if any, or professionals retained by the Committee

and incurred in connection with investigating the matters covered by the stipulations contained in

recital Paragraph E of this Interim Order (the “Investigation Budget”).

        21.    Nothing herein shall be construed to obligate the DIP Financing Parties to pay any

professional fees or to assure that a Debtor has sufficient funds on hand to pay any professional

fees.

        22.    Payment of Compensation. Nothing herein shall be construed as consent to the

allowance of any professional fees or expenses of any of the Debtor or the Committee or shall

affect the right of the DIP Financing Parties to object to the allowance and payment of such fees

and expenses or to permit the Debtor to pay any such amounts not set forth in the Budget.

        23.    Effect of Stipulations.

               (a)             Generally. The admissions, stipulations, agreements, releases, and

waivers set forth in Paragraph E of this Interim Order (collectively, the “Prepetition Lien and

Claim Stipulations”) are and shall be binding on the Debtor. In addition, the Prepetition Lien and

Claim Stipulations shall be binding on any subsequent trustee, responsible person, examiner with

expanded powers, any other estate representative, and all creditors and parties in interest and all of

their successors in interest and assigns, including a Committee (if appointed), unless, and solely to

the extent that, a party in interest with standing and requisite authority (other than the Debtor, as to

which any Challenge (as defined below) is irrevocably waived and relinquished) (i) has timely

filed the appropriate pleadings, and timely commenced the appropriate proceeding required under

the Bankruptcy Code and Bankruptcy Rules, including as required pursuant to Part VII of the

Bankruptcy Rules (in each case subject to the limitations set forth in this paragraph) challenging




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the Prepetition Lien and Claim Stipulations (each such proceeding or appropriate pleading

commencing a proceeding or other contested matter, a “Challenge”) by no later than (a) 60 days

from the date of formation of a Committee (if appointed) or (b) 75 days following the entry of the

Interim Order for any other party in interest with requisite standing (the “Challenge Deadline”),

as such applicable date may be extended in writing from time to time in the sole discretion of the

Prepetition Lender, and (ii) this Court enters judgment in favor of the plaintiff or movant in any

such timely and properly commenced Challenge proceeding and any such judgment has become a

final judgment that is not subject to any further review or appeal. Notwithstanding the foregoing,

if a chapter 11 trustee is appointed or the Chapter 11 Case is converted to chapter 7 prior to the

expiration of the Challenge Deadline, (1) the chapter 11 trustee or chapter 7 trustee, as applicable,

shall have until the later of the Challenge Deadline or the tenth (10th) day after the appointment of

the chapter 11 trustee or the conversion of the Chapter 11 Case to chapter 7, as applicable, to

commence a Challenge, subject to any further extension by order of the Court for cause and (2) if

the Committee has asserted a Challenge prior to the Challenge Deadline, the chapter 11 trustee or

chapter 7 trustee will stand in the shoes of the Committee in such Challenge.

               (b)             Binding Effect. To the extent no Challenge is timely and properly

commenced by the Challenge Deadline, or to the extent such proceeding does not result in a final

and non-appealable judgment or order of this Court that is inconsistent with the Prepetition Lien

and Claim Stipulations, then, without further notice, motion, or application to, order of, or hearing

before, this Court and without the need or requirement to file any proof of claim, the Prepetition

Lien and Claim Stipulations shall, pursuant to this Interim Order, become binding, conclusive, and

final on any person, entity, or party in interest in the Chapter 11 Case, and their successors and

assigns, and in any Successor Case for all purposes and shall not be subject to challenge or




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objection by any party in interest, including a trustee, responsible individual, examiner with

expanded powers, or other representative of the Debtor’s estate. Notwithstanding anything to the

contrary herein, if any such proceeding is properly and timely commenced, the Prepetition Lien

and Claim Stipulations shall nonetheless remain binding on all other parties in interest and

preclusive as provided in subparagraph (a) above except to the extent that any of such Prepetition

Lien and Claim Stipulations is expressly the subject of a timely and properly filed Challenge,

which Challenge is successful as set forth in a final judgment as provided in subparagraph (a)

above. To the extent any such Challenge proceeding is timely and properly commenced, the

Prepetition Lender shall be entitled to payment of the related costs and expenses, including, but not

limited to, reasonable attorneys’ fees, incurred under the Prepetition Documents in defending

themselves in any such proceeding as adequate protection. If any such Challenge is timely

commenced and/or sustained, the stipulations contained in recital Paragraph E shall nonetheless

remain binding on the Debtor’s estate, any Committee and all parties in interest, except to the

extent that such stipulations were expressly challenged in such Challenge. Nothing in this Interim

Order vests or confers on any person (as defined in the Bankruptcy Code), including any

committee appointed or formed in the Chapter 11 Case, standing or authority to pursue any cause

of action belonging to the Debtor or its estate, including, without limitation, any Challenges,

without prior express Court approval.

       24.     Limitation on Charging Expenses Against Collateral. Subject to entry of the

Final Order, (i) no costs or expenses of administration of this Chapter 11 Case, a Successor Case or

any other future proceeding that may result therefrom, including liquidation in bankruptcy or other

proceedings under the Bankruptcy Code shall be charged against or recovered from the DIP

Collateral or the Prepetition Collateral pursuant to section 506(c) of the Bankruptcy Code or any




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similar principle of law or equity and (ii) the Debtor (and any successor thereto, including any

representatives thereof, including any trustee appointed in this Chapter 11 Case or any Successor

Case) shall be deemed to have waived any rights, benefits or causes of action under section 506( c)

of the Bankruptcy Code as they may related to or be asserted against the DIP Lender, the

Prepetition Lender, the DIP Collateral or the Prepetition Collateral. Nothing contained in this

Interim Order, shall be deemed a consent by the DIP Lender or the Prepetition Lender to any

charge, lien, assessment or claim against, or in respect of, the DIP Collateral or the Prepetition

Collateral under 506(c) of the Bankruptcy Code or otherwise.

       25.     Payments Free and Clear. Any and all payments or proceeds remitted to the DIP

Financing Parties or the Prepetition Lender pursuant to the provisions of this Interim Order or any

subsequent order of the Court shall be irrevocable, received free and clear of any claim, charge,

assessment or other liability, including without limitation, subject to the entry of the Final Order,

any such claim or charge arising out of or based on, directly or indirectly, section 506(c) (whether

asserted or assessed by, through or on behalf of the Debtor) or 552(b) of the Bankruptcy Code, and

solely in the case of payments made or proceeds remitted after the delivery of a Carve Out Notice,

subject to the Carve Out in all respects. No payments authorized by this Interim Order shall be

subject to recharacterization, avoidance, subordination or disgorgement.

       26.     No Marshaling / Applications of Proceeds. Subject to entry of the Final Order,

the DIP Lender and the Prepetition Lender shall not be subject to the equitable doctrine of

‘marshaling’ or any other similar doctrine with respect to any of the DIP Collateral or the

Prepetition Collateral, as the case may be, and proceeds shall be received and applied pursuant to

this Interim Order and the DIP Financing Documents notwithstanding any other agreement or

provision to the contrary.




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       27.     Section 552(b). Subject to entry of the Final Order, the DIP Lender and the

Prepetition Lender shall each be entitled to all of the rights and benefits of section 552(b) of the

Bankruptcy Code, and the “equities of the case” exception under section 552(b) of the Bankruptcy

Code shall not apply to the DIP Lender or the Prepetition Lender in any respect.

       28.     Limitation of Liability. Nothing in this Interim Order, the DIP Financing

Documents, or the Prepetition Loan Documents shall in any way be construed or interpreted to

impose or allow the imposition upon the DIP Financing Parties or the Prepetition Lender, or any of

their successors or predecessors, of any liability for any claims arising from the prepetition or

postpetition activities of the Debtor or any affiliate of the Debtor.

       29.     Indemnification. The Debtor shall indemnify and hold harmless the DIP

Financing Parties and their respective successors, assigns, affiliates, parents, subsidiaries, partners,

controlling persons, representatives, agents, attorneys, advisors, financial advisors, consultants,

professionals, officers, directors, members, managers, shareholders and employees, past, present

and future, and their respective heirs, predecessors, successors and assigns, in accordance with the

DIP Financing Documents, which indemnification is hereby authorized and approved.

       30.     Credit Bidding. Subject to entry of the Final Order, the DIP Lender and the

Prepetition Lender shall have the unqualified right to credit bid (i) up to the full amount of their

respective obligations in any sale of the DIP Collateral (or any part thereof), (ii) with respect to the

Prepetition Lender, any Prepetition Loan Obligations or the Adequate Protection Claim, and (iii)

any unpaid amounts due and owing to the DIP Lender or the Prepetition Lender under this Interim

Order, without the need for further Court order authorizing the same, and whether such sale is

effectuated through section 363 or 1129 of the Bankruptcy Code, by a chapter 7 trustee under




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section 725 of the Bankruptcy Code, or otherwise; provided, however, that the rights of the

Participants to credit bid shall be governed by, and subject to, the terms of the Participations.

       31.     Monitoring of Collateral. During normal business hours and after advanced

written notice to the Debtor’s counsel (email shall suffice), the Prepetition Lender and the DIP

Financing Parties, and their representatives, consultants and advisors, shall be given reasonable

access to the Debtor’s books, records, assets and properties for purposes of monitoring the

Debtor’s business and the value of the DIP Collateral.

       32.     No Third Party Rights. This Interim Order does not create any rights for the

benefit of any party, creditor, equity holder or other entity other than the DIP Financing Parties, the

Prepetition Lender, and the Debtor, and their respective successors and assigns.

       33.     Rights Preserved. Notwithstanding anything herein to the contrary, the entry of

this Interim Order is without prejudice to, and does not constitute a waiver of, expressly or

implicitly the DIP Financing Parties’ or the Prepetition Lender’s right to seek any other or

supplemental relief in respect of the Debtor, including the right to seek new, different or additional

adequate protection, as applicable. Nothing contained in this Interim Order shall be deemed a

finding by the Court or an acknowledgement by the Prepetition Lender that the adequate

protection granted in this Interim Order does in fact adequately protect the Prepetition Lender

against any diminution in value of the Prepetition Collateral.

       34.     Protection under Section 364(e) of the Bankruptcy Code. If any or all of the

provisions of this Interim Order are hereafter reversed, modified, vacated or stayed, such reversal,

modification, vacation or stay shall not affect (i) the validity of any DIP Obligations or Adequate

Protection Obligations owing to the DIP Financing Parties or the Prepetition Lender, as applicable,

incurred prior to the actual receipt by such entities of written notice of the effective date of such




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reversal, modification, vacation or stay, or (ii) the validity or enforceability of any claim, lien,

security interest or priority authorized or created hereby or pursuant to the DIP Financing

Documents with respect to any DIP Obligations or Adequate Protection Obligations owing to the

DIP Financing Parties or the Prepetition Lender, as applicable. Notwithstanding any such reversal,

modification, vacation or stay, any use of Cash Collateral or the incurrence of DIP Obligations or

Adequate Protection Obligations owing to the Prepetition Lender by the Debtor prior to the actual

receipt by the Prepetition Lender of written notice of the effective date of such reversal,

modification, vacation or stay, shall be governed in all respects by the provisions of this Interim

Order, and the Prepetition Lender shall be entitled to all of the rights, remedies, protections and

benefits granted under section 364(e) of the Bankruptcy Code, this Interim Order and the other

DIP Financing Documents with respect to all uses of Cash Collateral and the incurrence of DIP

Obligations and Adequate Protection Obligations owing to the Prepetition Lender.

       35.     Binding Nature of Order. The provisions of this Interim Order shall be binding

upon the Debtor and its successors and assigns (including, without limitation, any trustee or other

fiduciary hereafter elected or appointed for or on behalf of the Debtor’s estate or with respect to its

property).

       36.     Survival of Order. Solely with respect to the DIP Financing Parties and the

Prepetition Lender, the provisions of this Interim Order and any actions taken pursuant hereto (a)

shall survive the entry of any order: (i) confirming any plan of restructuring in the Chapter 11

Case; (ii) converting the Chapter 11 Case to a case under Chapter 7 of the Bankruptcy Code; or (iii)

dismissing the Chapter 11 Case; and (b) shall continue in full force and effect notwithstanding the

entry of any such order, and the claims, liens, and security interests granted pursuant to this Interim

Order shall maintain their priority as provided by this Interim Order until (x) all of the DIP




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Obligations are indefeasibly paid or otherwise satisfied in full and discharged in accordance with

the DIP Financing Documents and (y) the obligations owed to the Prepetition Lender are paid or

otherwise satisfied in full. The DIP Obligations shall not be discharged by the entry of any order

confirming any plan in the Chapter 11 Case that does not provide for payment in full of the DIP

Obligations or such other treatment of the DIP Obligations as may be agreed to by the DIP

Financing Parties.

       37.     Priority of Terms. To the extent of any conflict between or among the DIP

Motion, the DIP Financing Documents, the terms of any “first day” or “second day” orders

(including any provisions contained in such orders authorizing the Debtor to make any payments),

and this Interim Order, the terms and provisions of this Interim Order (including the provisions

hereof relating to the Budget) shall govern.

       38.     Disposition of Collateral. The Debtor shall not sell, transfer, lease, encumber or

otherwise dispose of any portion of the DIP Collateral, without the prior written consent of the DIP

Financing Parties (and no such consent shall be implied, from any other action, inaction or

acquiescence by the DIP Financing Parties or an order of this Court), except as provided in the DIP

Credit Agreement and this Interim Order and approved by the Court to the extent required under

applicable bankruptcy law.

       39.     No Waivers or Modification of Interim Order. The Debtor irrevocably waives

any right to seek any modification or extension of this Interim Order without the prior written

consent of the DIP Financing Parties and no such consent shall be implied by any other action,

inaction or acquiescence of the DIP Financing Parties.




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       40.     Final Hearing.

               (a)     The Final Hearing to consider entry of the Final Order and final approval of

the DIP Financing is scheduled for _____________, 2019 at __:__ _.m. prevailing Eastern time at

the United States Bankruptcy Court for the District of Delaware. If no objections to the relief

sought in the Final Hearing are filed and served in accordance with this Interim Order, no Final

Hearing may be held, and a separate Final Order may be presented by the Debtor and entered by

this Court.

               (b)             Within two (2) business days following entry of this Interim Order,

the Debtor shall serve, by United States mail, first-class postage prepaid, notice of the entry of this

Interim Order and of the Final Hearing (the “Final Hearing Notice”), together with copies of this

Interim Order and the DIP Motion, on: (i) the parties having been given notice of the Interim

Hearing, (ii) any party which has filed prior to such date a request for notices with this Court, (iii)

counsel for the Committee, if any, (iv) the U.S. Trustee, (v) the Internal Revenue Service, (vi)

counsel to the DIP Lender, (vii) counsel to the Participants, and (viii) the Securities and Exchange

Commission. The Final Hearing Notice shall state that any party in interest objecting to the entry

of the proposed Final Order shall file written objections with the Clerk of the Court no later than

_______________, 2019 at 4:00 p.m. prevailing Eastern time which objections shall be served so

that the same are received on or before such date by: (i) bankruptcy counsel for the Debtor, Young

Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, DE

19801, Attn: Michael R. Nestor, Esq. and Joseph Barry, Esq., (ii) counsel for the DIP Lender,

Morrison & Foerster LLP, 200 Clarendon St., Boston, MA 02116, Attn: Alexander Rheaume,

Esq., and Morrison & Foerster LLP, 250 West 55th Street, New York, NY 10019, Attn: Todd M.

Goren Esq. and Benjamin W. Butterfield, Esq., (iii) counsel to the Participants, Gibson, Dunn &




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Crutcher LLP, 200 Park Avenue, New York, NY 10166, Attn: Matthew J. Williams, Esq., J. Eric

Wise, Esq., and Jason Zachary Goldstein, Esq., (iv) counsel to the Committee, and (v) the U.S.

Trustee, Attn: Jane Leamy, Esq. and shall be filed with the Clerk of the Court, in each case to allow

actual receipt of the foregoing no later than _____________, 2019, at 4:00 p.m. prevailing Eastern

time. Notwithstanding the terms of this Interim Order, this Court is not precluded from entering a

Final Order containing provisions that are inconsistent with, or contrary to any of the terms in this

Interim Order, subject to the protections under Section 364(e) and the rights of the DIP Financing

Parties to terminate the DIP Credit Agreement if such Final Order is not acceptable to them. In the

event this Court modifies any of the provisions of this Interim Order or the DIP Financing

Documents following such further hearing, such modifications shall not affect the rights and

priorities of the DIP Financing Parties pursuant to this Interim Order with respect to the DIP

Collateral, and any portion of the DIP Obligations which arises or is incurred, advanced or paid

prior to such modifications (or otherwise arising prior to such modifications), and this Interim

Order shall remain in full force and effect except as specifically amended or modified at such Final

Hearing.

               (c)             Nunc Pro Tunc Effect of this Interim Order. This Interim Order

shall constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall

take effect and be enforceable nunc pro tunc to the Petition Date immediately upon execution

thereof.

               (d)     Retention of Jurisdiction. The Court has and will retain jurisdiction to

enforce this Interim Order and over all matters, including, without limitation, disputes, relating to

the DIP Financing Documents, including, for the avoidance of doubt, the Participations.


Dated:                              , 2019
           Wilmington, Delaware                        United States Bankruptcy Judge


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                         Exhibit A

                    DIP Credit Agreement
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         SENIOR SECURED, SUPER PRIORITY DEBTOR IN POSSESSION TERM LOAN AND
                                SECURITY AGREEMENT

                THIS SENIOR SECURED, SUPER PRIORITY DEBTOR IN POSSESSION
         TERM LOAN AND SECURITY AGREEMENT (this “Agreement”) dated as of September [
         ], 2019, between Silicon Valley Bank, a California corporation (“Bank”), and UBIOME, INC.,
         a Delaware corporation and a debtor and debtor in possession (the “Borrower” or “Debtor”;
         each of Bank and Borrower, a “Party” and, together, the “Parties”), provides the terms on
         which Bank shall lend to Borrower and Borrower shall repay Bank.

                                                 WITNESSETH:

                 WHEREAS, on September 4, 2019 (the “Petition Date”), Debtor filed a voluntary
         petition with the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
         Court”) initiating its pending case under Chapter 11 of the Bankruptcy Code (the “Bankruptcy
         Case”) and has continued in the possession of its assets and in the management of its business
         pursuant to Sections 1107 and 1108 of the Bankruptcy Code;

                WHEREAS, Debtor has requested that Bank provide up to an aggregate amount of
         $13,830,000.00 in a multiple-draw, non-amortizing term loan facility pursuant to a senior
         secured, super priority, debtor in possession term loan agreement;

                WHEREAS, Bank has agreed to provide such loans on the terms and the conditions
         contained in this Agreement;

                 WHEREAS, Bank has agreed to sell an interest in such loans and commitments to the
         Participant and the Participant has agreed to assume the funding obligations under the
         Participation Agreement; and

                WHEREAS, Borrower has agreed to secure all of its Obligations under the Loan
         Documents by granting to Bank a security interest in and lien upon all of its existing and after-
         acquired personal and real property (subject to the limitations contained in the Loan Documents
         and the Financing Order, as applicable).

                NOW, THEREFORE, in consideration of the premises and the agreements, provisions
         and covenants contained herein and for other good and valuable consideration, the Parties hereto
         hereby agree as stated above and as follows:

         1      ACCOUNTING AND OTHER TERMS

                Accounting terms not defined in this Agreement shall be construed following GAAP.
         Calculations and determinations must be made following GAAP. Capitalized terms not
         otherwise defined in this Agreement shall have the meanings set forth in Section 13. All other
         terms contained in this Agreement, unless otherwise indicated, shall have the meanings provided
         by the Code to the extent such terms are defined therein.


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         2      LOAN AND TERMS OF PAYMENT

                2.1     Promise to Pay. Borrower hereby unconditionally promises to pay Bank the
         outstanding principal amount of all DIP Advances and accrued and unpaid interest thereon and
         any other Obligations, in each case, as and when due in accordance with this Agreement and the
         other Loan Documents and, in any event in full no later than the Maturity Date.

                2.1.1     DIP Advances.

                       (a)     Availability. Subject to the terms and conditions of this Agreement and to
         the Budget (subject to the Variance), Bank agrees to make advances to Borrower (each, a “DIP
         Advance” and, collectively, the “DIP Advances”), on any Funding Date, in an aggregate
         amount not to exceed the DIP Commitment as follows:

                                (i)     Three Million Five Hundred Thousand Dollars ($3,500,000.00) of
         the DIP Commitment (the “Initial DIP Advance”) shall be available within one (1) Business
         Day of the entry of the Interim Order;

                                (ii)   One Million Five Hundred Thousand Dollars ($1,500,000.00) plus
         the Final Roll-Up Amount of the DIP Commitment (the “Second DIP Advance”) shall be
         available within three (3) Business Days of the entry of the Final Order; and

                              (iii) Up to Three Million Dollars ($3,000,000) (the “Third DIP
         Advance”), which DIP Advance is uncommitted and shall be made solely to the extent that
         Borrower elects to make an Extension Request and delivers the Sale LOI and Bank approves the
         making of the Third DIP Advance.

         Borrower acknowledges and agrees that Bank shall have no obligation or liability to fund any
         DIP Advance or portion thereof that is subject to a Participation.

                        (b)     Interest Payments in respect of DIP Advances. For each DIP Advance,
         Borrower shall make monthly cash payments in arrears in respect of accrued and unpaid interest
         commencing on the first (1st) Business Day of the first (1st) month following the month in which
         the Funding Date occurs with respect to such DIP Advance and continuing thereafter on the first
         (1st) Business Day of each successive month. In addition, the accrued and unpaid interest due
         under this Agreement shall be payable in arrears, (x) simultaneously with repayment or
         prepayment of any DIP Advances (on the principal amount of DIP Advances so repaid or
         prepaid) and (y) on the Maturity Date.

                        (c)     Voluntary Prepayment. Borrower shall have the option to prepay, without
         premium or penalty, all DIP Advances in full, provided Borrower (i) shall provide written notice
         to Bank of its election to prepay the DIP Advances at least ten (10) Business Days prior to such
         prepayment and (ii) pays, on the date of such prepayment, (A) all outstanding principal and
         accrued but unpaid interest, plus (B) all other sums, including Bank Expenses, if any, that shall
         have become due and payable.

                          (d)   Mandatory Prepayments.

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                                  (i)    If the DIP Advances are accelerated following the occurrence and
         during the continuance of an Event of Default, Borrower shall immediately pay to Bank an
         amount equal to the sum of (i) all outstanding principal and accrued but unpaid interest, plus
         (ii) all other sums, including Bank Expenses, if any, that shall have become due and payable.

                             (ii)    If at any time the aggregate outstanding principal amount of the
         DIP Advances exceeds the DIP Commitment, within one (1) Business Day of notice thereof
         from Bank, Borrower shall pay to Bank the amount of such excess.

                                (iii) Within two (2) Business Days of receipt of Net Asset Sale
         Proceeds from any Transfer by Debtor or any Subsidiary of Debtor, Borrower shall deliver, or
         cause to be delivered, 100% of such Net Asset Sale Proceeds to Bank to the extent necessary to
         prepay the DIP Advances.

                               (iv)    If Debtor or any Subsidiary of Debtor shall at any time or from
         time to time suffer an Event of Loss, within two (2) Business Days upon receipt of net cash
         proceeds from such Event of Loss, Borrower shall deliver, or cause to be delivered, 100% of the
         received net cash proceeds to Bank to the extent necessary to prepay the DIP Advances.

                        (e)    Borrowing Requests. Upon and subject to the entry of the Interim Order,
         the Final Order, as applicable, and the prior satisfaction of all other applicable conditions to the
         making of a DIP Advance set forth in this Agreement, to obtain a DIP Advance, Borrower shall
         notify Bank (which notice shall be irrevocable) by electronic mail, facsimile, or telephone by
         12:00 p.m. Pacific time at least three (3) Business Days prior to the proposed Funding Date of
         the DIP Advance, provided that Borrower may notify Bank at least one (1) Business Day prior to
         the Funding Date of the Initial DIP Advance. Together with any such electronic or facsimile
         notification, Borrower shall deliver to Bank by electronic mail or facsimile a completed
         Payment/Advance Form executed by an Authorized Signer. Bank may rely on any telephone
         notice given by a person whom Bank reasonably believes is an Authorized Signer. Bank shall
         credit the DIP Advances to the Designated Deposit Account. Bank may make DIP Advances
         under this Agreement based on instructions from an Authorized Signer or without instructions if
         the DIP Advance s are necessary to meet Obligations which have become due. Borrower shall
         be permitted to make up to one (1) request for a DIP Advance in any consecutive two (2) week
         period. Notwithstanding anything herein to the contrary, the Final Roll-Up Amount shall be
         incurred hereunder automatically with the entry of the Final Order, as provided therein and no
         Payment/Advance Form or other administrative requirements shall apply to the incurrence of the
         Final Roll-Up Amount.

                         (f)     Use of Proceeds. The proceeds of the DIP Advances shall be used solely
         (i) to pay interest, fees and expenses associated with this Agreement, (ii) for Debtor’s working
         capital and general corporate purposes in accordance with the Budget (subject to the Variance),
         (iii) to pay costs and expenses associated with the Bankruptcy Case to the extent consistent with
         the Budget (subject to the Variance, and including professional costs incurred (including, costs
         incurred in respect of Case Professionals) and paid in accordance with the Budget), and (iv) with
         respect to the Final Roll-Up Amount, the payment of all remaining obligations outstanding at the
         time of the entry of the Final Order under the Prepetition SVB Facility. In no event shall the
         proceeds of any DIP Advance be used to bring any claim or suit against Bank or Participants or
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         to challenge the liens or claims of Bank or Participants; provided, however, notwithstanding
         anything to the contrary herein, an aggregate of $25,000 of the DIP Advances or any Carve-Out
         may be used by the Committee to investigate (i) the amount, extent, priority, validity, perfection
         or enforcement of the indebtedness of Borrower owing to Bank or any Participant; and (ii) liens
         or security interests in the collateral securing such indebtedness, including challenges to the
         perfection, priority or validity of the liens granted in favor of Bank or any Participant with
         respect thereto.

                 2.1.2 Extension Request; Third DIP Advance. If Borrower delivers, at least five (5)
         days prior to the Original Maturity Date, a binding Letter of Intent for the sale of all or
         substantially all of the assets and other property of Borrower and its Subsidiaries which would
         upon consummation thereof generate Net Asset Sale Proceeds sufficient to pay the Obligations
         and any outstanding obligations under the Prepetition SVB Facility in full in cash at closing (the
         “Sale LOI”), Borrower may request one (1) extension of the term of the DIP Commitment (the
         “Extension Request”) beyond the Original Maturity Date for a period of up to an additional
         forty-five (45) days, which Bank may in its sole and absolute discretion elect to grant, condition,
         or deny after review of the Sale LOI and evaluation of the circumstances thereof.

                2.2       Payment of Interest on the Credit Extensions.

                       (a)    Interest Rate. Subject to Section 2.2(b), the principal amount outstanding
         for each DIP Advance shall accrue interest at a rate per annum equal to ten and one half of one
         percent (10.50%), which interest shall be payable monthly in cash.

                         (b)    Default Rate.     Immediately upon the occurrence and during the
         continuance of an Event of Default, all outstanding Obligations shall bear interest at a rate per
         annum which is five (5) percentage points (5.0%) above the rate per annum that is otherwise
         applicable thereto on and after to the Maturity Date (the “Default Rate”). Fees and expenses
         which are required to be paid by Borrower pursuant to the Loan Documents (including, without
         limitation, Bank Expenses) but are not paid when due shall bear interest until paid at a rate per
         annum equal to the highest rate applicable to the Obligations. Payment or acceptance of the
         increased interest rate provided in this Section 2.2(b) is not a permitted alternative to timely
         payment and shall not constitute a waiver of any Event of Default or otherwise prejudice or limit
         any rights or remedies of Bank.

                          (c)    Payment; Interest Computation. Interest shall be payable monthly in
         arrears at the times set forth in Section 2.1.1(b) and shall be computed on the basis of a 360-day
         year for the actual number of days elapsed. In computing interest, (i) all payments received after
         12:00 p.m. Pacific time on any day shall be deemed received at the opening of business on the
         next Business Day, and (ii) the date of the making of any DIP Advance shall be included and the
         date of payment shall be excluded; provided, however, that if any DIP Advance is repaid on the
         same day on which it is made, such day shall be included in computing interest on such DIP
         Advance.




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                2.3       Fees and Expenses. Borrower shall pay to Bank the following:

                       (a)     Commitment Fee. Bank shall be entitled to receive a non-refundable
         commitment fee of One Hundred Fifty Thousand Dollars ($150,000.00) (the “Commitment
         Fee”), which shall be deemed fully earned as of entry of the Interim Order and shall be due upon
         the consummation of a sale of all or substantially all of Borrower’s assets.

                         (b)   Expenses. All Bank Expenses (including reasonable attorneys’ fees and
         expenses, plus expenses for documentation and negotiation of this Agreement and the other Loan
         Documents) incurred through and after the Closing Date, when due (or, if no stated due date,
         upon demand by Bank); provided, however, that, notwithstanding anything herein to the
         contrary, all Bank Expenses incurred through the Closing Date shall be due and payable from the
         Initial DIP Advance.

                        (c)   Fees Fully Earned. Unless otherwise provided in this Agreement or in a
         separate writing by Bank, Borrower shall not be entitled to any credit, rebate, or repayment of
         any fees earned by Bank pursuant to this Agreement notwithstanding any termination of this
         Agreement or the suspension or termination of Bank’s obligation to make loans and advances
         hereunder.

                2.4       Payments; Application of Payments.

                        (a)    All payments to be made by Borrower under any Loan Document shall be
         made in immediately available funds in Dollars, without setoff or counterclaim, before 12:00
         p.m. Pacific time on the date when due. Payments of principal and/or interest received after
         12:00 p.m. Pacific time are considered received at the opening of business on the next Business
         Day. When a payment is due on a day that is not a Business Day, the payment shall be due the
         next Business Day, and additional fees or interest, as applicable, shall continue to accrue until
         paid.

                        (b)     Bank has the exclusive right to determine the order and manner in which
         all payments with respect to the Obligations may be applied. Borrower shall have no right to
         specify the order or the accounts to which Bank shall allocate or apply any payments required to
         be made by Borrower to Bank or otherwise received by Bank under this Agreement or any other
         Loan Document when any such allocation or application is not specified elsewhere in this
         Agreement or such other Loan Document.

                 2.5     Withholding. Payments received by Bank from Borrower under this Agreement
         and any other Loan Document will be made free and clear of and without deduction for any and
         all present or future taxes, levies, imposts, duties, deductions, withholdings, assessments, fees or
         other charges imposed by any Governmental Authority (including any interest, additions to tax
         or penalties applicable thereto). Specifically, however, if at any time any Governmental
         Authority, applicable law, regulation or international agreement requires Borrower to make any
         withholding or deduction from any such payment or other sum payable hereunder to Bank,
         Borrower hereby covenants and agrees that the amount due from Borrower with respect to such
         payment or other sum payable hereunder will be increased to the extent necessary to ensure that,
         after the making of such required withholding or deduction, Bank receives a net sum equal to the

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         sum which it would have received had no withholding or deduction been required, and Borrower
         shall pay the full amount withheld or deducted to the relevant Governmental Authority.
         Borrower will, upon request, furnish Bank with proof reasonably satisfactory to Bank indicating
         that Borrower has made such withholding payment; provided, however, that Borrower need not
         make any withholding payment if the amount or validity of such withholding payment is
         contested in good faith by appropriate and timely proceedings and as to which payment in full is
         bonded or reserved against by Borrower. The agreements and obligations of Borrower contained
         in this Section 2.5 shall survive the termination of this Agreement and the other Loan
         Documents.

         3      CONDITIONS OF LOANS

                 3.1    Conditions Precedent to Closing Date and the Initial DIP Advance. Bank’s
         obligation to make the Initial DIP Advance is subject to the condition precedent that Bank shall
         have received, in form and substance satisfactory to Bank, such documents, and completion of
         such other matters, as Bank may reasonably deem necessary or appropriate, including, without
         limitation:

                          (a)   duly executed signatures to the Loan Documents;

                       (b)     Borrower shall have executed all documents required by Bank to reduce
         Borrower’s existing business credit card availability to $200,000.00;

                        (c)     the Operating Documents and long-form good standing certificate of
         Borrower certified by the Secretary of State (or equivalent agency) of Borrower’s jurisdiction of
         organization or formation and short-form good standing certificate of Borrower certified by the
         Secretary of State (or equivalent agency) of each jurisdiction in which Borrower is qualified to
         conduct business, each as of a date no earlier than ten (10) days prior to the Closing Date;

                        (d)     certified copies, dated as of a recent date, of financing statement searches,
         as Bank may request, accompanied by written evidence (including any UCC termination
         statements) that the Liens indicated in any such financing statements either constitute Permitted
         Liens, or have been, or in connection with the Initial DIP Advance will be, terminated or
         released;

                       (e)     evidence satisfactory to Bank that the insurance policies and endorsements
         required by Section 6.5 hereof are in full force and effect, together with appropriate evidence
         showing lender loss payable and/or additional insured clauses and cancellation notice to Bank (or
         endorsements reflecting the same) in favor of Bank;

                          (f)   payment of the fees and Bank Expenses then due as specified in Section
         2.3 hereof;

                        (g)     the initial Budget, in form and substance satisfactory to Bank in its sole
         and absolute discretion, having been approved by the Bankruptcy Court;

                       (h)   determination by Bank to its satisfaction that, since the Petition Date, there
         has not been any material impairment in the general affairs, management, results of operation,
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         financial condition or the prospect of repayment of the Obligations as and when due; and there
         has not been any material adverse deviation by Borrower from the most recent business plan of
         Borrower presented to and accepted by Bank;

                        (i)     entry by the Bankruptcy Court of the Interim Order, by no later than three
         (3) Business Days after the Petition Date, substantially in the form attached hereto as Exhibit C
         and otherwise in form and substance satisfactory to Bank, which Interim Order shall not have
         been reversed, modified, amended or stayed (other than with the written consent of Bank in its
         sole and absolute discretion);

                        (j)    Debtor shall have established or maintained the cash management systems
         described in the cash management motion and shall have taken all steps necessary to comply
         with the Cash Management Order;
                        (k)     all (i) “first day orders” and all related pleadings intended to be entered on
         or prior to the date of entry of the Interim Order (including, for the purposes of the “cash
         management order,” a bridge order authorizing continued use of the Borrower’s current cash
         management systems until a hearing with respect to a final cash management order) shall have
         been entered by the Bankruptcy Court and shall be reasonably satisfactory in form and substance
         to the Bank and (ii) to the extent available for Bank review at that time, forms of “second day
         orders” shall be reasonably satisfactory in form and substance to the Bank.

                         (l)    all motions, orders (including the “first day” orders) and other documents
         to be filed with and submitted to the Bankruptcy Court shall be in form and substance reasonably
         satisfactory to Bank; and

                         (m)     Bank shall have received such additional agreements, documents,
         certificates and/or instruments as it may reasonably request.
                 3.2    Conditions Precedent to Second Term Loan Advances. Unless otherwise
         waived by the Bank, the Bank’s obligation to make the Second Term Loan Advance is subject to
         the condition precedent that Bank shall have received, in form and substance reasonably
         satisfactory to Bank, such documents, and completion of such other matters, as Bank may
         reasonably deem necessary or appropriate, including, without limitation:
                       (a)     the entry of the Final Order shall have occurred not later than thirty (30)
         days following the Petition Date;
                        (b)    all material “second day orders” and all related pleadings intended to be
         entered on or prior to the date of entry of the Final Order, including a final cash management
         order, shall have been entered by the Bankruptcy Court, and all pleadings related to procedures
         for approval of significant transactions, including, without limitation, asset sale procedures,
         regardless of when filed or entered, shall be reasonably satisfactory in form and substance to the
         Bank; and




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                        (c)     Bank shall have received when due a current Budget prepared in good
         faith based upon assumptions believed to be reasonable when made and when delivered,
         reasonably satisfactory in all respects to Bank.

                3.3     Additional Conditions Precedent to All DIP Advances. Bank’s obligations to
         make each DIP Advance, including the Initial DIP Advance, are subject to the following
         conditions precedent:

                          (a)    Bank shall have received a Notice of Borrowing complying with this
         Agreement;

                      (b)     the Financing Order shall be in effect and shall not have been reversed,
         modified, amended or stayed (other than with the written consent of Bank in its sole and absolute
         discretion);

                       (c) at the time of and immediately after giving effect to the making of such
         DIP Advance, Debtor shall be in compliance with the then-current Budget subject to the
         Variance; and

                       (d)    the representations and warranties in this Agreement and in any other
         Loan Document shall be true, accurate, and complete in all material respects on the date of the
         Notice of Borrowing and on the Funding Date of such DIP Advance;

                       (e)    no default or Event of Default shall have occurred and be continuing or
         could reasonably be expected to result from the making of such DIP Advance or the use of the
         proceeds thereof;
                      (f)    Bank determines in the exercise of its reasonable discretion that a Material
         Adverse Change has not occurred after the Petition Date; and

                          (g)    in the case of the Third DIP Advance, the following conditions shall also
         apply:

                          (i) the Sale LOI shall be satisfactory in all respects to Bank in their sole and
                          absolute discretion;

                          (ii) Bank and the Participants shall have received a revised Budget covering the
                          period of time through the Extended Maturity Date satisfactory to Bank in its sole
                          and absolute discretion; and

                          (iii) Borrower shall have executed and delivered all documents reasonably
                          required by Bank to effect the Extension Request, including any requested
                          amendment to the Participation Agreement.

                 3.4    Covenant to Deliver. Borrower agrees to deliver to Bank each item required to
         be delivered to Bank under this Agreement and any other Loan Document as a condition
         precedent to any DIP Advance. Borrower expressly agrees that a DIP Advance made prior to the
         receipt by Bank of any such item shall not constitute a waiver by Bank of Borrower’s obligation

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         to deliver such item, and any such DIP Advance in the absence of a required item shall be made
         in Bank’s sole and absolute discretion.

         4      CREATION OF SECURITY INTEREST

                4.1       Grant of Security Interest.

                 Pursuant to Section 364 of the Bankruptcy Code and the Loan Documents, the Liens of
         Bank hereunder shall at all times be secured by, and Borrower hereby grants to Bank, to secure
         the payment and performance in full of all of the Obligations, and pledges to Bank, a continuing,
         valid, binding, enforceable, non-avoidable and automatically properly perfected priming First
         Priority post-petition Lien, which Lien shall be subject only to the payment of the Carve Out, on
         all existing and after acquired real and personal property and other assets of Borrower, tangible
         and intangible, whether now owned by or owing to, or hereafter acquired by or arising in favor
         of Borrower, whether owned or consigned by or to, or leased from or to Borrower and regardless
         of where located, including, without limitation, the items listed on the attached Exhibit A
         (collectively, the “Collateral”).

                 If this Agreement is terminated, Bank’s Lien in the Collateral shall continue until the
         Obligations (other than inchoate indemnity obligations) are satisfied in full, and at such time,
         Bank shall, at Borrower’s sole cost and expense, terminate its security interest in the Collateral
         and all rights therein shall revert to Borrower. In the event (x) all Obligations (other than
         inchoate indemnity obligations) are satisfied in full, and (y) this Agreement is terminated, Bank
         shall terminate the security interest granted herein.

                 Borrower acknowledges that it previously has entered, and/or may in the future enter,
         into Bank Services Agreements with Bank. Regardless of the terms of any Bank Services
         Agreement, Borrower agrees that any amounts Borrower owes Bank thereunder shall be deemed
         to be Obligations hereunder and that it is the intent of Borrower and Bank to have all such
         Obligations secured by the first priority perfected Lien on the Collateral granted herein, subject
         to the Carve-Out. The Collateral may also be subject to Permitted Liens.

                 4.2     Priority of Security Interest. Borrower represents, warrants, and covenants that,
         subject in all cases to the Carve-Out and the Financing Order:

                         (a)     pursuant to section 364(c)(2) of the Bankruptcy Code, Bank shall have at
         all times a First Priority perfected security interest, Liens and mortgage on, all Collateral not
         subject to valid, perfected, enforceable and non-avoidable security interests, liens and mortgages
         as of the Petition Date, including upon entry of the Final Order, proceeds of avoidance actions
         under chapter 5 of the Bankruptcy Code or applicable state law equivalents (other than actions
         brought pursuant to section 549 of the Bankruptcy Code) (“Avoidance Actions”);

                         (b)     pursuant to section 364(c)(3) of the Bankruptcy Code, Bank shall have at
         all times a valid, perfected, enforceable, and non-avoidable junior security interest, Lien and
         mortgage on all Collateral that was subject to valid, perfected, enforceable, and non-avoidable
         security interests, Liens or mortgages in existence on the Petition Date or that is subject to valid
         Liens in existence on the Petition Date that are perfected subsequent to the Petition Date as

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         permitted by section 546(b) of the Bankruptcy Code and that have priority to the security
         interests, Liens, or mortgages under applicable law, in each case subject only to such valid,
         perfected, enforceable, and non-avoidable security interests, Liens or mortgages and any other
         Permitted Liens that, pursuant to this Agreement and the Financing Order, are permitted to be
         senior in priority to the security interests, Liens or mortgages, including Liens with respect to the
         Prepetition SVB Facility; and

                         (c)    for the avoidance of doubt, subject to the Carve-Out, Bank shall have at all
         times, valid, perfected, enforceable, and non-avoidable First Priority Liens and security interests
         in Debtor’s bank accounts as well as the funds in such accounts, and no other party or entity shall
         have any Lien or security interest in such accounts or in any funds in such accounts; provided,
         that such liens and security interests shall be junior to the Bank’s liens with respect to the
         Prepetition SVB Facility. All of the Obligations and Debtor’s use of any cash collateral of Bank,
         pursuant to the Carve-Out or otherwise in accordance with the Final Order, will constitute an
         administrative expense under section 364(c)(1) of the Bankruptcy Code with priority, subject to
         the provisions of the Carve-Out, over all claims or costs or expenses of administration of the
         kinds specified in, or ordered pursuant to, any provision of the Bankruptcy Code and shall at all
         times be senior to the rights of Debtor or any successor trustee, examiner, or responsible person
         in these or any subsequent proceedings under the Bankruptcy Code.

                 4.3     Authorization to File Financing Statements. Borrower hereby authorizes Bank
         to file financing statements, without notice to Borrower, with all appropriate jurisdictions to
         perfect or protect Bank’s interest or rights hereunder, including a notice that any disposition of
         the Collateral, by Borrower or any other Person, shall be deemed to violate the rights of Bank
         under the Code.

                 4.4     Pledge of Collateral. Borrower hereby pledges, assigns and grants to Bank a
         security interest in all the Shares, together with all proceeds and substitutions thereof, all cash,
         stock and other moneys and property paid thereon, all rights to subscribe for securities declared
         or granted in connection therewith, and all other cash and noncash proceeds of the foregoing, as
         security for the performance of all of the Obligations. The property referenced in the
         immediately prior sentence shall be “Collateral” for the purposes of this Agreement. On the
         Closing Date, or, to the extent not certificated as of the Closing Date, within ten (10) Business
         Days of the certification of any Shares, the certificate or certificates for the Shares will be
         delivered to Bank, accompanied by an instrument of assignment duly executed in blank by
         Borrower. To the extent required by the terms and conditions governing the Shares, Borrower
         shall cause the books of each entity whose Shares are part of the Collateral and any transfer
         agent to reflect the pledge of the Shares. Upon the occurrence and during the continuance of an
         Event of Default hereunder and Bank foreclosure on the Collateral, Bank may effect the transfer
         of any securities included in the Collateral (including but not limited to the Shares) into the name
         of Bank and cause new (as applicable) certificates representing such securities to be issued in the
         name of Bank or their transferee. Borrower will execute and deliver such documents, and take or
         cause to be taken such actions, as Bank may reasonably request to perfect or continue the
         perfection of Bank’s security interest in, and Lien on, the Shares. Unless an Event of Default
         shall have occurred and be continuing, Borrower shall be entitled to exercise any voting rights
         with respect to the Shares and to give consents, waivers and ratifications in respect thereof;
         provided that no vote shall be cast or consent, waiver or ratification given or action taken which
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         would be inconsistent with any of the terms of this Agreement or the Financing Order or which
         would constitute or create any violation of any of such respective terms. All such rights to vote
         and give consents, waivers and ratifications shall terminate upon the occurrence and continuance
         of an Event of Default.
                 4.5    No Discharge; Survival of Claims. Pursuant to Section 1141(d)(4) of the
         Bankruptcy Code, Borrower hereby waives any discharge of the Obligations with respect to any
         plan of reorganization that shall not provide for the payment in full in cash of the Obligations
         (other than contingent indemnification and reimbursement Obligations not yet due) under this
         Agreement. Borrower hereby agrees that the Super-Priority Claims and Liens granted to the
         Bank pursuant to the Interim Order or the Final Order shall not be affected in any manner by the
         entry of an order confirming a plan of reorganization.

         5      REPRESENTATIONS AND WARRANTIES

                Borrower represents and warrants on the Closing Date and on each Funding Date as
         follows:

                 5.1    Due Organization, Authorization; Power and Authority. Borrower is duly
         existing and in good standing in its jurisdiction of formation and is qualified and licensed to do
         business and is in good standing in any jurisdiction in which the conduct of its business or its
         ownership of property requires that it be qualified except where the failure to do so could not
         reasonably be expected to cause a Material Adverse Change.

                 Subject to the entry of the Financing Order, the execution, delivery and performance by
         Borrower of the Loan Documents to which it is a party have been duly authorized and do not (i)
         conflict with any of Borrower’s organizational documents, (ii) contravene, conflict with,
         constitute a default under or violate any material Requirement of Law, (iii) contravene, conflict
         with or violate any applicable order, writ, judgment, injunction, decree, determination or award
         of any Governmental Authority by which Borrower or any of its Subsidiaries or any of their
         property or assets may be bound or affected, (iv) require any action by, filing, registration, or
         qualification with, or Governmental Approval from, any Governmental Authority (except such
         Governmental Approvals that have already been obtained and are in full force and effect) or (v)
         conflict with, contravene, constitute a default or breach under, or result in or permit the
         termination or acceleration of, any material agreement by which Borrower is bound other than
         with respect to Debtor, conflicts, breaches and defaults the enforcement of which will be stayed
         by virtue of the filing of the Bankruptcy Case. Borrower is not in default under any agreement to
         which it is a party or by which it is bound in which the default could reasonably be expected to
         cause a Material Adverse Change.

                 5.2     Collateral. Borrower has good title to, rights in, and the power to transfer each
         item of the Collateral upon which it purports to grant a Lien hereunder, free and clear of any and
         all Liens except Permitted Liens. Borrower has no Collateral Accounts at or with any bank or
         financial institution other than as described on Schedule 5.2. The Accounts are bona fide,
         existing obligations of the Account Debtors. The Collateral (other than Offsite Collateral) is not
         in the possession of any third party bailee (such as a warehouse) except as otherwise set forth on
         Schedule 5.2. None of the components of the Collateral (other than Offsite Collateral) shall be
         maintained at locations other than as provided on Schedule 5.2 or as permitted pursuant to
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         Section 7.2. All Inventory is in all material respects of good and marketable quality, free from
         material defects. Borrower is the sole owner of the Intellectual Property which it owns or
         purports to own except for (a) non-exclusive licenses granted to its customers in the ordinary
         course of business and licenses permitted by Section 7.1, (b) over-the-counter software that is
         commercially available to the public, and (c) material Intellectual Property licensed to Borrower
         as described on Schedule 5.2. Each Patent which it owns or purports to own and which is
         material to Borrower’s business is valid and enforceable, and no part of the Intellectual Property
         which Borrower owns or purports to own and which is material to Borrower’s business has been
         judged invalid or unenforceable, in whole or in part. To the best of Borrower’s knowledge, no
         claim has been made that any part of the Intellectual Property violates the rights of any third
         party except to the extent such claim could not reasonably be expected to cause a Material
         Adverse Change. Except as described on Schedule 5.2, Borrower is not a party to, nor is it bound
         by, any Restricted License.

                 5.3    Binding Obligation. Subject to the entry of the Financing Order, each Loan
         Document has been duly executed and delivered by Debtor and is the legally valid and binding
         obligation of Debtor, enforceable against Debtor in accordance with its respective terms, except
         as may be limited by bankruptcy, insolvency, reorganization, moratorium or similar laws relating
         to or limiting creditors’ rights generally or by equitable principles relating to enforceability
         (including, without limitation, the terms of the Financing Order).

                 5.4    No Defaults. Other than as a result of the Bankruptcy Case or as set forth on
         Schedule 5.4, Debtor is not in default in the performance, observance or fulfillment of any of the
         obligations, covenants or conditions contained in any of its contractual obligations, and no
         condition exists which, with the giving of notice or the lapse of time or both, could constitute
         such a default, except where the consequences, direct or indirect, of such default or defaults, if
         any, could not be reasonably expected to cause a Material Adverse Change.

                5.5    LitigationExcept as set forth on Schedule 5.5, there are no actions or proceedings
         pending or, to the knowledge of any Responsible Officer, threatened in writing by or against
         Borrower or any of its Subsidiaries involving more than One Hundred Thousand Dollars
         ($100,000) individually or in the aggregate.

                 5.6     No Material Deviation in Financial Statements. All consolidated financial
         statements for Borrower and any of its Subsidiaries delivered to Bank fairly present in all
         material respects Borrower’s consolidated financial condition and Borrower’s consolidated
         results of operations. Except as otherwise expressly disclosed to Bank prior to the Closing Date,
         there has not been any material deterioration in Borrower’s consolidated financial condition
         since the date of the most recent financial statements submitted to Bank.

                 5.7   Regulatory Compliance. Borrower is not an “investment company” or a
         company “controlled” by an “investment company” under the Investment Company Act of 1940,
         as amended. Borrower is not engaged as one of its important activities in extending credit for
         margin stock (under Regulations X, T and U of the Federal Reserve Board of Governors).
         Borrower (a) has complied in all material respects with all Requirements of Law, and (b) has not
         violated any Requirements of Law the violation of which could reasonably be expected to cause
         a Material Adverse Change. None of Borrower’s or any of its Subsidiaries’ properties or assets
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         has been used by Borrower or any Subsidiary or, to the best of Borrower’s knowledge, by
         previous Persons, in disposing, producing, storing, treating, or transporting any hazardous
         substance other than legally. Borrower and each of its Subsidiaries have obtained, subject to the
         entry of the Financing Order, all consents, approvals and authorizations of, made all declarations
         or filings with, and given all notices to, all Governmental Authorities that are necessary to
         continue their respective businesses as currently conducted.

                5.8       Reserved.

                 5.9     Tax Returns and Payments; Pension Contributions. Borrower has timely filed
         (taking into account all applicable extension periods) all required tax returns and reports required
         to be filed prior to the date hereof, and Borrower has timely paid all foreign, federal, state and
         local taxes, assessments, deposits and contributions owed by Borrower except (a) to the extent
         such taxes are being contested in good faith by appropriate proceedings promptly instituted and
         diligently conducted, so long as such reserve or other appropriate provision, if any, as shall be
         required in conformity with GAAP shall have been made therefor, or (b) if such taxes,
         assessments, deposits and contributions do not, individually or in the aggregate, exceed Twenty-
         Five Thousand Dollars ($25,000).

                 To the extent Borrower defers payment of any contested taxes, Borrower shall (i) notify
         Bank in writing of the commencement of, and any material development in, the proceedings, and
         (ii) post bonds or take any other steps required to prevent the Governmental Authority levying
         such contested taxes from obtaining a Lien upon any of the Collateral that is other than a
         “Permitted Lien.” Borrower is unaware of any claims or adjustments proposed for any of
         Borrower’s prior tax years which could result in additional taxes becoming due and payable by
         Borrower in excess of Twenty-Five Thousand Dollars ($25,000). Borrower has paid all amounts
         necessary to fund all present pension, profit sharing and deferred compensation plans in
         accordance with their terms, and Borrower has not withdrawn from participation in, and has not
         permitted partial or complete termination of, or permitted the occurrence of any other event with
         respect to, any such plan which could reasonably be expected to result in any liability of
         Borrower, including any liability to the Pension Benefit Guaranty Corporation or its successors
         or any other governmental agency.

                5.10 Use of Proceeds. Borrower shall use the proceeds of the DIP Advances solely for
         the purposes specified in Section 2.1.1(f).

                5.11      Reserved.

                 5.12 Full Disclosure. No written representation, warranty or other statement of
         Borrower in any certificate or written statement given to Bank, as of the date such representation,
         warranty, or other statement was made, taken together with all such written certificates and
         written statements given to Bank, contains any untrue statement of a material fact or omits to
         state a material fact necessary to make the statements contained in the certificates or statements
         not misleading (it being recognized by Bank that the projections and forecasts provided by
         Borrower in good faith and based upon reasonable assumptions are not viewed as facts and that
         actual results during the period or periods covered by such projections and forecasts may differ
         from the projected or forecasted results).
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               5.13       Super-Priority Nature of Debtor’s Obligations and Bank’s Security Interests
         and Liens.

                        (a)      Subject to the terms of the Financing Order, all Obligations of Debtor
         hereunder and under the other Loan Documents, including, without limitation, all principal,
         accrued interest, costs, fees and expenses, shall be:

                               (i)      Claims, entitled to the benefits of sections 364(c)(l) and 507(b) of
         the Bankruptcy Code, having a super-priority over any and all administrative expenses of the
         kind specified in sections 105,326,328, 330, 331, 364, 365, 503(a), 503(b), 506(c) (subject to
         entry of the Final Order), 507(a), 507(b), 546(c), 546(d), 726 (to the extent permitted by law),
         1113 and 1114 of the Bankruptcy Code (“Super-Priority Claims”), subject only to the Carve-
         Out. Subject to the Carve-Out, the Super-Priority Claims shall be payable from and have
         recourse to all prepetition and postpetition property of Debtor and all proceeds thereof,
         including, following entry of the Final Order, the proceeds of the Avoidance Actions.

                                (ii)   Secured, pursuant to section 364(c)(2) of the Bankruptcy Code,
         subject only to the Carve-Out, by a perfected First Priority Lien on all Collateral of Debtor that is
         not otherwise subject to a Lien (provided, that such lien shall not extend to the proceeds of
         Avoidance Actions until the entry of the Final Order).

                                (iii) Secured, pursuant to Section 364(c)(3) of the Bankruptcy Code,
         subject only to the Carve-Out, by valid, perfected, enforceable, and non-avoidable junior security
         interests, Liens and mortgages on all Collateral of Debtor that was subject to valid, perfected,
         enforceable, and non-avoidable security interests, Liens or mortgages in existence on the Petition
         Date (including, for the avoidance of doubt, the Liens securing the Prepetition SVB Facility, that,
         pursuant to this Agreement, are permitted to be senior in priority to the Liens granted under the
         Loan Documents) or that was subject to valid Liens in existence on the Petition Date that are
         perfected subsequent to the Petition Date as permitted by Section 546(b) of the Bankruptcy Code
         and that have priority to the Liens granted under the Loan Documents under applicable law, in
         each case subject only to such valid, perfected, enforceable, and non-avoidable security interests.

                        (b)     Subject only to the Carve-Out, no cost or expense of administration under
         sections 364(c)(1), 503(b), 506(c), 507(b) of the Bankruptcy Code or otherwise, and those
         resulting from the conversion of the Bankruptcy Case pursuant to section 1112 of the Bankruptcy
         Code, shall be senior to, or pari passu with, the Super-Priority Claims of Bank arising out of the
         DIP Advances. Upon written notice by Bank to Borrower, Borrower shall be deemed to have
         authorized Bank to fund the Carve-Out in a segregated account, which account shall be
         maintained for the benefit of the Case Professionals (and any such amounts funded shall be
         Obligations hereunder).

                         (c)     Upon the entry by the Bankruptcy Court of the Interim Order and subject
         to the terms thereof, the perfected, First Priority Lien on, and security interest in, the Collateral
         described in the Loan Documents in favor of Bank shall continue to be valid and enforceable
         perfected First Priority Lien on, and security interest in, all right, title and interest of Debtor in
         such Collateral and the proceeds thereof, as security for the Obligations, in each case prior and
         superior in right to any other Person, subject to the Carve-Out.
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                5.14      Reorganization Matters.

                         (a)    The Bankruptcy Case was commenced on the Petition Date and proper
         notice was given of (i) the motion seeking approval of the Loan Documents and the Interim
         Order, and (ii) the hearing for the approval of the Interim Order. Debtor shall give, on a timely
         basis as specified in the Interim Order all notices required to be given to all parties specified in
         the Interim Order.

                       (b)    The Interim Order is in full force and effect has not been reversed, stayed,
         modified or amended (other than with the consent of Bank in its sole and absolute discretion).

                5.15 Payment of Obligations. Upon the maturity (whether by acceleration or
         otherwise) of any of the Obligations under this Agreement or any of the other Loan Documents,
         Bank shall be entitled to immediate indefeasible payment in full in cash of such Obligations
         without further application to or order of the Bankruptcy Court.

                 5.16 No Discharge; Survival of Claims. To the extent that any Obligations (other
         than inchoate indemnity obligations) are then outstanding or Bank then has any commitment to
         make DIP Advances hereunder, Debtor agrees that (i) the Obligations hereunder shall not be
         discharged by the entry of an order confirming the sale of all or substantially all of the assets of
         Debtors in the Bankruptcy Case (and Debtor pursuant to Section 1141(d)(4) of the Bankruptcy
         Code, hereby waives any such discharge) and (ii) the security interests and Liens and priority
         granted to Bank pursuant to the Financing Order shall not be affected in any manner by the entry
         of an order confirming such sale in the Bankruptcy Case.

                5.17 Waiver of any Priming Rights. Upon the Closing Date and subject to the entry
         of the Final Order, and on behalf of themselves and their estates, and for so long as any
         Obligations shall be outstanding, other than as expressly set forth in the Financing Order, Debtor
         hereby irrevocably waives any right, pursuant to Sections 364(c) or 364(d) of the Bankruptcy
         Code or otherwise, to grant any security interest, Lien or mortgage of equal or greater priority
         than the security interests, Liens and mortgages securing the Obligations, or to approve a claim
         of equal priority to, or greater priority than, that of the Obligations.

               5.18 Compliance with the Budget. Debtor is in compliance with the then-current
         Budget subject to the Variance.

                5.19 Definition of “Knowledge”. For purposes of the Loan Documents, whenever a
         representation or warranty is made to Borrower’s knowledge or awareness, to the “best of”
         Borrower’s knowledge, or with a similar qualification, knowledge or awareness means the actual
         knowledge, after reasonable investigation, of any Responsible Officer.
                 5.20 Financing Order. The Financing Order is in full force and effect is not subject to
         a pending appeal or motion for leave to appeal or other proceeding to set aside such order and
         has not been reversed, modified, stayed or vacated.




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         6      AFFIRMATIVE COVENANTS

                 Unless and until the DIP Commitment has been terminated and all of the Obligations
         (other than inchoate indemnity obligations) have been paid in full, Borrower shall do all of the
         following:

                6.1       Government Compliance.

                         (a)     Maintain its and all its Subsidiaries’ legal existence and good standing in
         their respective jurisdictions of formation and maintain qualification in each jurisdiction in which
         the failure to so qualify could reasonably be expected to cause a Material Adverse Change.
         Borrower shall comply, and have each Subsidiary comply, in all material respects, with all laws,
         ordinances and regulations to which it is subject.

                        (b)    Obtain all of the Governmental Approvals necessary for the performance
         by Borrower of its obligations under the Loan Documents to which it is a party and the grant of a
         security interest and Lien to Bank in all of the Collateral. Borrower shall promptly provide
         copies of any such obtained Governmental Approvals to Bank.

                6.2       Financial Statements, Reports, Certificates. Provide Bank with the following:

                         (a)    Budget. Not later than the second (2nd) Business Day of each week
         commencing after the Petition Date, (a) an updated Budget extending the initial Budget for an
         additional week and (b) a comparison of each line item set forth in the most recent Budget for the
         week most recently ended against the actual performance for such week with respect to each line
         item (and on a cumulative basis from the Petition Date to the date of such report), in each case in
         form and substance reasonably satisfactory to Bank and certified as complete and accurate by a
         Responsible Officer to the Responsible Officer’s reasonable belief. Debtor shall not be permitted
         to change the Budget in any manner inconsistent with the Variance without the written consent
         of Bank in its sole and absolute discretion;

                        (b)     Notice of Litigation. Promptly upon any officer of Debtor obtaining
         knowledge of any adverse proceeding not previously disclosed in writing by Debtor to Bank,
         provide written notice thereof;
                        (c)     Monthly Operating Reports. Contemporaneously with delivery to the
         United States Trustee, copies of all monthly operating reports and supporting documentation.

                        (d)     Other Statements. Within five (5) Business Days of delivery, copies of all
         statements, reports and notices made available to Borrower’s security holders;

                        (e)     Legal Action Notice. A prompt report of any legal actions pending or
         threatened in writing against Borrower or any of its Subsidiaries that could result in damages or
         costs to Borrower or any of its Subsidiaries of, individually or in the aggregate, One Hundred
         Thousand Dollars ($100,000) or more; and

                       (f)       Other Financial Information.     Other financial information reasonably
         requested by Bank.

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                6.3    Inventory; Returns. Keep all Inventory in good and marketable condition, free
         from material defects. Returns and allowances between Borrower and its Account Debtors shall
         follow Borrower’s customary practices as they exist at the Closing Date. Borrower must
         promptly notify Bank of all returns, recoveries, disputes and claims that involve more than Ten
         Thousand Dollars ($10,000).

                6.4     Taxes; Pensions. Timely file (taking into account all applicable extension
         periods, if any), and require each of its Subsidiaries to timely file (taking into account all
         applicable extension periods, if any), all required tax returns and reports and timely pay (taking
         into account all applicable extension periods, if any), and require each of its Subsidiaries to
         timely pay (taking into account all applicable extension periods, if any), all foreign, federal, state
         and local taxes, assessments, deposits and contributions owed by Borrower and each of its
         Subsidiaries, except for deferred payment of any taxes contested pursuant to the terms of Section
         5.7 hereof, and shall deliver to Bank, on demand, appropriate certificates attesting to such
         payments, and pay all amounts necessary to fund all present pension, profit sharing and deferred
         compensation plans in accordance with their terms.

                6.5       Insurance.

                        (a)      Maintain, with financially sound and reputable insurers, the same
         insurance that it has in effect on the date immediately prior to the Petition Date as set forth on
         Schedule 6.5; and keep its business and the Collateral insured for risks and in amounts standard
         for companies in Borrower’s industry and location and as Bank may reasonably request.
         Insurance policies shall be in a form, with financially sound and reputable insurance companies
         that are not Affiliates of Borrower, and in amounts that are satisfactory to Bank in its good faith
         discretion. All property policies shall have a lender’s loss payable endorsement showing Bank
         as lender loss payees. All liability policies shall show, or have endorsements showing, Bank as
         an additional insured. Bank shall be named as lender loss payees and/or additional insured with
         respect to any such insurance providing coverage in respect of any Collateral. Bank
         acknowledges that the insurance maintained by Borrower as of the Closing Date is acceptable to
         Bank as of the Closing Date.

                       (b)     Proceeds payable under any property policy are, at Bank’s option, payable
         to Bank on account of the Obligations.

                         (c)    At Bank’s request, Borrower shall deliver certified copies of insurance
         policies and evidence of all premium payments with respect to all property policies and liability
         policies. Each provider of any such insurance required under this Section 6.5 shall agree, by
         endorsement upon the policy or policies issued by it or by independent instruments furnished to
         Bank, that it will give Bank thirty (30) days prior written notice before any such policy or
         policies shall be materially altered or canceled. If Borrower fails to obtain insurance as required
         under this Section 6.5 or to pay any amount or furnish any required proof of payment to third
         persons and Bank, Bank may make all or part of such payment or obtain such insurance policies
         required in this Section 6.5, and take any action under the policies Bank deems prudent.

               6.6    Operating Accounts. Subject to the Cash Management Order, maintain all
         domestic banking, investment management, letters of credit and foreign exchange, including,
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         without limitation, all of its domestic operating and other deposit accounts, securities accounts
         and commodities accounts in the Collateral Accounts set forth on Schedule 5.2, provided that
         Borrower may maintain one (1) deposit account with JP Morgan Chase Bank, National
         Association solely for use as an adequate assurance account for Borrower’s utility providers.
         With regard to its Foreign Subsidiaries, Borrower shall not hold more than One Hundred
         Thousand Dollars ($100,000) of its total consolidated cash in Foreign Subsidiaries, provided,
         however, that Borrower may hold up to Three Hundred Fifty Thousand Dollars ($350,000.00) of
         its total consolidated cash in Foreign Subsidiaries for not more than five (5) consecutive days in
         any calendar month.

                6.7       Bankruptcy Milestones.

                        (a)    No later than three (3) Business Days after the Petition Date, or such later
         date as may be consented to by Bank, Borrower will have filed a motion seeking approval of
         bidding and sale procedures;

                        (b)    No later than thirty (30) days after the Petition Date or such greater period
         agreed to by Bank in its sole and absolute discretion, the Bankruptcy Court shall have entered the
         Final Order, and such Final Order shall be in effect and shall not have been reversed, modified,
         amended or stayed (other than with the written consent of Bank in its sole and absolute
         discretion); and

                        (c)    No later than thirty (30) days after the Petition Date, or such greater period
         agreed to by Bank in its sole and absolute discretion, Borrower will have obtained entry of an
         order that approves bidding procedures in respect of the process associated with a Permitted Sale
         which procedures are in form and substance acceptable to Bank in its sole and absolute
         discretion.

                6.8       Protection of Intellectual Property Rights.

                 (a)     (i) Protect, defend and maintain the validity and enforceability of its Intellectual
         Property with any material value to Borrower’s business; (ii) promptly advise Bank in writing of
         infringements or any other event that could reasonably be expected to adversely affect the value
         of its Intellectual Property with any material value to Borrower’s business; and (iii) not allow
         any Intellectual Property material to Borrower’s business to be abandoned, forfeited or dedicated
         to the public without Bank’s written consent.

                 (b)    To the extent not already disclosed in writing to Bank, if Borrower (i) obtains any
         Patent, registered Trademark, registered Copyright, registered mask work, or any pending
         application for any of the foregoing, whether as owner, licensee or otherwise, or (ii) applies for
         any Patent or the registration of any Trademark, then Borrower shall immediately provide
         written notice thereof to Bank and shall execute such intellectual property security agreements
         and other documents and take such other actions as Bank may request in its good faith business
         judgment to perfect and maintain a first priority perfected Lien in favor of Bank in such property.
         If Borrower decides to register any Copyrights or mask works in the United States Copyright
         Office, Borrower shall: (x) provide Bank with at least fifteen (15) days prior written notice of
         Borrower’s intent to register such Copyrights or mask works together with a copy of the

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         application it intends to file with the United States Copyright Office (excluding exhibits thereto);
         (y) execute an intellectual property security agreement and such other documents and take such
         other actions as Bank may request in its good faith business judgment to perfect and maintain a
         first priority perfected Lien in favor of Bank in the Copyrights or mask works intended to be
         registered with the United States Copyright Office; and (z) record such intellectual property
         security agreement with the United States Copyright Office contemporaneously with filing the
         Copyright or mask work application(s) with the United States Copyright Office. Borrower shall
         promptly provide to Bank copies of all applications that it files for Patents or for the registration
         of Trademarks, Copyrights or mask works, together with evidence of the recording of the
         intellectual property security agreement required for Bank to perfect and maintain a first priority
         perfected Lien on such property.

                  (c)    Provide written notice to Bank at least ten (10) days prior to entering or becoming
         bound by any Restricted License (other than over-the-counter software that is commercially
         available to the public). Borrower shall take such commercially reasonable steps as Bank
         requests to obtain the consent of, or waiver by, any person whose consent or waiver is necessary
         for (i) any Restricted License to be deemed “Collateral” and for Bank to have a security interest
         in it that might otherwise be restricted or prohibited by law or by the terms of any such
         Restricted License, whether now existing or entered into in the future, and (ii) Bank to have the
         ability in the event of a liquidation of any Collateral to dispose of such Collateral in accordance
         with Bank’s rights and remedies under this Agreement, the other Loan Documents and the
         Financing Order.

                  6.9    Litigation Cooperation. From the date hereof and continuing through the
         termination of this Agreement, make available to Bank, without expense to Bank, Borrower and
         its officers, employees and agents and Borrower’s books and records, to the extent that Bank
         may deem them reasonably necessary to prosecute or defend any third-party suit or proceeding
         instituted by or against Bank with respect to any Collateral or relating to Borrower.

                6.10 Access to Collateral; Books and Records. Allow Bank, or its agents, at
         reasonable times, on three (3) Business Days’ notice (provided no notice is required if an Event
         of Default has occurred and is continuing), to inspect the Collateral and audit and copy
         Borrower’s Books. The foregoing inspections and audits shall be at Borrower’s expense.

                 6.11 Formation or Acquisition of Subsidiaries. Borrower shall not, and shall not
         permit its Subsidiaries, to form any new Subsidiaries.

                6.12 Further Assurances. Execute any further instruments and take further action as
         Bank reasonably requests to perfect or continue Bank’s Lien in the Collateral or to effect the
         purposes of this Agreement and the Financing Order.

                6.13 Permitted Sale Information. Borrower shall notify Bank of its receipt of any
         Permitted Sale Information, and, if written, deliver copies of the same to Bank, within twenty-
         four (24) hours of its receipt thereof. Borrower shall notify Bank of any substantive discussion
         involving the Permitted Sale Information and deliver a reasonably detailed (satisfactory to Bank)
         summary of the same to Bank, within twenty four (24) hours of the occurrence of such
         discussion. In addition, Borrower shall (i) make its and its Subsidiaries’ management, officers,
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         employees, professionals, agents and consultants, available to Bank upon request to answer any
         questions regarding the Permitted Sale Information (ii) hold a weekly conference call (or more
         frequently if requested by Bank) with Bank and Participant to discuss the Permitted Sale
         Information. For the purposes of this Agreement, “Permitted Sale Information” is,
         collectively, updates and summaries of all discussions and inquiries (whether such inquiries are
         in-bound or out-bound), whether formal or informal, and all material information,
         correspondence, agreements, documents, reports or definitive documentation or any
         modifications or amendments or correspondence related thereto, whether in oral or written form,
         including, without limitation, any commitments, offers, letters of intent or expressions of
         interest, concerning or related to any Permitted Sale. Notwithstanding anything herein to the
         contrary, Bank will only share any information provided under this Section 6.13 to any
         Participant in accordance with the Participation Agreement.
                6.14      Bankruptcy Matters. Borrower will:
                       (a)     contemporaneously with the filing thereof, deliver to Bank copies of all
         pleadings, motions, applications, financial information and other papers and documents filed by
         Borrower in the Case, which copies of such papers and documents may be provided to or served
         on Bank’s counsel; and
                        (b)     as long as Bank is not a bidder for such Collateral, contemporaneously
         with the receipt thereof, deliver to Bank copies of all letters of intent, expressions of interest,
         offers to purchase or draft purchase agreements (together with subsequent drafts) with respect to
         any of the Collateral; provided, however, that notwithstanding anything herein to the contrary,
         Bank will only share information provided under this Section 6.14(b) to any Participant in
         accordance with the Participation Agreement.
                 6.15 Payment of Post-Petition Obligations. Pay all actual and necessary material
         business expenses in accordance with the Budget, to the extent of funds available in the Budget
         for such purpose, as and when due.
                 6.16 Borrower’s Leases. Within 90 days of the Petition Date, Borrower shall submit,
         and shall use commercially reasonable efforts to ensure that the Bankruptcy Court shall grant, a
         motion to extend the period in which Borrower can assume or reject its leases of non-residential
         real property until at least 210 days from the Petition Date, unless Borrower determines, in its
         reasonable business judgment to reject its leases.

         7      NEGATIVE COVENANTS

                 Unless and until the DIP Commitment has been terminated and all of the Obligations
         (other than inchoate indemnity obligations) have been paid in full, Borrower shall not do any of
         the following without Bank’s prior written consent:

                 7.1     Dispositions. Convey, sell, lease, transfer, assign, or otherwise dispose of
         (collectively, “Transfer”), or permit any of its Subsidiaries to Transfer, all or any part of its
         business or property, except for: (a) Borrower’s use or transfer of money or Cash Equivalents in
         a manner that is not prohibited by the terms of this Agreement or the other Loan Documents; (b)
         pursuant to non-exclusive licenses existing on the Petition Date for the use of the property of
         Borrower or its Subsidiaries in the ordinary course of business and licenses that could not result
         in a legal transfer of title of the licensed property but that may be exclusive in respects other than
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         territory and that may be exclusive as to territory only as to discreet geographical areas outside of
         the United States; (c) pursuant to exclusive licenses existing on the Petition Date within the
         United States for the use of Intellectual Property of Borrower or its Subsidiaries; (d) a Permitted
         Sale; and (e) Transfers of Inventory in the ordinary course of business.

                 7.2     Changes in Business, Management, Control or Business Locations. (a)
         Engage in or permit any of its Subsidiaries to engage in any business other than the businesses
         currently engaged in by Borrower and such Subsidiary, as applicable, or reasonably related
         thereto; (b) liquidate or dissolve; or (c) permit or suffer any Change in Control. Borrower shall
         not, without at least twenty (20) days prior written notice to Bank: (1) add any new offices or
         business locations, including warehouses or deliver any portion of the Collateral to a bailee with
         respect to which Bank and such bailee are not already parties to a bailee agreement governing
         both the Collateral and the location to which Borrower intends to deliver the Collateral, without
         the written consent of Bank.

                  7.3    Mergers or Acquisitions. Except in connection with a Permitted Sale, (a) merge
         or consolidate, or permit any of its Subsidiaries to merge or consolidate, with any other Person,
         or acquire, or permit any of its Subsidiaries to acquire, all or substantially all of the capital stock
         or property of another Person (including, without limitation, by the formation of any Subsidiary);
         or (b) enter into any transaction of merger or consolidation, or liquidate, wind-up or dissolve
         itself (or suffer any liquidation or dissolution) except pursuant to approval of the Bankruptcy
         Court and with the consent of Bank. A Subsidiary may merge or consolidate into another
         Subsidiary or into Borrower.

                 7.4    Indebtedness. Create, incur, assume, be liable for or suffer to exist any
         Indebtedness (including any pre-petition Indebtedness, pre-petition trade payables or other pre-
         petition claims under Section 546(h) of the Bankruptcy Code, and Indebtedness under Section
         364 of the Bankruptcy Code), or permit any Subsidiary to do so, other than the Permitted
         Indebtedness.

                 7.5     Encumbrance. Create, incur, allow, or suffer any Lien on any of its property, or
         assign or convey any right to receive income, including the sale of any Accounts, or permit any
         of its Subsidiaries to do so, except for Permitted Liens; permit any Collateral not to be subject to
         the First Priority security interest granted herein; or enter into any agreement, document,
         instrument or other arrangement (except with or in favor of Bank) with any Person that directly
         or indirectly prohibits, or has the effect of prohibiting, Borrower from assigning, mortgaging,
         pledging, granting a security interest in or upon, or encumbering any of Borrower’s Intellectual
         Property, except as is otherwise permitted in Section 7.1 hereof and the definition of “Permitted
         Liens” herein.

                7.6     Approved Budget. Make any expenditure other than in accordance with the
         Budget, subject to the Variance. Subject to the Variance, Debtor shall not make any material
         change to the amounts indicated in the Budget without the prior written consent of Bank in its
         sole and absolute discretion. In no case shall Debtor use any proceeds of Collateral or any DIP
         Advance to bring any claim or suit against Bank or any of their Affiliates; provided, however,
         notwithstanding anything to the contrary herein, an aggregate of $25,000 of the proceeds of
         Collateral or any DIP Advance may be used by the Committee to investigate (i) the amount,
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         extent, priority, validity, perfection or enforcement of the indebtedness of Borrower owing to
         Bank or any Participant; and (ii) liens or security interests in the collateral securing such
         indebtedness, including challenges to the perfection, priority or validity of the liens granted in
         favor of Bank or any Participant with respect thereto.

                 7.7      Distributions; Investments. (a) Pay any dividends or make any distribution or
         payment (including any payment in respect of any other indebtedness existing on or prior to the
         Petition Date) or redeem, retire or purchase any capital stock or other equity interests;
         (b) directly or indirectly make any Investment (including, without limitation, by the formation of
         any Subsidiary) other than Permitted Investments, or permit any of its Subsidiaries to do so, or
         (c) directly or indirectly make any payment in respect of any other Indebtedness existing on or
         prior to the Petition Date, except in amounts and on terms and conditions that (A) are approved
         by order of the Bankruptcy Court and (B) are expressly permitted by the Budget, or otherwise
         approved by Bank in writing.

                 7.8     Transactions with Affiliates. Directly or indirectly enter into or permit to exist
         any material transaction with any Affiliate of Borrower, except for transactions that are in the
         ordinary course of Borrower’s business and consistent with its past practice, upon fair and
         reasonable terms that are no less favorable to Borrower than would be obtained in an arm’s
         length transaction with a non-affiliated Person.

                7.9     Critical Vendor and Other Payments; Certain Receipts. Make (i) any
         payments on account of any creditor’s claims against Debtor, (ii) payments on account of claims
         or expenses arising under Section 503(b)(9) of the Bankruptcy Code, (iii) payments in respect of
         a reclamation program or (iv) payments under any management incentive plan or on account of
         claims or expenses arising under Section 503(c) of the Bankruptcy Code, except in each case, in
         amounts and on terms and conditions that (A) are approved by order of the Bankruptcy Court
         and (B) are expressly permitted by the Budget, or otherwise approved by Bank in writing.

                7.10 Exercise of Remedies. Obtain, or seek to obtain, any stay on the exercise of the
         remedies of Bank hereunder, under any other Loan Document or the Financing Order.

                7.11      Bankruptcy Related Covenants. Seek, consent to, or permit to exist any of the
         following:

                         (a)    any modification, stay, vacation or amendment to the Financing Order or
         any “first day order” as to which Bank has not consented in writing;

                        (b)    a priority claim or administrative expense claim or unsecured claim
         against Debtor (now existing or hereafter arising of any kind or nature whatsoever, including,
         without limitation, any administrative expense of the kind specified in Sections 105, 326, 328,
         330, 331, 364, 365, 503(a), 503(b), 506(c), 507(a), 507(b), 546(c), 546(d), 726, 1113 and 1114 of
         the Bankruptcy Code) equal or superior to the priority claim of Bank in respect of the
         Obligations, except with respect to the Carve-Out;

                       (c)     any Lien on any Collateral having a priority equal or superior to the Lien
         securing the Obligations, other than with respect to the Carve-Out or Permitted Liens;

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                         (d)   [reserved]

                         (e)    any order which authorizes the payment of any Indebtedness incurred
         prior to the Petition Date, unless such payments are in compliance with the Budget or expressly
         authorized by the Financing Order;

                       (f)     any order which would have the effect of impairing the nature, priority or
         terms of the Obligations or the Liens securing the Obligations pursuant to the terms of the Loan
         Documents; or

                        (g)     any order seeking authority to take any action that is prohibited by the
         terms of this Agreement or the other Loan Documents, or the Financing Order, or refrain from
         taking any action that is required to be taken by the terms of this Agreement or any of the other
         Loan Documents, or the Financing Order.

                 7.12 Compliance. Fail to (a) meet the minimum funding requirements of ERISA, (b)
         prevent a Reportable Event or Prohibited Transaction, as defined in ERISA, from occurring, or
         (c) comply with the Federal Fair Labor Standards Act, the failure of any of the conditions
         described in clauses (a) through (c) which could reasonably be expected to cause a Material
         Adverse Change; or violate any other law or regulation, if the violation could reasonably be
         expected to cause a Material Adverse Change, or permit any of its Subsidiaries to do so;
         withdraw or permit any Subsidiary to withdraw from participation in, permit partial or complete
         termination of, or permit the occurrence of any other event with respect to, any present pension,
         profit sharing and deferred compensation plan which could reasonably be expected to result in
         any liability of Borrower, including any liability to the Pension Benefit Guaranty Corporation or
         its successors or any other governmental agency.

         8      EVENTS OF DEFAULT

                 Notwithstanding the provisions of Section 362 of the Bankruptcy Code and without
         notice, application or motion to, hearing before, or order of the Bankruptcy Court or any notice
         to Debtor, any one of the following shall constitute an event of default (an “Event of Default”)
         under this Agreement:

                 8.1    Payment Default. Borrower fails to (a) make any payment of principal or
         interest on any DIP Advance when due, or (b) pay any other Obligations within three (3)
         Business Days after such Obligations are due and payable (which three (3) Business Day cure
         period shall not apply to payments due on the Maturity Date). During the cure period, the failure
         to make or pay any payment specified in clause (b) hereunder is not an Event of Default (but no
         DIP Advance will be made during such cure period);

                8.2      Covenant Default.

                          (a)     Borrower fails or neglects to perform any obligation in Sections 6.2, 6.4,
         6.5, 6.6, 6.7, 6.9, 6.10, 6.13, or 6.14 or violates any covenant in Section 7; or

                       (b)    Borrower fails or neglects to perform, keep, or observe any other term,
         provision, condition, covenant or agreement contained in this Agreement or any Loan
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         Documents, and as to any default (other than those specified in this Section 8) under such other
         term, provision, condition, covenant or agreement that can be cured, has failed to cure the default
         within ten (10) days after the occurrence thereof; provided, however, that if the default cannot by
         its nature be cured within the ten (10) day period or cannot after diligent attempts by Borrower
         be cured within such ten (10) day period, and such default is likely to be cured within a
         reasonable time, then Borrower shall have an additional period (which shall not in any case
         exceed ten (10) days) to attempt to cure such default, and within such reasonable time period the
         failure to cure the default shall not be deemed an Event of Default (but no DIP Advances shall be
         made during such cure period). Cure periods provided under this Section 8 shall not apply,
         among other things, to financial covenants or any other covenants set forth in clause (a) above;

                8.3      Failure to Obtain Interim Order or Final Order. Borrower fails to obtain the
                         entry of (i) the Interim Order by the Bankruptcy Court in form and substance
                         acceptable to Bank in its sole and absolute discretion within three (3) days of the
                         Petition Date or such greater period agreed by Bank in its sole and absolute
                         discretion, or (ii) the Final Order by the Bankruptcy Court in form and substance
                         acceptable to Bank in its sole and absolute discretion within thirty (30) days of the
                         Petition Date or such greater period agreed by Bank in its sole and absolute
                         discretion;

                8.4      Failure to Obtain Bidding Procedures Order. Borrower fails obtain the entry
                         of an order by the Bankruptcy Court in form and substance acceptable to Bank in
                         its sole and absolute discretion within thirty (30) days of the Petition Date or such
                         greater period agreed by Bank in its sole and absolute discretion which order
                         approves bidding procedures in respect of the process associated with a Permitted
                         Sale which procedures are in form and substance acceptable to Bank in its sole
                         and absolute discretion.

                8.5      Challenge to Liens. Debtor institutes any proceeding or investigation or supports
                         same by any other Person who may challenge the status and/or validity, and/or
                         perfection and/or priority of the security interests, Liens and mortgages on the
                         Collateral created by the Loan Documents or the Financing Order, in each case,
                         securing the Obligations, or any order is entered by the Bankruptcy Court
                         sustaining any objection or challenge of any kind or nature to the validity,
                         priority, or amount of the Liens or the Obligations or the Prepetition SVB
                         Facility, including with respect to an action to recharacterize or subordinate any
                         Liens or claims of Bank against Borrower.

                 8.6    Certain Debtor Filings. Debtor without the consent of Bank, files a plan of
         reorganization or liquidation or a disclosure statement, or any amendment to any such plan or
         disclosure statement, that does not provide for the payment in full in cash of all of the
         Obligations upon, and as a condition to, consummation of such plan of reorganization or
         liquidation;

                 8.7     Enlarged Powers. The entry of an order appointing a trustee in the Bankruptcy
         Case or an examiner having enlarged powers (beyond those set forth under Sections 1106(a)(3)
         and (4) of the Bankruptcy Code);
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                8.8     Dismissal or Conversion. The entry of an order dismissing the Bankruptcy Case
         or converting the Bankruptcy Case to a case under Chapter 7 of the Bankruptcy Code;

                 8.9    Superior Claims. The entry of an order granting any other super-priority claim
         or Lien equal or superior in priority to the Lien securing the Obligations granted to Bank, other
         than the Carve-Out, without Bank’s prior written consent;

                 8.10 Relief from Automatic Stay. The entry of one or more orders granting relief
         from the automatic stay so as to allow third parties to proceed against any asset of Debtor having
         a fair market value in excess of Fifty Thousand Dollars ($50,000) in the aggregate;

                 8.11 Financing Order; Cash Management Order. The entry of an order staying,
         reversing, vacating or otherwise modifying the DIP Advances, any Liens securing the
         Obligations (or the validity or First Priority status thereof) or the Financing Order or the Cash
         Management Order;

                 8.12 Collateral Surcharge. (i) Bank or the Collateral are surcharged or (ii) Borrower
         seeks to surcharge Bank or the Collateral, pursuant to Sections 105, 506(c), 552 or any other
         section of the Bankruptcy Code or (iii) the extent of the Liens on Collateral are otherwise limited
         pursuant to any such section of the Bankruptcy Code;

                8.13 Third Party Adequate Protection. Payment of or granting adequate protection
         with respect to pre-petition debt (other than to Bank);

                8.14 Insufficient Liquidity. Borrower shall fail to maintain sufficient projected
         borrowing capacity under this Agreement to pay all accrued administrative obligations and other
         administrative claims when due, subject to funds being included in the Budget for such purpose;

                8.15     Reserved.

                 8.16 Adequate Assurance. (i) Borrower deposits any funds (or allow any funds to be
         deposited) into the “Adequate Assurance Account” (as defined in any order approving adequate
         assurance procedures under § 366 of the Bankruptcy Code, which must be in form and substance
         acceptable to Bank and may only be amended or modified with Bank’s prior consent (the
         “Utilities Order”) unless such funds are deposited for purposes of adequate assurance deposits in
         favor of utilities providers or are otherwise required by the Utilities Order and contemplated by
         the Budget or (ii) Borrower uses any funds deposited in the Adequate Assurance Account in a
         manner inconsistent with the Utilities Order or the Budget without Bank’s prior consent;

                 8.17 Consummation of a Permitted Sale. Borrower fails to (i) obtain the entry of an
         order by the Bankruptcy Court in form and substance acceptable to Bank in its sole and absolute
         discretion within seventy-five (75) days of the Petition Date or such greater period agreed by
         Bank in its sole and absolute discretion (including the granting of an Extension Request) which
         order approves the consummation of a Permitted Sale and (ii) concurrently with the
         consummation of a Permitted Sale, apply all of the Net Asset Sale Proceeds received by
         Borrower in connection therewith to pay in whole or in part (if such Net Asset Sale Proceeds are
         insufficient to repay the Obligations in whole), in cash, all of the Obligations;

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                8.18 Investor Abandonment; Priority of Security Interest. If there is a material
         impairment in the perfection or priority of Bank’s security interests, Liens and mortgages in the
         Collateral;

                8.19     Attachment; Levy; Restraint on Business.

                        (a)    (i) The service of process seeking to attach, by trustee or similar process,
         any funds of Borrower or of any entity under the control of Borrower (including a Subsidiary) in
         excess of Fifty Thousand Dollars ($50,000), or (ii) a notice of lien or levy is filed against any of
         Borrower’s assets by any Governmental Authority, and the same under subclauses (i) and (ii)
         hereof are not, within ten (10) days after the occurrence thereof, discharged or stayed (whether
         through the posting of a bond or otherwise); provided, however, no DIP Advances shall be made
         during any ten (10) day cure period; or

                       (b)    (i) any material portion of Borrower’s assets is attached, seized, levied on,
         or comes into possession of a trustee or receiver, or (ii) any court order enjoins, restrains, or
         prevents Borrower from conducting all or any material part of its business;

                8.20 Dissolution. Any order, judgment or decree shall be entered against Debtor
         decreeing the dissolution or split up of Debtor and such order shall remain undischarged or
         unstayed for a period in excess of thirty (30) days;

                 8.21 Other Agreements. Other than defaults caused by the filing of the Bankruptcy
         Case, there is, under any agreement to which Borrower is a party with a third party or parties, (a)
         any default resulting in a right by such third party or parties, whether or not exercised, to
         accelerate the maturity of any Indebtedness in an amount individually or in the aggregate in
         excess of One Hundred Thousand Dollars ($100,000); or (b) a default under any agreement
         which either generates revenues for Borrower or which Borrower pays fees in an amount,
         individually or in the aggregate, in excess of One Hundred Thousand Dollars ($100,000);

                 8.22 Judgments; Penalties. One or more fines, penalties or final judgments, orders,
         or decrees for the payment of money in an amount, individually or in the aggregate, of at least
         One Hundred Thousand Dollars ($100,000) (not covered by independent third-party insurance as
         to which liability has been accepted by such insurance carrier) shall be rendered against
         Borrower by any Governmental Authority, and the same are not, within ten (10) days after the
         entry, assessment or issuance thereof, discharged, satisfied, or paid, or after execution thereof
         stayed or bonded pending appeal, or such judgments are not discharged prior to the expiration of
         any such stay (provided that no DIP Advances will be made prior to the satisfaction, payment,
         discharge, stay, or bonding of such fine, penalty, judgment, order, or decree);

                 8.23 Misrepresentations. Borrower or any Person acting for Borrower makes any
         representation, warranty or other statement now or later in this Agreement, any Loan Document
         or in any writing delivered to Bank or to induce Bank to enter this Agreement or any Loan
         Document, and such representation, warranty, or other statement is incorrect in any material
         respect when made;

                8.24 Governmental Approvals. Any material Governmental Approval shall have
         been (a) revoked, rescinded, suspended, modified in an adverse manner or not renewed in the
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         ordinary course for a full term, in each case such that it could reasonably be expected to cause a
         Material Adverse Change or (b) subject to any decision by a Governmental Authority that
         designates a hearing with respect to any applications for renewal of any of such material
         Governmental Approval or that could reasonably be expected to result in the Governmental
         Authority taking any of the actions described in clause (a) above, and such decision or such
         revocation, rescission, suspension, modification or non-renewal (i) causes, or could reasonably
         be expected to cause, a Material Adverse Change, or (ii) adversely affects the legal qualifications
         of Borrower or any of its Subsidiaries to hold such material Governmental Approval in any
         applicable jurisdiction and such revocation, rescission, suspension, modification or non-renewal
         could reasonably be expected to affect the status of or legal qualifications of Borrower or any of
         its Subsidiaries to hold any material Governmental Approval in any other jurisdiction.

         9      BANK’S RIGHTS AND REMEDIES

                 9.1    Rights and Remedies. Five (5) Business Days after the delivery by Bank to the
         Debtor and its counsel (via email or otherwise) of a written notice (a “Remedies Notice”) of the
         occurrence of an Event of Default (the “Remedies Notice Period”), in each case delivered in
         accordance with the Financing Order, unless the Bankruptcy Court orders otherwise provide, the
         automatic stay under Section 362 of the Bankruptcy Code will be automatically lifted as of 12:00
         a.m. prevailing Eastern Time on the sixth (6th) day after the date on which the Remedies Notice
         is delivered to allow Bank to take any and all actions permitted by the Loan Documents and
         applicable law, as if no case were pending under the Bankruptcy Code. Borrower, the United
         States Trustee, and/or the Committee may contest the existence or continuation of an Event of
         Default during the Remedies Notice Period by filing an expedited motion in the Bankruptcy
         Court requesting a determination that an Event of Default has not occurred or is not continuing.
         Nothing in this paragraph shall limit the ability of Borrower and other parties-in-interest to
         timely request any such expedited hearing on a motion seeking such a finding, and Bank shall
         consent to the conduct of such expedited hearing (but not to the relief being sought therein).
         Upon the delivery of a Remedies Notice, (x) Borrower shall have no right to use any proceeds of
         the Collateral other than to satisfy the Obligations and the Carve Out, provided, that, during the
         Remedies Notice Period, the Debtor may use Cash Collateral solely to meet payroll obligations
         (other than severance) and pay expenses that the DIP Financing Parties approve as critical to
         keeping the Debtor’s business operating in accordance with the Budget, or as otherwise agreed
         by the DIP Financing Parties in their sole discretion, and (y) Bank shall be entitled to:

                       (a)   declare all Obligations to be immediately due and owing, without
         presentment, demand, protest or other notice of any kind, all of which are hereby expressly
         waived by Borrower;

                        (b)     declare the DIP Commitment to be terminated and stop advancing money
         or extending credit for Borrower’s benefit under this Agreement;

                       (c)    verify the amount of, demand payment of and performance under, and
         collect any Accounts and General Intangibles, settle or adjust disputes and claims directly with
         Account Debtors for amounts on terms and in any order that Bank consider advisable, notify any
         Person owing Borrower money of Bank’s security interest in such funds;

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                         (d)    make any payments and do any acts it considers necessary or reasonable to
         protect the Collateral and/or its security interest in the Collateral. Borrower shall assemble the
         Collateral if Bank requests and make it available as Bank designates. Bank may enter premises
         where the Collateral is located, take and maintain possession of any part of the Collateral, and
         pay, purchase, contest, or compromise any Lien that appears to be prior or superior to its security
         interest and pay all expenses incurred. Borrower grants Bank a license to enter and occupy any
         of its premises, without charge, to exercise any of Bank’s rights or remedies;

                          (e)   apply to the Obligations (i) any balances and deposits of Borrower it
         holds, or (ii) any amount held by Bank owing to or for the credit or the account of Borrower;

                         (f)     ship, reclaim, recover, store, finish, maintain, repair, prepare for sale,
         advertise for sale and sell the Collateral. Bank is hereby granted a non-exclusive, royalty-free
         license or other right to use, without charge, Borrower’s labels, Patents, Copyrights, mask works,
         rights of use of any name, trade secrets, trade names, Trademarks, and advertising matter, or any
         similar property as it pertains to the Collateral, in completing production of, advertising for sale,
         and selling any Collateral and, in connection with Bank’s exercise of their rights under this
         Section 9, Borrower’s rights under all licenses and all franchise agreements inure to Bank’s
         benefit;

                         (g)     deliver a notice of exclusive control, any entitlement order, or other
         directions or instructions pursuant to any agreement providing control of any Collateral;

                         (h)    demand and receive possession of Borrower’s Books; and

                         (i)    exercise all rights and remedies available to Bank under the Loan
         Documents or at law or equity, including all remedies provided under the Code (including
         disposal of the Collateral pursuant to the terms thereof).

                        Notwithstanding the provisions of Section 362 of the Bankruptcy Code, and
         without any application, motion, or notice to, hearing before or order from, the Bankruptcy
         Court,upon the occurrence of any Event of Default (x) the DIP Commitment shall terminate, (y)
         all Obligations shall become immediately due and payable, and (z) subject to the expiration of
         the Remedies Notice Period (as applicable), Bank may enforce any and all Liens created
         pursuant to this Agreement and otherwise exercise any and all rights and remedies provided
         under the Loan Documents and/or applicable law, all without presentment, demand, protest or
         other requirements of any kind, all of which are hereby expressly waived by Debtor.

                 Upon the occurrence of an Event of Default and the exercise by Bank of its rights and
         remedies under this Agreement and the other Loan Documents and applicable law, Debtor shall
         assist Bank in effecting a disposition of the Collateral upon such terms as are reasonably
         acceptable to Bank. The rights provided for in this Agreement and the other Loan Documents
         are cumulative and are not exclusive of any other rights, powers, privileges or remedies provided
         by law or in equity, or under any other instrument, document or agreement now existing or
         hereafter arising.

                9.3     Power of Attorney. Borrower hereby irrevocably appoints Bank as its lawful
         attorney-in-fact, exercisable upon the occurrence and during the continuance of an Event of
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         Default, to: (a) endorse Borrower’s name on any checks or other forms of payment or security;
         (b) sign Borrower’s name on any invoice or bill of lading for any Account or drafts against
         Account Debtors; (c) settle and adjust disputes and claims about the Accounts directly with
         Account Debtors, for amounts and on terms Bank determines reasonable; (d) make, settle, and
         adjust all claims under Borrower’s insurance policies; (e) pay, contest or settle any Lien, charge,
         encumbrance, security interest, and adverse claim in or to the Collateral, or any judgment based
         thereon, or otherwise take any action to terminate or discharge the same; and (f) transfer the
         Collateral into the name of Bank or a third party as the Code permits. Borrower hereby appoints
         Bank as its lawful attorney-in-fact to sign Borrower’s name on any documents necessary to
         perfect or continue the perfection of Bank’s security interest in the Collateral, regardless of
         whether an Event of Default has occurred, until all Obligations have been satisfied in full and
         Bank is under no further obligation to make DIP Advances hereunder. Bank’s foregoing
         appointment as Borrower’s attorney in fact, and all of Bank’s rights and powers, coupled with an
         interest, are irrevocable until all Obligations have been fully repaid and performed and Bank’s
         obligation to provide DIP Advances terminates.

                9.4      Reserved.

                 9.5     Application of Payments and Proceeds Upon Default. If an Event of Default
         has occurred and is continuing, Bank shall have the right to apply in any order any funds in their
         possession, whether from Borrower account balances, payments, proceeds realized as the result
         of any collection of Accounts or other disposition of the Collateral, or otherwise, to the
         Obligations. Bank shall pay any surplus to Borrower or to other Persons legally entitled thereto;
         Borrower shall remain liable to Bank for any deficiency. If Bank, directly or indirectly, enter
         into a deferred payment or other credit transaction with any purchaser at any sale of Collateral,
         Bank shall have the option, exercisable at any time, of either reducing the Obligations by the
         principal amount of the purchase price or deferring the reduction of the Obligations until the
         actual receipt by Bank of cash therefor.

                9.6      Bank’s Liability for Collateral. Beyond the exercise of reasonable care in the
         custody and preservation thereof to the extent required by applicable law, including Article 9 of
         the UCC, Bank will have no duty as to any Collateral in its possession or control or in the
         possession or control of any sub-agent or bailee or any income therefrom or as to the
         preservation of rights against prior parties or any other rights pertaining thereto. Bank will be
         deemed to have exercised reasonable care in the custody and preservation of the Collateral in its
         possession or control if such Collateral is accorded treatment substantially equal to that which it
         accords its own similar property, and shall not be liable or responsible for: (a) the safekeeping of
         the Collateral; (b) any loss or damage to the Collateral; (c) any diminution in the value of the
         Collateral; or (d) any act or default of any carrier, warehouseman, bailee, or other Person.
         Borrower bears all risk of loss, damage or destruction of the Collateral.

                 9.7     No Waiver; Remedies Cumulative. Bank’s failure, at any time or times, to
         require strict performance by Borrower of any provision of this Agreement or any other Loan
         Document shall not waive, affect, or diminish any right of Bank thereafter to demand strict
         performance and compliance herewith or therewith. No waiver hereunder shall be effective
         unless signed by the party granting the waiver and then is only effective for the specific instance
         and purpose for which it is given. Bank’s rights and remedies under this Agreement and the
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         other Loan Documents are cumulative. Bank has all rights and remedies provided under the
         Code, by law, or in equity. Bank’s exercise of one right or remedy is not an election and shall
         not preclude Bank from exercising any other remedy under this Agreement or other remedy
         available at law or in equity, and Bank’s waiver of any Event of Default is not a continuing
         waiver. Bank’s delay in exercising any remedy is not a waiver, election, or acquiescence.

                 9.8   Demand Waiver. Borrower waives demand, notice of default or dishonor, notice
         of payment and nonpayment, notice of any default, nonpayment at maturity, release,
         compromise, settlement, extension, or renewal of accounts, documents, instruments, chattel
         paper, and guarantees held by Bank on which Borrower is liable.

         10     NOTICES

                 All notices, consents, requests, approvals, demands, or other communication by any party
         to this Agreement or any other Loan Document must be in writing and shall be deemed to have
         been validly served, given, or delivered: (a) upon the earlier of actual receipt and three (3)
         Business Days after deposit in the U.S. mail, first class, registered or certified mail return receipt
         requested, with proper postage prepaid; (b) upon transmission, when sent by electronic mail; (c)
         one (1) Business Day after deposit with a reputable overnight courier with all charges prepaid; or
         (d) when delivered, if hand-delivered by messenger, all of which shall be addressed to the party
         to be notified and sent to the address, or email address indicated below. Bank or Borrower may
         change its mailing or electronic mail address by giving the other party written notice thereof in
         accordance with the terms of this Section 10.

                         If to Borrower:        uBiome, Inc.
                                                360 Langton Street, No. 301
                                                San Francisco, CA 94103
                                                Attn: Curtis Solsivig III
                                                Email: [________]

                         With a copy to:        Young Conaway Stargatt & Taylor, LLP
                                                Rodney Square
                                                1000 North King Street
                                                Wilmington, DE 19382
                                                Attn: Joseph M. Barry, Esquire
                                                       Andrew L. Magaziner, Esquire
                                                Email: jbarry@ycst.com
                                                       amagaziner@ycst.com

                         If to Bank:            Silicon Valley Bank
                                                505 Howard Street, 3rd Floor
                                                San Francisco, California 94105
                                                Attn: Justin Mauch
                                                Email: jmauch@svb.com

                         With a copy to:        Morrison & Foerster LLP
                                                200 Clarendon Street, 20th Floor
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                                             Boston, Massachusetts 02116
                                             Attn: David A. Ephraim, Esquire
                                                    Alexander G. Rheaume, Esquire
                                                    Todd M. Goren, Esquire
                                             Email: DEphraim@mofo.com
                                                    arheaume@mofo.com
                                                    tgoren@mofo.com

         11     CHOICE OF LAW, VENUE, JURY TRIAL WAIVER AND JUDICIAL
                REFERENCE

                 Except as otherwise expressly provided in any of the Loan Documents, New York law
         and the Bankruptcy Code governs the Loan Documents without regard to principles of conflicts
         of law.

              EACH PARTY HERETO HEREBY CONSENTS AND AGREES THAT THE
         BANKRUPTCY COURT SHALL HAVE EXCLUSIVE JURISDICTION TO HEAR AND
         DETERMINE ANY CLAIMS OR DISPUTES BETWEEN DEBTOR AND BANK
         PERTAINING TO THIS AGREEMENT OR ANY OF THE OTHER LOAN
         DOCUMENTS OR TO ANY MATTER ARISING OUT OF OR RELATING TO THIS
         AGREEMENT OR ANY OF THE OTHER LOAN DOCUMENTS; PROVIDED THAT
         BANK AND DEBTORS ACKNOWLEDGE THAT ANY APPEALS FROM THE
         BANKRUPTCY COURT MAY HAVE TO BE HEARD BY A COURT OTHER THAN
         THE BANKRUPTCY COURT; PROVIDED, FURTHER, THAT NOTHING IN THIS
         AGREEMENT SHALL BE DEEMED OR OPERATE TO PRECLUDE BANK FROM
         BRINGING SUIT OR TAKING OTHER LEGAL ACTION IN ANY OTHER
         JURISDICTION TO REALIZE ON THE COLLATERAL OR ANY OTHER SECURITY
         FOR THE OBLIGATIONS, OR TO ENFORCE A JUDGMENT OR OTHER COURT
         ORDER IN FAVOR OF BANK.

              TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, DEBTOR
         AND BANK EACH WAIVE THEIR RIGHTS TO A JURY TRIAL OF ANY CLAIM OR
         CAUSE OF ACTION ARISING OUT OF OR BASED UPON THIS AGREEMENT, THE
         LOAN DOCUMENTS OR ANY CONTEMPLATED TRANSACTION, INCLUDING
         CONTRACT, TORT, BREACH OF DUTY AND ALL OTHER CLAIMS. THIS
         WAIVER IS A MATERIAL INDUCEMENT FOR EACH PARTY TO ENTER INTO
         THIS AGREEMENT. EACH PARTY HAS REVIEWED THIS WAIVER WITH ITS
         COUNSEL.

              This Section 11 shall survive the termination of this Agreement and the DIP
         Commitment.

         12     GENERAL PROVISIONS

                12.1 Termination Prior to Maturity Date; Survival. All covenants, representations
         and warranties made in this Agreement continue in full force until this Agreement has terminated
         pursuant to its terms and all Obligations have been satisfied. So long as Borrower has satisfied

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         the Obligations (other than inchoate indemnity obligations and any other obligations which, by
         their terms, are to survive the termination of this Agreement), this Agreement may be terminated
         prior to the Maturity Date by Borrower in accordance with Section 2.1.1(c). Those obligations
         that are expressly specified in this Agreement as surviving this Agreement’s termination shall
         continue to survive notwithstanding this Agreement’s termination.

                 12.2 Successors and Assigns. This Agreement binds and is for the benefit of the
         successors and permitted assigns of each Party. Borrower may not assign this Agreement or any
         rights or obligations under it without Bank’s prior written consent (which may be granted or
         withheld in Bank’s sole and absolute discretion). Bank has the right, without the consent of or
         notice to Borrower, to sell, transfer, assign, negotiate, or grant participation in all or any part of,
         or any interest in, Bank’s obligations, rights, and benefits under this Agreement and the other
         Loan Documents. Bank has the right to sell participations under this Agreement and the other
         Loan Documents, including to the Participants under the Participation Agreement.

                 12.3 Indemnification. Borrower agrees to indemnify, defend and hold Bank and each
         Participant and their respective directors, officers, employees, agents, attorneys, or any other
         Person affiliated with or representing Bank or any Participant (each, an “Indemnified Person”)
         harmless against: (i) all obligations, demands, claims, and liabilities (collectively, “Claims”)
         claimed or asserted by any other party in connection with the transactions contemplated by the
         Loan Documents; and (ii) all losses or expenses (including Bank Expenses) in any way suffered,
         incurred, or paid by such Indemnified Person as a result of, following from, consequential to, or
         arising from transactions between Bank and Borrower (including reasonable attorneys’ fees and
         expenses), except for Claims and/or losses directly caused by such Indemnified Person’s gross
         negligence or willful misconduct, in each case, as determined by a final, non-appealable
         judgment of a court of competent jurisdiction.

                 This Section 12.3 shall survive until all statutes of limitation with respect to the Claims,
         losses, and expenses for which indemnity is given shall have run.

                12.4 Time of Essence. Time is of the essence for the performance of all Obligations in
         this Agreement and any note executed by Borrower for the benefit of Bank.

                12.5 Severability of Provisions. Each provision of this Agreement is severable from
         every other provision in determining the enforceability of any provision.

                 12.6 Correction of Loan Documents. Bank may correct patent errors and fill in any
         blanks in this Agreement and the other Loan Documents consistent with the agreement of the
         parties so long as Bank provides Borrower with written notice of such correction and allows
         Borrower at least ten (10) days to object to such correction. In the event of such objection, such
         correction shall not be made except by an amendment signed by both Bank and Borrower.

                 12.7 Amendments in Writing; Waiver; Integration. No purported amendment or
         modification of any Loan Document, or waiver, discharge or termination of any obligation under
         any Loan Document, shall be enforceable or admissible unless, and only to the extent, expressly
         set forth in a writing signed by the party against which enforcement or admission is sought.
         Without limiting the generality of the foregoing, no oral promise or statement, nor any action,

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         inaction, delay, failure to require performance or course of conduct shall operate as, or evidence,
         an amendment, supplement or waiver or have any other effect on any Loan Document. Any
         waiver granted shall be limited to the specific circumstance expressly described in it, and shall
         not apply to any subsequent or other circumstance, whether similar or dissimilar, or give rise to,
         or evidence, any obligation or commitment to grant any further waiver. The Loan Documents
         represent the entire agreement about this subject matter and supersede prior negotiations or
         agreements. All prior agreements, understandings, representations, warranties, and negotiations
         between the parties about the subject matter of the Loan Documents merge into the Loan
         Documents.

                 12.8 Counterparts. This Agreement may be executed in any number of counterparts
         and by different parties on separate counterparts, each of which, when executed and delivered, is
         an original, and all taken together, constitute one Agreement.

                 12.9 Confidentiality. In handling any confidential information, Bank shall exercise
         the same degree of care that it exercises for its own proprietary information, but disclosure of
         information may be made: (a) to Bank’s Subsidiaries or Affiliates (such Subsidiaries and
         Affiliates, together with Bank, collectively, “Bank Entities”); (b) to prospective transferees or
         purchasers of any interest in the DIP Advances (provided, however, Bank shall use its best
         efforts to obtain any prospective transferee’s or purchaser’s agreement to the terms of this
         provision); (c) as required by law, regulation, subpoena, or other order; (d) as Bank considers
         appropriate in exercising remedies under the Loan Documents; and (e) to third-party service
         providers of Bank so long as such service providers have executed a confidentiality agreement
         with Bank with terms no less restrictive than those contained herein. Confidential information
         does not include information that is either: (i) in the public domain or in Bank’s possession
         when disclosed to Bank, or becomes part of the public domain (other than as a result of its
         disclosure by Bank in violation of this Agreement) after disclosure to Bank; or (ii) disclosed to
         Bank by a third party if Bank do not know that the third party is prohibited from disclosing the
         information.

                Bank Entities may use anonymous forms of confidential information for any uses not
         expressly prohibited in writing by Borrower. The provisions of the immediately preceding
         sentence shall survive termination of this Agreement.

                 12.10 Electronic Execution of Documents. The words “execution,” “signed,”
         “signature” and words of like import in any Loan Document shall be deemed to include
         electronic signatures or the keeping of records in electronic form, each of which shall be of the
         same legal effect, validity and enforceability as a manually executed signature or the use of a
         paper-based recordkeeping systems, as the case may be, to the extent and as provided for in any
         applicable law, including, without limitation, any state law based on the Uniform Electronic
         Transactions Act.

                 12.11 Captions. The headings used in this Agreement are for convenience only and
         shall not affect the interpretation of this Agreement.

                 12.12 Construction of Agreement. The parties mutually acknowledge that they and
         their attorneys have participated in the preparation and negotiation of this Agreement. In cases
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         of uncertainty this Agreement shall be construed without regard to which of the parties caused
         the uncertainty to exist.

                12.13 Relationship. The relationship of the parties to this Agreement is determined
         solely by the provisions of this Agreement. The parties do not intend to create any agency,
         partnership, joint venture, trust, fiduciary or other relationship with duties or incidents different
         from those of parties to an arm’s-length contract.

                12.14 Third Parties. Nothing in this Agreement, whether express or implied, is
         intended to: (a) confer any benefits, rights or remedies under or by reason of this Agreement on
         any persons other than the express parties to it and their respective successors and permitted
         assigns; (b) relieve or discharge the obligation or liability of any person not an express party to
         this Agreement; or (c) give any person not an express party to this Agreement any right of
         subrogation or action against any party to this Agreement.

                 12.15 Expenses.        Whether or not the transactions contemplated hereby are
         consummated, Debtor agrees to pay promptly (a) all the actual and reasonable costs and
         expenses of Bank incurred in connection with the negotiation, preparation and execution of the
         Loan Documents, the Interim Order, the Final Order, the “first day orders,” any sale or
         disposition of the Debtor’s assets, and any other documents in connection with the Bankruptcy
         Case and any consents, amendments, waivers or other modifications thereto (whether or not any
         of the transactions contemplated hereby or thereby shall be consummated); (b) all the actual and
         reasonable fees, costs and expenses of counsel to Bank in connection with the negotiation,
         preparation, execution and administration of the Loan Documents and any consents,
         amendments, waivers or other modifications thereto and any other documents or matters
         requested by Debtor; (c) all the actual and reasonable costs and expenses of creating, perfecting,
         recording, maintaining and preserving Liens in favor of Bank, including filing and recording
         fees, expenses and taxes, stamp or documentary taxes, search fees, title insurance premiums and
         reasonable fees, expenses and disbursements of counsel to Bank; (d) all the actual and
         reasonable costs and expenses (including the reasonable fees, expenses and disbursements of any
         appraisers, consultants, advisors and agents employed or retained by Bank and their counsel) in
         connection with the custody or preservation of any of the Collateral; (e) all other actual and
         reasonable costs and expenses incurred by Bank in connection with the transactions
         contemplated by the Loan Documents and any consents, amendments, waivers or other
         modifications thereto; and (f) all the costs and expenses, including reasonable attorneys’ fees and
         costs of settlement, incurred by Bank in enforcing any Obligations of or in collecting any
         payments due from Debtor hereunder or under the other Loan Documents, including fees and
         expenses incurred by such parties in connection with the monitoring and participating in the
         Bankruptcy Case.

                12.16 Release. Capitalized terms used but not refined in this Section 12.16 shall have
         the meaning ascribed to them in the Interim Order. Subject to entry of the Final Order, Borrower
         hereby stipulates and agrees that it forever, unconditionally and irrevocably releases, discharges
         and acquits the Prepetition Lender and the DIP Financing Parties and each of their respective
         successors, assigns, affiliates, subsidiaries, parents, officers, shareholders, directors, employees,
         attorneys, and agents, past, present, and future, and their respective heirs, predecessors,
         successors, and assigns (collectively, the “Releasees”) of and from any and all claims,
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         controversies, disputes, liabilities, obligations, demands, damages, expenses (including, without
         limitation, reasonable attorneys’ fees), debts, liens, actions, and causes of action of any and every
         kind whatsoever, whether arising in law or otherwise, and whether or not known or matured,
         arising out of or relating to, as applicable, the DIP Financing, the DIP Financing Documents, the
         Prepetition Facility, and the Prepetition Loan Documents, and/or the transactions contemplated
         hereunder or thereunder including, without limitation, (x) any so-called “lender liability” or
         equitable subordination claims or defenses, (y) any and all claims and causes of action arising
         under the Bankruptcy Code, and (z) any and all claims and causes of action with respect to the
         validity, priority, perfection or avoidability of the liens or claims of the DIP Lender and the
         Prepetition Lender; provided that the forgoing shall not release any claims against a Releasee
         that a court of competent jurisdiction determines results from the bad faith, gross negligence, or
         willful misconduct of such Releasee. Borrower further waives and releases any defense, right of
         counterclaim, right of set-off, or deduction to the payment of the Prepetition Loan Obligations
         and the Obligations, which Borrower now has or may claim to have, directly or indirectly against
         the Releasees, arising out of, connected with or relating to any and all acts, omissions, or events
         occurring prior to the Bankruptcy Court entering the Interim Order.

                 12.17 Parties Including Trustees; Bankruptcy Court Proceedings. This Agreement,
         the other Loan Documents, and all Liens and other rights and privileges created hereby or
         pursuant hereto or to any other Loan Document shall be binding upon Debtor, the estate of
         Debtor, and any trustee, other estate representative or any successor in interest of Debtor in the
         Bankruptcy Case or any case under Chapter 7 of the Bankruptcy Code, and shall not be subject
         to Section 365 of the Bankruptcy Code. This Agreement and the other Loan Documents shall be
         binding upon, and inure to the benefit of, the successors of Bank and its assigns, transferees and
         endorsees. The Liens created by this Agreement and the other Loan Documents shall be and
         remain valid and perfected in the event of the substantive consolidation or conversion of the
         Bankruptcy Case to a case under Chapter 7 of the Bankruptcy Code or in the event of dismissal
         of the Bankruptcy Case or the release of any Collateral from the jurisdiction of the Bankruptcy
         Court for any reason, without the necessity that Bank file financing statements or otherwise
         perfect its Liens under applicable law. Debtor may not assign, transfer, hypothecate or otherwise
         convey its rights, benefits, obligations or duties hereunder or under any of the other Loan
         Documents without the prior express written consent of Bank. Any such purported assignment,
         transfer, hypothecation or other conveyance by Debtor without the prior express written consent
         of Bank shall be void. The terms and provisions of this Agreement are for the purpose of
         defining the relative rights and obligations of Debtor and Bank with respect to the transactions
         contemplated hereby and no Person shall be a third party beneficiary of any of the terms and
         provisions of this Agreement or any of the other Loan Documents.

                 12.18 Financing Order. In the event of any conflict between the terms of this
         Agreement or any other Loan Document and any applicable Financing Order, the terms of the
         applicable Financing Order shall govern and control. Notwithstanding anything to the contrary
         herein, the security interests and Liens granted herein and pursuant to the other Loan Documents,
         shall be subordinate in all respects (including, without limitation, payment, priority, and
         performance) to any security interests and Liens with priority pursuant to the applicable
         Financing Order.


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         13     DEFINITIONS

                 13.1 Definitions. As used in the Loan Documents, the word “shall” is mandatory, the
         word “may” is permissive, the word “or” is not exclusive, the words “includes” and “including”
         are not limiting, the singular includes the plural, and numbers denoting amounts that are set off
         in brackets are negative. As used in this Agreement, the following capitalized terms have the
         following meanings:

                “Account” is any “account” as defined in the Code with such additions to such term as
         may hereafter be made, and includes, without limitation, all accounts receivable and other sums
         owing to Borrower.

                 “Account Debtor” is any “account debtor” as defined in the Code with such additions to
         such term as may hereafter be made.

                 “Affiliate” is, with respect to any Person, each other Person that owns or controls directly
         or indirectly the Person, any Person that controls or is controlled by or is under common control
         with the Person, and each of that Person’s senior executive officers, directors, partners and, for
         any Person that is a limited liability company, that Person’s managers and members.

                “Agreement” is defined in the preamble hereof.

                “Authorized Signer” is any individual listed in Borrower’s Borrowing Resolution who is
         authorized to execute the Loan Documents, including any DIP Advance request, on behalf of
         Borrower.

                “Avoidance Actions” is defined in Section 4.2(a).

                “Bank” is defined in the preamble hereof.

                 “Bank Expenses” are all invoiced audit fees and expenses, costs, and expenses
         (including reasonable attorneys’ fees and expenses) of Bank and the Participants for preparing,
         amending, negotiating, administering, defending and enforcing the Loan Documents and the
         Financing Order (including, without limitation, those incurred in connection with appeals or the
         Bankruptcy Case and those identified as Bank Expenses in Section 12.15 hereof) or otherwise
         incurred with respect to Borrower.

                 “Bank Services” are any products, credit services, and/or financial accommodations
         previously, now, or hereafter provided to Borrower or any of its Subsidiaries by Bank or any
         Bank Affiliate, including, without limitation, any letters of credit, cash management services
         (including, without limitation, merchant services, direct deposit of payroll, business credit cards,
         and check cashing services), interest rate swap arrangements, and foreign exchange services as
         any such products or services may be identified in Bank’s various agreements related thereto
         (each, a “Bank Services Agreement”).

                “Bank Services Agreement” is defined in the definition of Bank Services.

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                “Bankruptcy Case” is defined in the recitals hereto.

                 “Bankruptcy Code” means Title 11 of the United States Code, as now and hereafter in
         effect, or any applicable successor statute.

                “Bankruptcy Court” is defined in the recitals hereto.

                “Borrower” is defined in the preamble hereof.

                 “Borrower’s Books” are all Borrower’s books and records including ledgers, federal and
         state tax returns, records regarding Borrower’s assets or liabilities, the Collateral, business
         operations or financial condition, and all computer programs or storage or any equipment
         containing such information.

               “Budget” is the cash flow budget of Borrower attached hereto as Exhibit D as the same
         may be updated from time to time with the consent of Bank.

                “Business Day” is any day that is not a Saturday, Sunday or a day on which commercial
         banks in San Francisco are authorized or required by law to remain closed.

                 “Carve-Out” is an amount equal to: (i) any unpaid fees required to be paid pursuant to
         Section 1930 of title 28 of the United States Code section 1930(a)(6) (the “U.S. Trustee Fees”),
         together with any interest thereon pursuant to applicable law and any fees payable to the Clerk of
         the Court; (ii) the fees actually earned by the Debtor’s directors on account of the period prior to
         the delivery of a Carve Out Notice; (iii) until the issuance of a Carve-Out Notice (as defined in
         the Financing Order) to the extent provided for in the Budget and allowed at any time, all unpaid
         fees and expenses allowed by the Court of professionals or professional firms retained pursuant
         to Section 327 or 1103, or appointed pursuant to section 363, of the Bankruptcy Code (the “Case
         Professionals”) less the amount of any prepetition retainers received by such Case Professionals
         and not previously returned or applied to fees and expenses; and (iv) following the delivery of a
         Carve-Out Notice, to the extent provided for in the Budget allowed at any time, the payment of
         the fees and expenses of Professional Persons in an aggregate amount not to exceed $150,000.00
         less the amount of any prepetition retainers received by such Cash Professionals and not
         previously returned or applied to fees and expenses (the “Residual Carve Out”). The Carve-
         Out excludes any fees and expenses incurred in connection with (a) any action or inaction that is
         in violation of, or a default under, any of the Loan Documents or the Final Order, or (b) the
         assertion of or joinder in any claim, counterclaim, action, proceeding, application, motion,
         objection, defenses or other contested matter, the purpose of which is to seek any order,
         judgment, determination or similar relief (x) invalidating, setting aside, avoiding, or
         subordinating, in whole or in part, (i) the Obligations, including, for the avoidance of doubt,
         pursuant to the Participations, and/or the Prepetition SVB Facility, (ii) the DIP Liens and/or the
         Prepetition Liens (as such terms are defined in the Financing Order) granted by the Debtor under
         the Loan Documents and the Prepetition SVB Facility, or (iii) any of Bank’s or the Participants’
         rights under the Loan Documents, including, for the avoidance of doubt, the Participations,
         and/or the Bank’s rights under the Prepetition SVB Facility, or (y) preventing, hindering, or
         delaying, whether directly or indirectly, Bank’s assertion or enforcement of the DIP Liens or
         Prepetition Liens or realization upon any Collateral or Prepetition Collateral (as defined in the
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         Financing Order). The Residual Carve Out shall be reduced on a dollar-for-dollar basis by any
         payments of fees or expenses of the Case Professionals made after delivery of the Carve Out
         Notice in respect of fees and expenses incurred after delivery of the Carve Out Notice.

                “Cash Equivalents” means (a) marketable direct obligations issued or unconditionally
         guaranteed by the United States or any agency or any State thereof having maturities of not more
         than one (1) year from the date of acquisition; (b) commercial paper maturing no more than one
         (1) year after its creation and having the highest rating from either Standard & Poor’s Ratings
         Group or Moody’s Investors Service, Inc.; and (c) money market funds at least ninety-five
         percent (95%) of the assets of which constitute Cash Equivalents of the kinds described in
         clauses (a) and (b) of this definition.

                 “Cash Management Order” means an order of the Bankruptcy Court, in form and
         substance acceptable to Bank in its sole and absolute discretion, which among other matters
         authorizes Debtor to maintain their existing cash management and treasury arrangements or such
         other arrangements as shall be acceptable to Bank in all respects.

                 “Change in Control” means (a) at any time, any “person” or “group” (as such terms are
         used in Sections 13(d) and 14(d) of the Exchange Act) shall become, or obtain rights (whether by
         means of warrants, options or otherwise) to become, the “beneficial owner” (as defined in Rules
         13(d)-3 and 13(d)-5 under the Exchange Act), directly or indirectly, of forty-nine percent (49%)
         or more of the ordinary voting power for the election of directors of Borrower (determined on a
         fully diluted basis) other than by the sale of Borrower’s equity securities in a public offering or
         to venture capital or private equity investors so long as Borrower identifies to Bank the venture
         capital or private equity investors at least seven (7) Business Days prior to the closing of the
         transaction and provides to Bank a description of the material terms of the transaction; (b) a
         majority of the members of the Board of Directors or other equivalent governing body of
         Borrower cease to be composed of individuals (i) who were members of that Board or equivalent
         governing body on the Petition Date, (ii) whose election or nomination to that Board or
         equivalent governing body was approved by individuals referred to in clause (i) above
         constituting at the time of such election or nomination at least a majority of that Board or
         equivalent governing body or (iii) whose election or nomination to that Board or other equivalent
         governing body was approved by individuals referred to in clauses (i) and (ii) above constituting
         at the time of such election or nomination at least a majority of that Board or equivalent
         governing body; or (c) at any time, Borrower shall cease to own and control, of record and
         beneficially, directly or indirectly, one hundred percent (100%) of each class of outstanding
         capital stock of each Subsidiary of Borrower free and clear of all Liens (except Liens created by
         this Agreement and the Prepetition SVB Facility).

                “Claims” is defined in Section 12.3.

                 “Closing Date” means the date on which each of the conditions set forth in Section 3.1
         shall have been satisfied or waived in accordance with the terms hereof.

                 “Code” is the Uniform Commercial Code, as the same may, from time to time, be
         enacted and in effect in the State of New York; provided, that, to the extent that the Code is used
         to define any term herein or in any other Loan Document and such term is defined differently in
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         different Articles or Divisions of the Code, the definition of such term contained in Article or
         Division 9 shall govern; provided further, that in the event that, by reason of mandatory
         provisions of law, any or all of the attachment, perfection, or priority of, or remedies with respect
         to, Bank’s Liens on any Collateral is governed by the Uniform Commercial Code in effect in a
         jurisdiction other than the State of New York, the term “Code” shall mean the Uniform
         Commercial Code as enacted and in effect in such other jurisdiction solely for purposes of the
         provisions thereof relating to such attachment, perfection, priority, or remedies and for purposes
         of definitions relating to such provisions.

                “Collateral” is defined in Section 4.1.

               “Collateral Account” is any Deposit Account, Securities Account, or Commodity
         Account.

                “Committee” means, to the extent formed, appointed, or approved in the Bankruptcy
         Case, any official committee of unsecured creditors appointed pursuant to Section 1102 of the
         Bankruptcy Code.

                “Commodity Account” is any “commodity account” as defined in the Code with such
         additions to such term as may hereafter be made.

                  “Contingent Obligation” is, for any Person, any direct or indirect liability, contingent or
         not, of that Person for (a) any indebtedness, lease, dividend, letter of credit or other obligation of
         another such as an obligation, in each case, directly or indirectly guaranteed, endorsed, co-made,
         discounted or sold with recourse by that Person, or for which that Person is directly or indirectly
         liable; (b) any obligations for undrawn letters of credit for the account of that Person; and (c) all
         obligations from any interest rate, currency or commodity swap agreement, interest rate cap or
         collar agreement, or other agreement or arrangement designated to protect a Person against
         fluctuation in interest rates, currency exchange rates or commodity prices; but “Contingent
         Obligation” does not include endorsements in the ordinary course of business. The amount of a
         Contingent Obligation is the stated or determined amount of the primary obligation for which the
         Contingent Obligation is made or, if not determinable, the maximum reasonably anticipated
         liability for it determined by the Person in good faith; but the amount may not exceed the
         maximum of the obligations under any guarantee or other support arrangement.

                 “Copyrights” are any and all copyright rights, copyright applications, copyright
         registrations and like protections in each work of authorship and derivative work thereof,
         whether published or unpublished and whether or not the same also constitutes a trade secret.

                “Default Rate” is defined in Section 2.2(b).

                 “Deposit Account” is any “deposit account” as defined in the Code with such additions
         to such term as may hereafter be made.

                “DIP Advance” means has the meaning assigned to such term in Section 2.1.1(a).

               “DIP Commitment” means, with respect to Bank, the commitment of Bank to make DIP
         Advances on each Funding Date, expressed as an amount representing the maximum principal
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         amount of the DIP Advances to be made by Bank. The initial aggregate amount of Bank’s DIP
         Commitments is $5,000,000 plus the Final Roll-Up Amount. Such aggregate amount of Bank’s
         DIP Commitments may be increased by Bank, in its sole and absolute discretion, in accordance
         with the terms of Sections 2.1.2 and 3.2, by up to $3,000,000.

                “Dollars,” “dollars” or use of the sign “$” means only lawful money of the United States
         and not any other currency, regardless of whether that currency uses the “$” sign to denote its
         currency or may be readily converted into lawful money of the United States.

                 “Domestic Subsidiary” means a Subsidiary organized under the laws of the United
         States or any state or territory thereof or the District of Columbia.

                “Equipment” is all “equipment” as defined in the Code with such additions to such term
         as may hereafter be made, and includes without limitation all machinery, fixtures, goods,
         vehicles (including motor vehicles and trailers), and any interest in any of the foregoing.

                “ERISA” is the Employee Retirement Income Security Act of 1974, and its regulations.

                “Event of Default” is defined in Section 8.

                 “Event of Loss” means, with respect to any Property, any of the following: (a) any
         material loss, destruction or damage of such Property; (b) any pending proceedings for the
         condemnation or seizure of such material Property or for the exercise of any right of eminent
         domain; or (c) any actual condemnation, seizure or taking, by exercise of the power of eminent
         domain or otherwise, of such material Property, or confiscation of such material Property or the
         requisition of the use of such material Property. For purposes of this definition, “material” shall
         mean having a value, individually or in the aggregate, in excess of $200,000.

                “Exchange Act” is the Securities Exchange Act of 1934, as amended.

                “Extended Maturity Date” means the date that is ninety (90) days after the Closing Date
         (or such earlier date that occurs after the Original Maturity Date, as mutually agreed by Borrower
         and Bank).

                “Final Order” means an order of the Bankruptcy Court, in form and substance
         acceptable to Bank in its sole and absolute discretion, approving this Agreement and the DIP
         Advances up to an aggregate principal amount, together with the DIP Advances made under the
         Interim Order, of $13,830,000.00 (including the Final Roll-Up Amount) and the other Loan
         Documents and the Liens granted hereunder and thereunder and the other transactions
         contemplated hereby and thereby on a final basis as contemplated by the Interim Order,
         following a hearing as required by Rule 4001(c)(2) of the Federal Rules of Bankruptcy
         Procedure or such other procedures so approved by the Bankruptcy Court that are acceptable to
         Bank in its sole and absolute discretion, which shall be in full force and effect and shall not have
         been stayed, reversed, vacated or otherwise modified (other than with the consent of Bank in its
         sole and absolute discretion).



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                “Final Roll-Up Amount” means the remaining obligations outstanding at the time of the
         entry of the Final Order under the Prepetition SVB Facility in amount of approximately
         $5,830,000.00.

                 “Financing Order” means the Interim Order or the Final Order, as applicable.

                “First Priority” means, with respect to any security interest or other Lien on assets or
         other property, that such security interest or other Lien is superior to all other security interests
         and other Liens on such assets or other property, subject to Permitted Liens.

                 “Foreign Subsidiary” means any Subsidiary which is not a Domestic Subsidiary.

                “Funding Date” is any date prior to the Maturity Date on which a DIP Advance is made
         to Borrower, which shall be a Business Day.

                 “GAAP” is generally accepted accounting principles set forth in the opinions and
         pronouncements of the Accounting Principles Board of the American Institute of Certified Public
         Accountants and statements and pronouncements of the Financial Accounting Standards Board
         or in such other statements by such other Person as may be approved by a significant segment of
         the accounting profession, that are applicable to the circumstances as of the date of
         determination.

                 “General Intangibles” is all “general intangibles” as defined in the Code in effect on the
         date hereof with such additions to such term as may hereafter be made, and includes without
         limitation, all Intellectual Property, claims, income and other tax refunds, security and other
         deposits, payment intangibles, contract rights, options to purchase or sell real or personal
         property, rights in all litigation presently or hereafter pending (whether in contract, tort or
         otherwise), insurance policies (including without limitation key man, property damage, and
         business interruption insurance), payments of insurance and rights to payment of any kind.

                 “Governmental Approval” is any consent, authorization, approval, order, license,
         franchise, permit, certificate, accreditation, registration, filing or notice, of, issued by, from or to,
         or other act by or in respect of, any Governmental Authority.

                “Governmental Authority” is any nation or government, any state or other political
         subdivision thereof, any agency, authority, instrumentality, regulatory body, court, central bank
         or other entity exercising executive, legislative, judicial, taxing, regulatory or administrative
         functions of or pertaining to government, any securities exchange and any self-regulatory
         organization.

                 “Indebtedness” is (a) indebtedness for borrowed money or the deferred price of property
         or services, such as reimbursement and other obligations for surety bonds and letters of credit,
         (b) obligations evidenced by notes, bonds, debentures or similar instruments, (c) capital lease
         obligations, and (d) Contingent Obligations.

                 “Indemnified Person” is defined in Section 12.3.

                 “Initial DIP Advance” is defined in Section 2.1.1(a).
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                  “Intellectual Property” means, with respect to any Person, all of such Person’s right,
         title, and interest in and to the following:

                (a)      its URLs, domain names, Copyrights, Trademarks and Patents;

                 (b)    any and all trade secrets and trade secret rights, including, without limitation, any
         rights to unpatented inventions, know-how, operating manuals;

                (c)      any and all source code;

                (d)      any and all design rights which may be available such Person;

                 (e)     any and all claims for damages by way of past, present and future infringement of
         any of the foregoing, with the right, but not the obligation, to sue for and collect such damages
         for said use or infringement of the Intellectual Property rights identified above; and

                (f)      all amendments, renewals and extensions of any of the Copyrights, Trademarks or
         Patents.

                 “Interim Order” means the order of the Bankruptcy Court, in the form attached hereto
         as Exhibit C, entered at the initial emergency hearing in the Bankruptcy Case, approving this
         Agreement, the DIP Advances up to $3,500,000.00, the other Loan Documents and the Liens
         granted hereunder and thereunder and the other transactions contemplated hereby and thereby on
         an interim basis, which shall be in full force and effect until the entry of the Final Order, the
         other Loan Documents and the Liens granted hereunder and thereunder and the other
         transactions contemplated hereby and thereby, and which shall not have been stayed, reversed,
         vacated or otherwise modified (other than with the consent of Bank in its sole and absolute
         discretion).

                 “Inventory” is all “inventory” as defined in the Code in effect on the date hereof with
         such additions to such term as may hereafter be made, and includes without limitation all
         merchandise, raw materials, parts, supplies, packing and shipping materials, work in process and
         finished products, including without limitation such inventory as is temporarily out of
         Borrower’s custody or possession or in transit and including any returned goods and any
         documents of title representing any of the above.

                 “Investment” is any beneficial ownership interest in any Person (including stock,
         partnership interest or other securities), and any loan, advance or capital contribution to any
         Person.

                 “IP Agreement” is that certain Intellectual Property Security Agreement by and between
         Borrower and Bank dated as of the date hereof, as may be amended, modified, supplemented
         and/or restated from time to time.

                 “Letter of Intent” means a bona fide letter of intent from an unaffiliated third party that
         reflects a binding offer to acquire either (a) all or substantially of the assets and other property of
         Borrower or (b) all of the equity interests in Borrower for a purchase price that is an amount
         which is sufficient to repay the entire aggregate outstanding principal amount of the DIP
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         Advances (for the avoidance of doubt, including the principal amount of any proposed Third DIP
         Advance and the amount outstanding under the Prepetition SVB Facility to the extent not
         included in the DIP Advances), and is otherwise acceptable to Bank in all respects, as
         determined by Bank in its sole discretion.

                “Lien” is a claim, mortgage, deed of trust, levy, charge, pledge, security interest or other
         encumbrance of any kind, whether voluntarily incurred or arising by operation of law or
         otherwise against any property.

                 “Loan Documents” are, collectively, this Agreement, the IP Agreement, the Budget, the
         Financing Order, and any schedules, exhibits, certificates, notices, and any other agreements,
         documents, certificates or instruments related to this Agreement, any subordination agreement,
         any note or notes to be executed by Borrower, and any other present or future agreement by
         Borrower with or for the benefit of Bank in connection with this Agreement or any other Loan
         Document, all as amended, restated, amended and restated, supplemented or otherwise modified;
         provided, however, that no agreement entered into (other than this Agreement) regarding the
         Prepetition SVB Facility or the equity securities of Borrower or any rights or obligations of Bank
         regarding such equity securities (including but not limited to any investors’ rights agreement,
         subscription agreement, or “lock up” agreement) shall constitute Loan Documents.

                 “Material Adverse Change” is (a) a material impairment in the perfection or priority of
         Bank’s Lien in the Collateral or in the value of such Collateral; (b) a material adverse change in
         the business, operations, or condition (financial or otherwise) of Borrower; or (c) a material
         impairment of the prospect of repayment of any portion of the Obligations; provided, however,
         that the filing of the Bankruptcy Case itself and any impairments or changes resulting therefrom
         will not constitute, or be considered in determining whether there has been, a material
         impairment or material adverse change.

                 “Maturity Date” is the earliest of (i) the Original Maturity Date, unless extended in
         accordance with Sections 2.1.2 and 3.2, in which case the Maturity Date shall be the Extended
         Maturity Date, if Borrower’s option to extend the Original Maturity Date is properly exercised
         pursuant to Section 2.1.2, (ii) the effective date of a plan of reorganization for Debtor, (iii) the
         date of the consummation of a Permitted Sale, and (iv) such earlier date on which the
         Obligations are accelerated following the occurrence of an Event of Default.

                 “Net Asset Sale Proceeds” means, with respect to any Transfer, an amount equal to: (i)
         cash payments (including any cash received by way of deferred payment pursuant to, or by
         monetization of, a note receivable or otherwise, but only as and when so received) received by
         Debtor from such Transfer, minus (ii) any bona fide direct costs incurred in connection with such
         Transfer satisfied with cash payments, including income, sales, gains, or other taxes payable as a
         result of a Transfer.

                “Notice of Borrowing” is that certain form attached hereto as Exhibit B.

                 “Obligations” are the DIP Advances, the Commitment Fee, and any obligation of any
         nature of Debtor and any other obligations from time to time owed to Bank under this Agreement
         or any other Loan Document, whether for principal, interest, payments for fees, Bank Expenses,

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         indemnification or otherwise, whether or not for the payment of money, whether direct or
         indirect, absolute or contingent, due or to become due, now existing or hereafter arising and
         however acquired.

                 “Offsite Collateral” means computer equipment and cell phones and related equipment
         in the possession of employees in the ordinary course of business with an aggregate value not to
         exceed One Hundred Thousand Dollars ($100,000).

                 “Operating Documents” are, for any Person, such Person’s formation documents, as
         certified by the Secretary of State (or equivalent agency) of such Person’s jurisdiction of
         organization on a date that is no earlier than thirty (30) days prior to the Closing Date, and, (a) if
         such Person is a corporation, its bylaws in current form, (b) if such Person is a limited liability
         company, its limited liability company agreement (or similar agreement), and (c) if such Person
         is a partnership, its partnership agreement (or similar agreement), each of the foregoing with all
         current amendments or modifications thereto.

                “Original Maturity Date” means the date that is forty-five (45) days after the date of
         this Agreement.

                “Participant” means a “Participant” under the Participation Agreement.

               “Participation” and “Participations” shall have the meanings given in the Participation
         Agreement.

                “Participation Agreement” means the Participation Agreement attached hereto as
         Exhibit E providing for the participation in the Obligations, fundings, consents and approvals
         hereunder for the participants thereunder, including 8VC Fund I, L.P., a Delaware limited
         partnership, and 8VC Entrepreneurs Fund I, L.P., a Delaware limited partnership.

                 “Patents” means all patents, patent applications and like protections including without
         limitation improvements, divisions, continuations, renewals, reissues, extensions and
         continuations-in-part of the same.

                “Payment/Advance Form” is that certain form attached hereto as Exhibit B.

                “Permitted Indebtedness” is:

                     (a)         Borrower’s Indebtedness to Bank under this Agreement and the other
         Loan Documents;

                         (b)    Indebtedness under the Prepetition SVB Facility;

                         (c)    Indebtedness existing on the Petition Date and listed on Schedule 7.4;

                        (d)     any Indebtedness incurred after the Petition Date used to fully satisfy all of
         the Obligations.



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                  “Permitted Investments” are:

                        (a)     Investments (including, without limitation, Subsidiaries) existing on the
         Petition Date and listed on Schedule 7.7;

                        (b)    any other Investments specifically provided for in the Budget, subject to
         the Variance, and permitted by the Financing Order; and

                         (c)     Investments consisting of Cash Equivalents.

                  “Permitted Liens” are:

                       (a)    Liens existing on the Petition Date and shown on Schedule 7.5 or arising
         under this Agreement and the other Loan Documents;

                         (b)     Liens securing the Prepetition SVB Facility;

                         (c)     Liens for utilities and taxes not yet due and payable; and

                         (d)     Liens incurred in connection with any Indebtedness used to fully satisfy
         all of the Obligations and all amounts outstanding under the Prepetition SVB Facility.

                “Permitted Sale” is the sale of all or substantially all of Debtor’s assets and other
         property, as a going concern or otherwise in a series of transactions consummated substantially
         contemporaneously, as approved by the Bankruptcy Court pursuant to applicable provisions of
         the Bankruptcy Code for cash consideration and not subject to any financing contingencies for
         which the Net Asset Sale Proceeds thereof are sufficient to pay the Obligations and all amounts
         outstanding under the Prepetition SVB Facility in full in cash upon the consummation of such
         sale.

                  “Permitted Sale Information” is defined in Section 6.13.

                 “Person” is any individual, sole proprietorship, partnership, limited liability company,
         joint venture, company, trust, unincorporated organization, association, corporation, institution,
         public benefit corporation, firm, joint stock company, estate, entity or government agency.

                  “Petition Date” is defined in the recitals hereto.

                “Prepetition SVB Facility” is the Loan and Security Agreement, dated as of February
         24, 2017, between Bank and the Borrower, as amended prior to the Petition Date.

                “Property” is any interest in any kind of property or asset, whether real, personal or
         mixed, and whether tangible or intangible.

                  “Remedies Notice Period” has the meaning ascribed to such term in the Financing
         Order.

                “Requirement of Law” is as to any Person, the organizational or governing documents
         of such Person, and any law (statutory or common), treaty, rule or regulation or determination of
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         an arbitrator or a court or other Governmental Authority, in each case applicable to or binding
         upon such Person or any of its property or to which such Person or any of its property is subject.

                “Responsible Officer” is any of the Chief Executive Officer, President, Chief Financial
         Officer, Chief Operating Officer, Chief Technical Officer, Controller or Chief Restructuring
         Officer of Borrower.

                 “Restricted License” is any material license or other similar agreement relating to the
         use of Intellectual Property with respect to which Borrower is the licensee (a) that prohibits or
         otherwise restricts Borrower from granting a security interest in Borrower’s interest in such
         license or agreement or any other property, or (b) for which a default under or termination of
         could interfere with Bank’s right to sell any Collateral.

                “Sale LOI” is defined in Section 2.1.2.

                “Second DIP Advance” is defined in Section 2.1.1(a).

                “Securities Account” is any “securities account” as defined in the Code with such
         additions to such term as may hereafter be made.

                 “Shares” is one hundred percent (100%) (sixty-five percent (65%) in the case of a first
         tier Foreign Subsidiary) of the issued and outstanding capital stock, membership units or other
         securities owned or held of record by Borrower, in any Subsidiary.

                 “Subsidiary” is, as to any Person, a corporation, partnership, limited liability company or
         other entity of which shares of stock or other ownership interests having ordinary voting power
         (other than stock or such other ownership interests having such power only by reason of the
         happening of a contingency) to elect a majority of the board of directors or other managers of
         such corporation, partnership or other entity are at the time owned, or the management of which
         is otherwise controlled, directly or indirectly through one or more intermediaries, or both, by
         such Person. Unless the context otherwise requires, each reference to a Subsidiary herein shall
         be a reference to a Subsidiary of Borrower.

                “Super-Priority Claims” has the meaning assigned to such term in Section 5.13(a)(i).

                “Third DIP Advance” is defined in Section 2.1.1(a)(iii).

                 “Trademarks” is any trademark and servicemark rights, whether registered or not,
         applications to register and registrations of the same and like protections, and the entire goodwill
         of the business of Borrower connected with and symbolized by such trademarks.

                “Transfer” is defined in Section 7.1.

                “Variance” is, with respect to the Budget, a percentage variance with respect to total
         projected disbursements in each then-current Budget; provided that the Variance shall not exceed
         (i) 10% on an individual basis of actual disbursements for a specific line item and (ii) 5% on an
         aggregate basis of total actual disbursements, in each case, on a cumulative four-week rolling
         basis; provided, that for the first two measuring periods following the Petition Date, the
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         percentage variance with respect to projected disbursements in each then-current Budget shall
         not exceed (a) 15% on an individual basis of actual disbursements for a specific line item and (b)
         10% on an aggregate basis of total actual disbursements.

                                             [Signature page follows.]




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                IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
         executed as of the Closing Date.


         BORROWER:

         UBIOME, INC.


         By: _________________________________
             Name: ___________________________
             Title: ____________________________


         BANK:

         SILICON VALLEY BANK


         By: ________________________________
            Name:    Justin Mauch
            Title:   Director




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                           [Signature Page to DIP Loan and Security Agreement]
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                                                    SCHEDULE 5.2

                                    COLLATERAL; OPERATING ACCOUNTS

         Operating Bank Accounts:


         Institution Name         Accounts            Average Monthly Balance in         Name of
         and Address              Number              Account                            Account Owner
         Silicon Valley           various             $10,000,000; Last 3 months         uBiome, inc.
         Bank
         Chase                    222253889           De minimus, Pass through           uBiome, inc.
                                                      account for third-party checks
         Scotiabank               97-36811-84         $350K; approximately one           uBiome, SA
                                  (Chilean pesos)     month's expenses
         Scotiabank               0-9097-37231-22     Zero; used for transfers from      uBiome, SA
                                  (US dollar)         US
         ITAU                     210384026           Zero; keeping account open for     uBiome, SA
                                  (Chilean pesos)     convenience



         Intellectual Property that is licensed or otherwise not owned by uBiome:


         Third-Party Software
         Name            Associated       Software Link       Link to license         Pipeline
                         Paper
         Swarm           https://peerj.com https://github.com https://github.com/to Clustering of reads in
                         /articles/593/    /torognes/swarm rognes/swarm/blob/ 16S pipeline
                                                              master/LICENSE
         VSEARCH https://peerj.com https://github.com https://github.com/to Annotation in 16S
                 /articles/2584/ /torognes/vsearch rognes/vsearch/blob/ pipeline
                                                      master/LICENSE.txt
         CutAdapt        https://journal.e https://github.com https://github.com/m Remove adapters in
                         mbnet.org/index /marcelm/cutadapt arcelm/cutadapt/blob metagenomics
                         .php/embnetjour                      /master/LICENSE      pipeline
                         nal/article/view/
                         200
         KrakenUni https://genomebi https://github.com        https://github.com/fb   Taxonomic
         que       ology.biomedce /fbreitwieser/krak          reitwieser/krakenuni    classification in
                   ntral.com/article enuniq                   q/blob/master/LICE      metagenomics clinical
                   s/10.1186/s1305                            NSE                     pipeline
                   9-018-1568-0

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         Centrifuge https://genome.c https://github.com https://github.com/D Taxonomic
                    shlp.org/content/ /DaehwanKimLab aehwanKimLab/centr classification in
                    early/2016/11/1 /centrifuge         ifuge/blob/master/LI metagenomics
                    6/gr.210641.116                     CENSE                ExplorerPlus pipeline
                    .abstract
         BWA             https://academic https://github.com https://github.com/lh Mapping step in
                         .oup.com/bioinf /lh3/bwa            3/bwa/blob/master/R metatranscriptomics
                         ormatics/article/                   EADME.md              (Probes pipeline)
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         Bowtie2         https://www.nat https://github.com https://github.com/B Detection human
                         ure.com/articles/ /BenLangmead/bo enLangmead/bowtie2 reads in Human
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                                                            SE
         iAdmix          https://bmcbioin https://github.com https://github.com/vi Ancestry inference in
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                         dcentral.com/art                    master/LICENSE        pipeline
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                         2859-014-0418-
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         MAFFT           https://academic https://mafft.cbrc.j https://mafft.cbrc.jp/a Multiple alignment
                         .oup.com/nar/art p/alignment/softw lignment/software/lic step for probes and
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                   abs/1207.3907 /ekg/freebayes          g/freebayes/blob/mas SNP pipeline
                                                         ter/LICENSE
         PICRUSt         https://www.nat https://github.com https://github.com/pi Functional prediction
                         ure.com/articles/ /picrust/picrust crust/picrust/blob/ma in 16S pipeline
                         nbt.2676                           ster/LICENSE

         Restricted Licenses to which uBiome is party:

         N/A




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                                                  SCHEDULE 5.4

                                                  NO DEFAULTS



                1. Lease with S-E, Inc. - 18110 SE 34th Street, Building Two, Suite ZZZ, Vancouver, WA
                   98683, dated October 31, 2018.

                2. Master Lease Agreement dated September 15, 2014 with Illumina Capital, a program of
                   De Lage Financial Services.

                3. Canon unified lease agreement, #ULS 5067 | 450 01, dated September 4, 2018.

                4. SalesForce Order form, Quote number Q-01745793, dated 5/11/18.

                5. SalesForce Order form, Quote number Q-01901878, dated 5/11/18.

                6. SalesForce Order form, Quote number Q-02278389, dated 5/11/18.




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                                                 SCHEDULE 5.5

                                                  LITIGATION

         The Federal Bureau of Investigation (the “FBI”) opened an investigation into Borrower’s
         business practices on April 26, 2019. Certain other federal and state agencies, including the U.S.
         Department of Justice and the Securities and Exchange Commission, have similarly commenced
         investigations            into            Borrower’s               business             practices.




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                                                   SCHEDULE 6.5

                                                     INSURANCE


                     Policy                Insurer                Policy Number          Effective Date;
                                                                                         Months Covered
                General Liability      Federal Insurance            3605-90-97              04/28/2019;
                                           Company                                           18 months
                Umbrella Liability     Federal Insurance            7819-03-67              04/28/2019;
                                           Company                                           18 months
                  Auto Liability       Federal Insurance            7360-89-27              04/28/2019;
                                           Company                                           18 months
                 Cyber Liability       Travelers Bond &             107094842                5/21/2019;
                                      Specialty Insurance                                    17 months
            Kidnap, Ransom &            Great American           KR E376858 02 00           8/21/2019;
            Extortion Liability       Insurance Company                                      12 months
             Crime Liability            Great American           SAAE3769010000              8/21/2018;
                                      Insurance Company                                      15 months
                Products Liability     Lloyd’s of London          W25251180101               11/1/2018;
                                                                                             12 months
                    Property           Federal Insurance            3605-90-97              04/28/2019;
                                           Company                                           18 months
           Directors and Officers      Lloyd’s of London          FSUSC1903036               7/10/2019;
                  Liability                                                                  12 months
           Directors and Officers     Starstone Specialty         H89319180ASP               7/10/2019;
          Supplemental Extended       Insurance Company                                      36 months
             Reporting Period
          Management Liability;      The Hartford Insurance      57-KB-0336679-19           04/28/2019;
               Fiduciary; and              Company                                           18 months
          Employment Practices
                  Liability
                   Workers’           Chubb Indemnity               7177-14-40              04/28/2019;
                 Compensation        Insurance Company                                       18 months




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                                               SCHEDULE 7.4

                                       PERMITTED INDEBTEDNESS



                None, other than Prepetition SVB Facility




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                                                    SCHEDULE 7.5

                                                 PERMITTED LIENS



                   Liens, if any, securing or arising under or in connection with any of the following:

                1. Commercial Multi-Tenant Lease for 360 Langton Suite 301 to 305, between uBiome Inc.
                   and Laurance O and Jeannette O Matthews Family Trust, dated June 2, 2014.

                2. Commercial Single-Tenant Lease for 1201 25th St, San Francisco, CA, 94107, between
                   uBiome, Inc. and Nicholas L. Bates, trustee of the Susan M. Bates 2001 Revocable Trust
                   dated 7.31.2001, dated December 1, 2017.

                3. Taxing authorities:

                       a. California Department of Tax and Fee Administration, 450 N. St, San Francisco,
                          CA, 95814, USA.

                       b. Delaware Division of Revenue, 820 N. French Street, Wilmington, DE 19801.

                       c. Internal Revenue Service, P.O. Box 7704, San Francisco, CA, 94120.

                       d. Massachusetts Department of Revenue, 100 Cambridge Street, Boston, MA,
                          02114.

                       e. San Francisco Tax Collector, P.O. Box 7427, San Francisco, CA 94120.

                4. Government Regulatory Entities for uBiome, Inc.

                       a. US Federal Government, CMS: Federal Clinical Laboratory Regulation.

                       b. CA Laboratory Filed Services: CA state clinical laboratory regulation (for
                          samples processed from that state)

                       c. RI Department of Health: RI state clinical laboratory regulation (for samples
                          processed from that state)

                       d. PA Department of Health: PA state clinical laboratory regulation (for samples
                          processed from that state)




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                                                   SCHEDULE 7.7

                                           PERMITTED INVESTMENTS



                1. Investment in uBiome Chile SPA (subsidiary) for $1,347,987.71.

                2. Investment in uBiome Arg SAS (subsidiary) for $910,459,22.

                3. Investment in SoilGene, Inc. for $200,000.




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                                                   EXHIBIT A

         The Collateral consists of all of Borrower’s right, title and interest in and to the following
         personal property:

                 All tangible and intangible property and assets, whether real or personal, of the Debtor,
         including, without limitation, all goods, Accounts (including health-care receivables),
         Equipment, Intellectual Property, Inventory, contract rights or rights to payment of money,
         leases, license agreements, franchise agreements, General Intangibles (except as provided
         below), commercial tort claims, documents, instruments (including any promissory notes),
         chattel paper (whether tangible or electronic), cash, deposit accounts, fixtures, letters of credit
         rights (whether or not the letter of credit is evidenced by a writing), securities, and all other
         investment property, supporting obligations, and financial assets, interests in leases and
         leaseholds, interests in real property, and fixtures, whether now owned or hereafter acquired,
         wherever located, whether existing on the Petition Date or thereafter acquired;

                 and all Borrower’s Books relating to the foregoing, and any and all claims, rights and
         interests in any of the above and all substitutions for, additions, attachments, accessories,
         accessions and improvements to and replacements, products, proceeds and insurance proceeds of
         any or all of the foregoing; and

                the           proceeds            of           all           Avoidance             Actions.




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                                                                            EXHIBIT B

                                            EXHIBIT B –PAYMENT/ADVANCE REQUEST FORM
                                   DEADLINE FOR SAME DAY PROCESSING IS NOON PACIFIC TIME

   Fax To:                                                                                                       Date: _____________________

   LOAN PAYMENT:               uBiome, Inc.
   From Account #________________________________                  To Account #__________________________________________________
                         (Deposit Account #)                                                               (Loan Account #)
   Principal $____________________________________                 and/or Interest $________________________________________________
   Authorized Signature:                                                      Phone Number:
   Print Name/Title:



   LOAN ADVANCE:
   Complete Outgoing Wire Request section below if all or a portion of the funds from this loan advance are for an outgoing wire.
   From Account #________________________________                     To Account #__________________________________________________
                          (Loan Account #)                                                              (Deposit Account #)
   Amount of Advance $___________________________
   All Borrower’s representations and warranties in the Senior Secured, Super Priority Debtor In Possession Term Loan and Security Agreement are true, correct
   and complete in all material respects on the date of the request for an advance; provided, however, that such materiality qualifier shall not be applicable to any
   representations and warranties that already are qualified or modified by materiality in the text thereof; and provided, further that those representations and
   warranties expressly referring to a specific date shall be true, accurate and complete in all material respects as of such date:

   Authorized Signature:                                                       Phone Number:
   Print Name/Title:



   OUTGOING WIRE REQUEST:
   Complete only if all or a portion of funds from the loan advance above is to be wired.
   Deadline for same day processing is noon, Pacific Time

   Beneficiary Name: _____________________________                             Amount of Wire: $
   Beneficiary Bank: ______________________________                            Account Number:
   City and State:
   Beneficiary Bank Transit (ABA) #:                                       Beneficiary Bank Code (Swift, Sort, Chip, etc.):
                                                                                   (For International Wire Only)
   Intermediary Bank:                                                      Transit (ABA) #:
   For Further Credit to:
   Special Instruction:

   By signing below, I (we) acknowledge and agree that my (our) funds transfer request shall be processed in accordance with and subject to the terms and
   conditions set forth in the agreements(s) covering funds transfer service(s), which agreements(s) were previously received and executed by me (us).

   Authorized Signature: ___________________________               2nd Signature (if required): _______________________________________
   Print Name/Title: ______________________________                Print Name/Title: ______________________________________________
   Telephone #:                                                    Telephone #:




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                                            EXHIBIT C

                                         INTERIM ORDER

                                            (See attached)




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                                            EXHIBIT D

                                         INITIAL BUDGET

                                            (See attached)




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                                            EXHIBIT E

                                  PARTICIPATION AGREEMENT

                                            (See attached)




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                                       Exhibit E to DIP Loan Agreement

                                   FORM OF PARTICIPATION AGREEMENT

                 This PARTICIPATION AGREEMENT (this “Agreement”) is entered into as of
         September __, 2019, by and among Silicon Valley Bank, a California corporation (in its capacity
         as the lender under the DIP Loan Agreement (as defined below), “SVB” or the “Seller”) and
         8VC Fund I, L.P., a Delaware limited partnership, and 8VC Entrepreneurs Fund I, L.P., a
         Delaware limited partnership (together the “Participants”, and each a “Participant”) and agreed
         and consented to by uBiome, Inc, a Delaware corporation and a debtor and debtor in possession.

                                               W I T N E S S E T H:

                WHEREAS, on September 4, 2019 (the “Petition Date”), uBiome, Inc, a Delaware
         corporation and a debtor and debtor in possession filed a voluntary petition with the United
         States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) initiating its
         pending case under Chapter 11 of the Bankruptcy Code (the “Bankruptcy Case”) and has
         continued in the possession of its assets and in the management of its business pursuant to
         Sections 1107 and 1108 of the Bankruptcy Code;

                 WHEREAS, Debtor has requested that Seller provide an aggregate amount of up to
         $13,830,000.00, in a multiple-draw, non-amortizing term loan facility pursuant to a senior
         secured, super priority debtor in possession term loan and security agreement dated as of the date
         hereof (the “DIP Loan Agreement”); and

                WHEREAS, Each Participant hereby agrees to acquire from the Seller and the Seller
         agrees to sell to each Participant, a participation interest in the DIP Advances, subject to the
         terms and conditions of this Agreement.

                NOW, THEREFORE, in consideration of the premises and of the mutual covenants
         contained herein, the Seller and the Participants hereby agree as follows:

                1.      Definitions. All capitalized terms used but not otherwise defined herein shall
         have the respective meanings ascribed to such terms in the DIP Loan Agreement. The following
         terms have the meanings set forth below:

                 “Other Participant” is any person who becomes a participant hereunder by assignment,
         participation, sub-participation, sale or transfer as provided in Section 10.

                “Paid in Full” and “Payment in Full” is (i) with respect to all Obligations that are subject
         to the Participations, the repayment in full by Borrowers to the Seller in cash or immediately
         available funds of the aggregate outstanding amount of such Obligations, and (ii) with respect to
         the Senior Obligations, the payment in full by Borrowers to the Seller in cash or immediately
         available funds of all Senior Obligations held by Seller (other than unasserted contingent
         indemnification obligations).

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                 “Pari Passu Obligations” are (a) 50% of all amounts owed to Seller pursuant to the
         Prepetition SVB Facility, including without limitation, principal, accrued interest, fees, and
         unreimbursed costs and expenses, and (b) 50% all DIP Advances used following the entry of the
         Final Order to refinance or repay amounts owed to Seller pursuant to the Prepetition SVB
         Facility, including without limitation, principal, accrued interest, fees, and unreimbursed costs
         and expenses. The Pari Passu Obligations shall not include the Senior Obligations.

               “Participant Share” with respect to 8VC Fund I, L.P., a Delaware limited partnership, is
         98.4%, and with respect to 8VC Entrepreneurs Fund I, L.P., a Delaware limited partnership, is
         1.6%.

                 “Senior Obligations” are, collectively, (a) all DIP Advances and interest and fees thereon
         (including DIP Advances used to refinance and repay any obligations under the Prepetition SVB
         Facility following the entry of the Final Order) that are not Pari Passu Obligations and are not
         subject to the Participations; (b) all amounts owed to Seller pursuant to the Prepetition SVB
         Facility, including without limitation, principal, accrued interest, fees, and unreimbursed costs
         and expenses that are not Pari Passu Obligations, and (c) all amounts owed to Seller for Bank
         Services.

                 2.         Agreement to Purchase the Participation.

                        (a)     The Seller hereby sells, transfers and assigns to the Participants at par, and
         the Participants hereby purchase from the Seller at par, without recourse or representation of any
         kind provided by the Seller (except as expressly set forth herein), and each Participant agrees to
         fund as and when required hereunder, its Participant Share of a participation in an amount up to
         $6,500,000 of the DIP Advances as follows:

                 Initial DIP Advance:            $2,800,000.00

                 Second DIP Advance:             $1,200,000.00

                 Third DIP Advance:              83.33% of funded amount of Third DIP Advance.

                        (b)     The participations purchased by the Participants hereunder in the DIP
         Advances and the obligation to fund each Participant Share are sometimes referred to herein
         collectively as the “Participation” or “Participations” as the context may require. Except as
         otherwise set forth below, the Participations shall have the consent rights hereunder

                        (c)    Although the Participants may be entitled to receive, subject to the terms
         and conditions of the DIP Loan Agreement and this Agreement, payments of principal and
         interest in respect of the Participation, the Participants shall not be entitled to receive any
         payments of principal and interest under the DIP Loan Agreement, unless the Senior Obligations
         have been Paid in Full. The Participants shall, however, in all events be entitled to receive
         indemnification, costs, fees and expenses as provided in the DIP Loan Agreement and any
         Financing Order without regard to the subordination provided in this Agreement.



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                3.     Payment by the Each Participant. Each Participant shall pay to the Seller in
         immediately available funds, as consideration of the purchase of the Participation, its Participant
         Share of each DIP Advance on the first Business Day following notice from the Seller of the
         Borrower’s request for a DIP Advance, up to an aggregate amount of $6,500,000, which
         payments shall be wired to the Seller to the following account:

                                       Bank:       Silicon Valley Bank
                                       ABA #:
                                       Account #:
                                       Account Name:
                                       Reference:  uBiome, Inc.

         The Seller and the Participants agree that the Participants may fund their respective Participant
         Share of the DIP Advances directly to the Borrower on the date of the funding of such DIP
         Advances. No party hereunder shall have the obligation to fund any other party’s respective
         portion of a DIP Advance, and no Participant shall have any obligation to purchase or fund the
         Third Advance without such Participant’s express consent.

                 4.      Subordination and Pari Passu Treatment; Payments. It is understood and agreed
         that, for all purposes and in all respects, without limitation, the Participation (and any other
         participation interest purchased from time to time by the Participants in any of the other
         Obligations (collectively, the “Other Participations”; the Other Participations shall constitute
         Participations hereunder) shall at all times be and hereby are (a) subordinated in right and time of
         payment to the Senior Obligations, and no payment shall be made in respect of, the
         Participations (including, without limitation, any payments of principal or interest) unless the
         Senior Obligations have been Paid in Full. Each Participant acknowledges that interest in respect
         of the DIP Advances subject to the Participations shall accrue (which accrued interest shall not
         be capitalized and shall not accrue interest) and shall be paid to each Participant once the Senior
         Obligations have been Paid in Full, and (b) entitled to equal and pari passu treatment and priority
         in right of payment with the Pari Passu Obligations, and all payments in respect of the Pari Passu
         Obligations shall be made, and received and retained by the Seller, only with an equal and
         ratable payment on the Participations (including, without limitation, any payments of principal or
         interest).

                 Except as expressly set forth above with respect to the subordination and “last-out” and
         equal and ratable “pari passu” payment with respect to the Obligations subject to the
         Participations, the provisions of this Section 4 are intended solely for the purpose of defining the
         relative rights of the Seller on the one hand and each Participant on the other hand. Nothing
         contained in this Section 4 or elsewhere in this Agreement is intended to or shall (i) impair, as
         among the Borrower and the Seller, the obligation of the Borrower, which is absolute and
         unconditional, to pay to Seller the principal of, interest or premium (if any) on and any other
         amount payable by the Borrowers in connection with, the Obligations under the DIP Loan
         Agreement or the obligations under the Prepetition SVB Facility, as and when the same shall
         become due and payable in accordance with their respective terms; or (ii) impair, as among the
         Seller and the Participants, upon Payment in Full of all Senior Obligations, the obligation of the
         Seller to pay to the Participants all amounts of principal of and interest or premium (if any) on,
         and any other amount paid by the Borrowers on account of, the Obligations to the extent
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         collected by the Seller and relating to the Participations sold by the Seller. No provision of this
         Agreement shall be deemed to subordinate, to any extent, any claim or right of any Participant
         against the Borrowers to any claim by any creditor or any other Person (other than the Seller)
         against the Borrowers.

                 5.      Repayment by Seller. In the event that the Seller is required, for any reason, to
         return or disgorge to the Borrower or any other person all or any portion of any payment
         received by the Seller and with respect to which the Seller made a payment to a Participant, then
         the Seller shall provide written notice thereof to Participant and Participant shall promptly remit
         to the Seller such Participant’s share of the payment required to be repaid by the Seller in
         accordance with the priorities set forth in this Agreement.

                 6.      Rights and Responsibilities. Except as set forth herein, each Participant agrees
         that at any time that Senior Obligations or the Pari Passu Obligations are outstanding, the Seller
         may service the Obligations, and take any action (or refrain from taking any action) under the
         DIP Loan Agreement or any Financing Order as Seller deems appropriate in its sole discretion,
         except that (i) the Seller shall not undertake any enforcement of rights, approval, or consent
         under the DIP Loan Agreement, any Loan Document or any Financing Order (including, without
         limitation, any change, supplement or modification to, or waiver of compliance with, the Budget,
         any approval of the Sale LOI, and any determination of the amount and approval the making of
         any Third DIP Advance), without the affirmative written consent of each Participant, (ii) the
         Seller shall not, without the prior or written consent of each Participant agree to the modification,
         amendment or waiver of any of the terms of the DIP Loan Agreement, any Loan Document or
         any Financing Order, (iii) after an Event of Default, the Seller will not enforce its rights or
         remedies against the Borrower or the Collateral without the prior consent of the Participants, (iv)
         the Seller shall not credit bid in connection with any sale of the Collateral without the prior
         written consent of the Participants, (v) the Seller shall to the extent in accordance with its rights
         under the DIP Loan Agreement, any Loan Document or any Financing Order request any
         information or meetings with the Borrower as the Participant shall reasonably request in writing,
         and (vi) the Seller shall share all material documents and information provided by the Borrower
         to the Seller under the DIP Loan Agreement, any Loan Document or any Financing Order to
         each Participant promptly upon receipt, provided that the Seller shall have no obligation to share
         documents and information concerning a sale of the Borrower’s assets unless each Participant
         first confirms in writing that such Participant will not directly or indirectly be a bidder in such
         sale. No Participant shall have any consent rights under this Agreement if such Participant is in
         material default of its obligations under this Agreement, including without limitation, failing to
         comply with the funding obligations under Section 3 above, at the time such consent right is to
         be exercised, except that no Participant under any circumstances shall be obligated to fund or
         purchase any portion of the Third Advance without such Participant’s express consent. The
         Seller and the Borrower each agree that each Participant, by virtue this Agreement and the
         Participation is a party in interest in the Bankruptcy Case and shall not object to any appearance
         or right to be heard any Participant in the Bankruptcy Case on any matter, provided that such
         Participant’s rights shall at all times be subject to this Agreement, and no Participant shall take a
         position that is inconsistent with this Agreement, or that breaches or would result in a breach of
         this Agreement. With respect to the approval by the Seller of a Sale LOI, the Seller and the
         Participants acknowledge and agree that a Sale LOI that provides for the Payment in Full in cash
         at closing of all Obligations of Participants, all Senior Obligations, and all Pari Passu
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         Obligations, and all other amounts owed under the Prepetition SVB Facility, prior to the
         Maturity Date shall be acceptable to the Seller and all Participants unless the Seller and all
         Participants agree otherwise; notwithstanding, regardless of whether such Sale LOI is acceptable
         on the foregoing basis, no Participant shall have any obligation to purchase or fund the Third
         Advance without such Participant’s express consent which may be withheld in such Participant’s
         sole and absolute discretion.

                 7.      Participant Credit Bid. In the event that any one or more Participants desires to
         credit bid its interest in the DIP Advances and the Obligations, such Participants shall have the
         right to do so provided that the cash component of such bid would pay in full in cash at closing
         all unparticipated Obligations of the Seller and all outstanding Prepetition SVB Facility
         obligations, including without limitation, all Senior Obligations and all Pari Passu Obligations (a
         “Qualified Credit Bid”). In connection with such Qualified Credit Bid, immediately prior to the
         consummation of the sale pursuant to such Qualified Credit bid, the Seller shall pursuant to
         documents reasonably satisfactory to the Seller and such bidding Participants, transfer and assign
         to such Participants on an as is, no representations or warranties basis, the Seller’s interest in the
         Liens under the DIP Loan Agreement to effect such Qualified Credit Bid directly. The Borrower
         hereby consents to such assignment without the requirement of any further action by the
         Borrower.

                 8.      Standard of Care. Notwithstanding anything to the contrary set forth herein, in
         making and handling the participation, the Seller shall act in good faith and shall exercise the
         same care as it normally exercises with respect to its other loans and commitments; provided, the
         Seller shall have no liability to any Participant other than (i) disbursing proceeds of its
         Participant Share of the DIP Advances participated hereunder, but only to the extent that the
         Seller receives such proceeds, (ii) for the Seller’s material breach of this Agreement, or (ii) for
         the Seller’s fraud, gross negligence or willful misconduct. The Seller shall have no responsibility
         to Participant for the failure by the Seller to make any loan or other extension of credit to the
         Borrower or to comply with any of the Seller’s other obligations to the Borrower or any other
         party under the Loan Documents or otherwise, or for any other action taken or omitted hereunder
         or under any Loan Documents or in connection herewith or therewith. In addition, the Seller
         shall have no obligation to take any action which the Seller determines in good faith could
         violate applicable law, rule, regulation, order, the Loan Agreement or other Loan Documents or,
         in the Seller’s reasonable judgment, prejudice the Seller’s continuing relationship with any
         regulatory authority or damage Seller’s reputation or, unless and until it shall have been provided
         adequate indemnity therefor, expose the Seller to any material obligation, liability or expense. In
         connection with this Agreement, the Seller may consult with legal counsel (including counsel for
         the Borrower), independent accountants and other experts selected by it and shall not be liable
         for any action taken or omitted to be taken by it in good faith in reliance on the advice of any
         such person or entity. The Seller shall not by reason of this Agreement have a fiduciary
         relationship with Participant.

                 9.     The Participants’ Independent Investigation. Each Participant acknowledges and
         agrees to and for the benefit of the Seller that:



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                         (a)    such Participant has performed and will continue to perform (i) its own
         credit and other analysis of the Borrowers and any other entity which may have liability for the
         Loans and (ii) its own investigation of the risks involved in the transactions contemplated by (A)
         the DIP Loan Agreement and (B) entering into this Agreement and purchasing an interest in the
         DIP Advances hereunder, and such Participant is not relying and will not rely the Seller with
         respect thereto;

                        (b)    such Participant, in its capacity as a Participant, has reviewed and
         approved the form and substance of the DIP Loan Agreement to the extent deemed necessary or
         advisable by such Participant;

                       (c)    each Participant has reviewed this Agreement, the DIP Loan Agreement,
         and the Financing Order with counsel of its own choosing; and

                          (d)    the Seller has not made, the Seller shall not at any time be deemed to
         make, any representation or warranty to such Participant, express or implied, with respect to (i)
         the due execution, authenticity, legality, accuracy, completeness, delivery, validity or
         enforceability of the DIP Loan Agreement, (ii) the financial condition, solvency or
         creditworthiness of the Borrower or any other Person which may have liability for the
         Obligations, or the collectibility of all or any portion of the Obligations, (iii) the validity,
         perfection, enforceability, value or sufficiency of, or title to any security for the Obligations, or
         the filing, or recording or taking of any other actions with respect to the DIP Loan Agreement, or
         the collateral security for the Obligations, or (iv) any other matter having any relation to this
         Agreement, the Participations, the DIP Advances, the DIP Loan Agreement.

                  Each Participant represents and warrants to the Seller that: (i) it is a limited partnership
         duly organized, validly existing and in good standing under the laws of the State of Delaware;
         (ii) it has full corporate power, authority and legal right to execute and deliver, and to perform its
         obligations under, this Agreement, and has taken all necessary action to authorize the execution,
         delivery and performance of this Agreement; and (iii) this Agreement has been duly executed
         and delivered by such Participant and constitutes a legal, valid and binding obligation of such
         Initial Participant enforceable against such Participant in accordance with its terms, except to the
         extent that such enforceability is subject to applicable bankruptcy, insolvency, reorganization,
         fraudulent conveyance and moratorium laws and other laws of general application affecting
         enforcement of creditors’ rights generally, or the availability of equitable remedies, which are
         subject to the discretion of the court before which an action may be brought.

                 10.      Assignments. Neither Seller nor any Participant shall encumber, assign,
         participate, pledge, sell or otherwise transfer its interest in the Participations, any Loan
         Documents relating to the Participations, or this Agreement, or any part of any of the foregoing,
         or its duties and obligations hereunder, without the other’s prior written consent (not to be
         unreasonably withheld or delayed). No Participant shall assign, participate, sell or otherwise
         transfer its interest hereunder to any Other Participant without, so long as there is no Event of
         Default continuing under the DIP Loan Agreement, the consent of the Borrower (not to be
         unreasonably withheld or delayed). Subject to the foregoing, all of the terms, covenants,
         conditions, rights and remedies of this Agreement shall inure to the benefit of, and be binding
         upon, the successors and permitted assigns of the Seller and each Participant. Any sale,
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         assignment or transfer in violation of this Section shall be null and void.

                 11.    Relationship of Parties; Default by a Party. The Seller and the Participants
         specifically agree that in the negotiation, administration, and servicing of the Participation, the
         Seller has been and shall be an independent contractor. Neither the execution of this Agreement,
         nor the sharing in the Participation or the collateral or any Loan Documents, nor any agreement
         to share in profits or losses resulting from any transaction governed by this Agreement, nor the
         Seller’s holding of any Loan Documents, nor any other right or duty of the Seller under or
         pursuant to this Agreement, is intended to be, nor shall it be construed to be, the formation of a
         partnership or joint venture between the Seller and the Participants, or the creation of any
         express, implied or constructive trust relationship between the Seller and the Participants. The
         parties agree that the Seller is not acting as a trustee for Participant, other than as expressly set
         forth herein. A default by a party under this Agreement shall not relieve the other party of its
         obligations under any separate agreements entered into by such parties. Nothing contained in
         this Agreement shall relieve the Seller or any Participant of its liability, if any, to the other for
         damages occasioned by its default hereunder.

                 12.    Withholding Taxes. By its confirmation and acceptance of this Agreement, each
         Participant represents that it is entitled to receive any payments to be made to it hereunder
         without the withholding of any tax and that, upon the Seller’s request, such Participant will
         furnish the Seller such certifications, statements and other documents deemed reasonably
         necessary or appropriate by the Seller to evidence such Participant’s exemption from the
         withholding of any tax imposed by any applicable jurisdiction or to enable the Seller to comply
         with any applicable laws or regulations relating thereto.

                 13.    Indemnification. Each Participant shall indemnify, defend, and hold Seller and its
         officers, directors, agents, partners, members, parents and employees (collectively, “Seller
         Indemnitees”) harmless from and against any liability, claim, cost, loss, judgment, damage or
         expense (including reasonable attorneys’ fees and expenses) that Seller Indemnitees incur or
         suffer as a result of or arising out of such Participant’s breach of any of such Participant’s
         representations, warranties, covenants, or agreements in this Agreement. Seller shall indemnify,
         defend, and hold each Participant and its officers, directors, agents, partners, members, parents
         and employees (collectively, “Participant Indemnitees”) harmless from and against any liability,
         claim, cost, loss, judgment, damage or expense (including reasonable attorneys’ fees and
         expenses) that Participant Indemnitees incur or suffer as a result of or arising out of such
         Participant’s breach of any of such Participant’s representations, warranties, covenants, or
         agreements in this Agreement.

                 14.     Release. The Borrower has no defense, counterclaim, offset, recoupment, cross-
         complaint, claim or demand of any kind or nature whatsoever that can be asserted to reduce or
         eliminate all of any part of the Borrower’s liability to repay Seller as provided in the DIP Loan
         Agreement or the other Loan Documents or any of the Obligations thereunder participated to the
         Participants, or to seek affirmative relief or damages of any kind or nature from Seller or
         Participant relating to this Agreement, the DIP Loan Agreement or the other Loan Documents or
         any of the Obligations participated to the Participants. Subject to entry of the Financing Order,
         the Borrower, on behalf of its bankruptcy estate, and on behalf of all its successors, assigns,
         Subsidiaries and any Affiliates and any Person acting for and on behalf of, or claiming through
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         them, hereby fully, finally and forever release and discharge Participants and all of Participant’s
         past and present officers, directors, servants, agents, attorneys, assigns, parents, subsidiaries, and
         each Person acting for or on behalf of any of them (collectively, the “Released Parties”) of and
         from any and all past, present and future actions, causes of action, demands, suits, claims,
         liabilities, Liens, lawsuits, adverse consequences, amounts paid in settlement, costs, damages,
         debts, deficiencies, diminution in value, disbursements, expenses, losses and other obligations of
         any kind or nature whatsoever, whether in law, equity or otherwise (including, without
         limitation, those arising under Sections 541 through 550 of the Bankruptcy Code and interest or
         other carrying costs, penalties, legal, accounting and other professional fees and expenses, and
         incidental, consequential and punitive damages payable to third parties), whether known or
         unknown, fixed or contingent, direct, indirect, or derivative, asserted or unasserted, foreseen or
         unforeseen, suspected or unsuspected, now existing, heretofore existing or which may heretofore
         accrue against any of the Released Parties, whether held in a personal or representative capacity,
         and which are based on any act, fact, event or omission or other matter, cause or thing occurring
         at or from any time prior to and including the date hereof in any way, directly or indirectly
         arising out of, connected with or relating to this Agreement, DIP Loan Agreement, the other
         Loan Documents, the Financing Order and the transactions contemplated hereby, and all other
         agreements, certificates, instruments and other documents and statements (whether written or
         oral) related to any of the foregoing. The Borrower waives the provisions of California Civil
         Code section 1542, which states:

                 A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR
                 OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR
                 HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT IF
                 KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY AFFECTED HIS OR
                 HER SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.

                 15.    Notices. Except as otherwise provided herein, all notices, requests and demands
         to or upon a party hereto, to be effective, shall be in writing (which may be transmitted by
         electronic mail) and shall be delivered in accordance with Section 10 of the Loan Agreement
         addressed as follows:

                            if to the Seller:   Silicon Valley Bank
                                                505 Howard Street, 3rd Floor
                                                San Francisco, California 94105
                                                Attn: Justin mauch
                                                Email: jmauch@svb.com

                            With a copy to:     Morrison & Foerster LLP
                                                200 Clarendon Street, 20th Floor
                                                Boston, Massachusetts 02116
                                                Attn: David A. Ephraim, Esquire
                                                       Alexander g. Rheaume, Esquire
                                                Email: DEphraim@mofo.com
                                                       arheaume@mofo.com


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                            if to any Participant:        8VC
                                                          Pier 5, Suite 101
                                                          San Francisco, California 94111
                                                          Attention: Ian M. Shannon
                                                          E-mail: ian@8vc.com

                                                          and

                                                          Gibson, Dunn & Crutcher LLP
                                                          200 Park Avenue
                                                          New York, New York 10166
                                                          Attention: Matthew Williams, Esquire
                                                                     J. Eric Wise, Esquire
                                                                     Jason Goldstein, Esquire
                                                          email: MJWillliams@gibsondunn.com
                                                                 EWise@gibsondunn.com
                                                                 JGoldstein@gibsondunn.com

                 16.    Entire Agreement; Amendments and Waivers. This Agreement constitutes the
         entire agreement between the parties pertaining to the subject matter hereof and supersedes all
         prior and contemporaneous agreements, understandings, negotiations and discussions, whether
         oral or written, of the parties hereto. There are no other agreements between the parties in
         connection with the subject matter hereof except as specifically set forth herein or contemplated
         hereby. No supplement, modification or waiver of this Agreement shall be binding unless
         executed in writing by each of the parties hereto. No waiver of any of the provisions of this
         Agreement shall be deemed or shall constitute a waiver of any other provision hereof (whether or
         not similar), nor shall such waiver constitute a continuing waiver unless otherwise expressly
         provided. No delay on the part of the Seller in the exercise of any right or remedy shall operate
         as a waiver thereof, and no single or partial exercise by the Seller of any right or remedy shall
         preclude other or further exercise thereof or the exercise of any other right or remedy.

               17.  GOVERNING LAW. THIS AGREEMENT SHALL BE A CONTRACT MADE
         UNDER AND GOVERNED BY THE INTERNAL LAWS OF THE STATE OF NEW YORK
         APPLICABLE TO CONTRACTS MADE AND TO BE PERFORMED ENTIRELY WITHIN
         SUCH STATE, WITHOUT REGARD TO CONFLICT OF LAWS PRINCIPLES. ANY
         LITIGATION BASED HEREON, OR ARISING OUT OF, UNDER, OR IN CONNECTION
         WITH THIS AGREEMENT MAY BE BROUGHT AND MAINTAINED, EXCLUSIVELY IN
         THE STATE OR FEDERAL COURTS LOCATED IN NEW YORK COUNTY, CITY OF
         NEW YORK, NEW YORK STATE. THE PARTICIPANTS AND THE SELLER HEREBY
         EXPRESSLY AND IRREVOCABLY SUBMITS TO THE JURISDICTION OF THE STATE
         OR FEDERAL COURTS LOCATED IN NEW YORK COUNTY, CITY OF NEW YORK,
         NEW YORK STATE FOR THE PURPOSE OF ANY SUCH LITIGATION AS SET FORTH
         ABOVE. THE PARTICIPANTS AND EACH LOAN PARTY FURTHER IRREVOCABLY
         CONSENTS TO THE SERVICE OF PROCESS BY REGISTERED MAIL, POSTAGE
         PREPAID, OR BY PERSONAL SERVICE WITHIN OR WITHOUT THE STATE OF NEW
         YORK. THE PARTICIPANTS AND EACH LOAN PARTY HEREBY EXPRESSLY AND

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         IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY LAW, ANY
         OBJECTION WHICH IT MAY NOW OR HEREAFTER HAVE TO THE LAYING OF
         VENUE OF ANY SUCH LITIGATION BROUGHT IN ANY SUCH COURT REFERRED TO
         ABOVE AND ANY CLAIM THAT ANY SUCH LITIGATION HAS BEEN BROUGHT IN
         AN INCONVENIENT FORUM.

              18.  WAIVER OF JURY TRIAL. EACH OF THE PARTICIPANTS, THE SELLER
         AND THE BORROWER HEREBY WAIVES ANY RIGHT TO A TRIAL BY JURY IN ANY
         ACTION OR PROCEEDING TO ENFORCE OR DEFEND ANY RIGHTS UNDER THIS
         AGREEMENT AND ANY AMENDMENT, INSTRUMENT, DOCUMENT OR AGREEMENT
         DELIVERED OR WHICH MAY IN THE FUTURE BE DELIVERED IN CONNECTION
         HEREWITH OR THEREWITH OR IN CONNECTION WITH ANY OF THE FOREGOING,
         AND AGREES THAT ANY SUCH ACTION OR PROCEEDING SHALL BE TRIED
         BEFORE A COURT AND NOT BEFORE A JURY.

                 19.      Severability. In case any provision of or obligation under this Agreement shall be
         invalid, illegal or unenforceable in any jurisdiction, the validity, legality and enforceability of the
         remaining provisions or obligations, or of such provision or obligation in any other jurisdiction,
         shall not in any way be affected or impaired thereby.

                 20.    Headings. Headings and captions used in this Agreement (including the Exhibits,
         Schedules and Annexes hereto, if any) are included for convenience of reference only and shall
         not be given any substantive effect.

                 21.     Counterparts; Integration. This Agreement may be signed in any number of
         counterparts, each of which shall be an original, with the same effect as if the signatures thereto
         and hereto were upon the same instrument. Signatures by facsimile or electronic transmission
         shall bind the parties hereto. This Agreement constitutes the entire agreement and understanding
         among the parties hereto and supersedes any and all prior agreements and understandings, oral or
         written, relating to the subject matter hereof.



                            [remainder of page intentionally left blank; signature page follows]




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               IN WITNESS WHEREOF, the respective parties hereto have executed and delivered this
         Agreement as of the day and year first above written.

                                                     PARTICIPANTS:

                                                     8VC FUND I, L.P.


                                                     By:    ______________________________
                                                     Name: ______________________________
                                                     Title: ______________________________


                                                     8VC ENTREPRENEURS FUND I, L.P.



                                                     By:    ______________________________
                                                     Name: ______________________________
                                                     Title: ______________________________


                                                     SELLER:

                                                     SILICON VALLEY BANK, as the Seller


                                                     By:    ______________________________
                                                     Name: Justin Mauch
                                                     Title: Director


         AGREED AND CONSENTED
         AS OF THE DATE
         FIRST WRITTEN ABOVE:


                                                     BORROWER:

                                                     UBIOME, INC.


                                                     By: ___________________________
                                                     Name:
                                                     Title:


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                        Exhibit B

                         Budget
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DIP Budget - 13-Week Cash Flow Forecast

   Week Beginning                                       9/2/2019       9/9/2019       9/16/2019    9/23/2019    9/30/2019    10/7/2019    10/14/2019   10/21/2019   10/28/2019   11/4/2019    11/11/2019   11/18/2019   11/25/2019   Total 13-
   ($ 000s)                                             Week 1         Week 2          Week 3       Week 4       Week 5       Week 6       Week 7       Week 8       Week 9      Week 10       Week 11      Week 12      Week 13      Weeks
      North America Cash                                    $262         $2,463          $2,115       $1,364        $984        $1,089         $664          $38       $2,310        $855          $389         $163         ($63)       $262
      South America Cash                                      13             13              13           13          13            13           13           13           13          13            13           13           13          13
   Total Cash Balance Beginning of Week                     $275         $2,476          $2,128       $1,377        $997        $1,102         $677          $51       $2,323        $868          $402         $176         ($50)       $275
   Revenue
      Explorer Sales                                          10             10              10           10           10           10           10           10           10           10             -            -            -         100
      Other Revenue                                            -              -               -            -            -            -            -            -            -            -             -            -            -           -
   Total Revenue                                              10             10              10           10           10           10           10           10           10           10             -            -            -         100
   Operating Disbursements
      North American Payroll                                   -                  -        (189)           -         (172)           -         (172)           -         (172)           -             -            -            -        (703)
      South American Payroll                                (294)                 -           -            -         (199)           -            -         (199)        (323)           -             -            -            -      (1,015)
          Total Payroll (including Employer Taxes)          (294)                 -        (189)           -         (371)           -         (172)        (199)        (495)           -             -            -            -      (1,718)
      Healthcare and Retirement Benefits                    (134)             -               -            -         (119)           -            -            -         (119)           -             -            -            -        (372)
      Other Employee Benefits (Food / Travel)                (17)           (10)            (10)         (10)         (10)         (10)         (10)         (10)         (10)         (10)            -            -            -        (107)
         Total HR Expenses                                  (151)           (10)            (10)         (10)        (129)         (10)         (10)         (10)        (129)         (10)            -            -            -        (479)
      Lease Expenses                                         (88)                 -           -            -          (73)           -             -            -         (73)           -             -            -            -        (233)
      Other Facilities Expenses                              (22)                 -           -            -          (22)           -             -            -         (22)           -             -            -            -         (65)
      Utilities                                              (14)                 -           -            -          (14)           -             -            -         (14)           -             -            -            -         (41)
           Total Lease / Facilities Expenses                (123)                 -           -            -         (108)           -             -            -        (108)           -             -            -            -        (340)
      Illumina, Inc.                                           -                  -           -            -            -            -          (18)           -            -           (9)            -            -            -         (27)
      Kapa Biosystems                                         (4)                 -          (5)           -            -            -            -           (5)           -           (3)            -            -            -         (18)
      TFS*Thermo Fisher Scientific                           (11)                 -          (1)           -            -            -            -           (1)           -           (0)            -            -            -         (12)
      Other Lab Expenses                                      (9)                 -         (14)           -            -            -          (10)           -          (16)         (10)            -            -            -         (59)
           Total Lab Expenses                                (24)                 -         (20)           -            -            -          (28)          (6)         (16)         (23)            -            -            -        (116)
      Texas Novachem Corporation                             (18)                 -         (18)           -            -            -          (18)           -             -          (9)            -            -            -         (63)
      Stamps.com                                               -                  -          (5)           -            -            -           (5)           -             -          (3)            -            -            -         (13)
      Other Fulfillment Expense                               (7)                 -         (15)           -            -            -          (10)          (5)            -          (8)            -            -            -         (44)
         Total Fulfillment Expenses                          (25)                 -         (38)           -            -            -          (33)          (5)            -         (19)            -            -            -        (120)
      Marketing and Reviews                                        -          (3)            (1)           -            -            -           (1)            -            -          (1)            -            -            -          (5)
      ECCN and Patient Refunds                                     -           -              -            -            -            -            -             -            -           -             -            -            -           -
      AWS                                                    (45)                 -           -            -          (45)           -            -             -         (45)           -             -            -            -        (135)
      Other IT                                                (3)                 -         (24)           -            -            -          (12)            -         (12)         (12)            -            -            -         (63)
         Total IT                                            (48)                 -         (24)           -          (45)           -          (12)            -         (57)         (12)            -            -            -        (198)
      Corporate Insurance                                      -                  -           -            -            -            -             -         (85)           -            -             -            -            -         (85)
      Billing                                                 (4)                 -           -            -          (12)           -             -           -          (12)           -             -            -            -         (28)
      Accounting                                              (7)                 -           -            -           (5)           -             -           -           (5)           -             -            -            -         (17)
      Taxes and Registrations                                (49)                 -           -            -          (59)           -             -         (20)         (44)           -             -            -            -        (172)
           Total Corporate                                   (60)                 -           -            -          (76)           -             -        (105)         (61)           -             -            -            -        (302)
      Other Legal                                            (49)             -               -            -          (30)           -            -            -          (30)           -             -            -            -        (109)
      ERP                                                    (31)             -               -            -            -            -            -            -            -            -             -            -            -         (31)
      CRA International                                        -              -            (100)           -            -            -            -            -            -            -             -            -            -        (100)
      Other Consultant / Contractor                         (105)           (16)            (16)         (16)         (16)         (16)         (16)         (16)         (16)         (16)            -            -            -        (249)
         Total Ordinary Course Legal / Consultant           (185)           (16)           (116)         (16)         (46)         (16)         (16)         (16)         (46)         (16)            -            -            -        (489)

      Other                                                  (22)           (10)            (10)         (10)         (10)         (10)         (10)         (10)         (10)         (10)            -            -            -        (112)
      Contingent Payments                                      -              -               -            -            -            -            -            -            -            -             -            -            -           -
   Total Operating Disbursements                            (931)           (39)           (407)         (36)        (785)         (36)        (281)        (351)        (922)         (91)            -            -            -      (3,878)




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DIP Budget - 13-Week Cash Flow Forecast

   Week Beginning                                                     9/2/2019       9/9/2019       9/16/2019    9/23/2019    9/30/2019    10/7/2019    10/14/2019   10/21/2019   10/28/2019    11/4/2019    11/11/2019   11/18/2019   11/25/2019   Total 13-
   ($ 000s)                                                           Week 1         Week 2          Week 3       Week 4       Week 5       Week 6       Week 7       Week 8       Week 9       Week 10       Week 11      Week 12      Week 13      Weeks
   Reorganization Expenses
      Restructuring Legal                                                  (255)         (204)           (204)        (204)        (204)        (204)        (204)        (204)        (204)         (146)        (146)        (146)        (146)      (2,472)
      GLC Advisors                                                            -          (125)              -            -         (125)           -            -            -            -          (125)           -            -            -         (375)
      Goldin Associates                                                    (120)         (140)           (140)        (140)        (140)        (140)        (140)        (140)        (140)         (105)         (70)         (70)         (70)      (1,555)
      Directors Fees                                                        (70)            -               -            -          (60)           -            -            -          (60)            -            -            -            -         (190)
      Donlin                                                                  -             -               -            -          (30)           -            -            -          (30)            -            -            -            -          (60)
      Creditors Committee Budget                                              -             -             (10)         (10)         (10)         (10)         (10)         (10)         (10)          (10)         (10)         (10)         (10)        (110)
      US Trustee Fees                                                         -             -               -            -            -          (45)           -            -            -             -            -            -          (44)         (89)
      Retainer Draws                                                        150           150               -            -            -            -            -            -            -             -            -            -            -          300
          Professional Carve-Out Account Funding                           (295)         (319)           (354)        (354)        (569)        (399)        (354)        (354)        (444)         (386)        (226)        (226)        (270)      (4,551)
      IB Transaction Fees                                                   (56)                -           -            -            -            -             -         (34)            -            -             -            -            -         (90)
   Total Reorganization Expenses                                           (351)         (319)           (354)        (354)        (569)        (399)        (354)        (388)        (444)         (386)        (226)        (226)        (270)      (4,641)
   Net Cash Flow before Funding                                          (1,273)         (348)           (751)        (380)      (1,344)        (425)        (625)        (728)       (1,356)        (467)        (226)        (226)        (270)      (8,419)
   Funding
      Sale Proceeds1                                                             -              -           -            -            -            -             -            -            -            -             -            -            -               -
      Prepetition SVB Facility2
      Beginning Balance                                                  $5,230         5,230           5,230        5,230        5,230        5,230        5,230        5,230        5,230         5,230        5,230        5,230        5,230        5,230
      Increases                                                               -             -               -            -            -            -            -            -            -             -            -            -            -            -
      Repayments                                                              -             -               -            -            -            -            -            -            -             -            -            -            -            -
      Ending Balance                                                      5,230         5,230           5,230        5,230        5,230        5,230        5,230        5,230        5,230         5,230        5,230        5,230        5,230        5,230
      SVB Prepetition Facility Cash Interest                                (26)                -           -            -          (26)           -             -            -          (47)           -             -            -            -        (100)
      New Money DIP Facility Cash Interest                                    -                 -           -            -          (25)           -             -            -          (51)           -             -            -            -         (76)
      New Money DIP Facility3
      Beginning Balance                                                       -         3,500           3,500        3,500        3,500        5,000        5,000        5,000        8,000         8,000        8,000        8,000        8,000            -
      Advances4                                                           3,500             -               -            -        1,500            -            -        3,000            -             -            -            -            -       $8,000
      Repayments                                                              -             -               -            -            -            -            -            -            -             -            -            -            -            -
      Ending Balance                                                      3,500         3,500           3,500        3,500        5,000        5,000        5,000        8,000        8,000         8,000        8,000        8,000        8,000        8,000
   Total Funding Inflows / (Disbursements)                                3,474                 -           -            -        1,449            -             -       3,000           (99)           -             -            -            -       7,825
   Net Disbursements (Operating + Financing)                              2,201          (348)           (751)        (380)        105          (425)        (625)       2,272        (1,455)        (467)        (226)        (226)        (270)        (594)
   Cash Balance End of Week                                              $2,476        $2,128          $1,377        $997        $1,102        $677           $51       $2,323         $868         $402          $176         ($50)       ($320)

   Memo: Professional Fee Carve-Out Account
     Beginning Balance                                                        -           225            544           898        1,253        1,762        2,116        2,470        2,824         3,208        2,294        2,520        2,746
     Weekly Funding                                                         295           319            354           354          569          399          354          354          444           386          226          226          270
     Payments                                                               (70)          -              -             -            (60)         (45)         -            -            (60)       (1,300)         -            -            (44)
     Ending Balance                                                         225           544            898         1,253        1,762        2,116        2,470        2,824        3,208         2,294        2,520        2,746        2,972

   Memo: Total Professional Retainers
     Beginning Balance                                                      339           189              39           39           39           39           39           39           39            39           39           39           39
     Weekly Draw                                                           (150)         (150)              -            -            -            -            -            -            -             -            -            -            -
     Ending Balance                                                         189            39              39           39           39           39           39           39           39            39           39           39           39

   Notes:
      1. Does not include proceeds from an anticipated sale transaction.
      2. Balance does not reflect Final Payment of $600,000.
      3. Does not reflect the $150,000 DIP Committment fee, which would be paid out of sale proceeds.
      4. The Third DIP Advance will be available only upon the satisfaction of certain conditions.




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